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          PLAINTIFFS' EXHIBIT 5

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                         **CONFIDENTIAL ROUGH DRAFT**

  1          UNCERTIFIED REALTIME ROUGH DRAFT OF

  2                 ALLISON HENRIX TAKEN 5/5/2022

  3

  4                              ***

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         14                THE VIDEOGRAPHER:   Okay.   We are on the

09:16:26 15   record it's 9:16 a.m. Pacific time on May 5th,

         16   2022.    This is the deposition of Allison Hendrix.

         17   We are here in the matter of In Re:       Facebook, Inc.

         18   Consumer Privacy User Profile Litigation.       I'm John

         19   Macdonell the videographer with Veritext.       Before

09:16:45 20   the reporter swears the witness would counsel
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           21   please identify themselves beginning with the

           22   noticing attorney please.

           23             MR. KO:     Good morning, everyone.

           24   David Ko of Keller Rohrbach of plaintiffs and with

09:16:59 25     me here today is Cari Laufenberg, Derek Loeser,

                                                                       2



                                   **CONFIDENTIAL ROUGH DRAFT**

09:17:04    1   Emma Wright and Adele Daniele I believe also of

            2   Keller-Rohrback.

            3             MR. BLUME:    And good morning this is Rob

            4   Blume from Gibson Dunn on behalf of Ms. Ali Hendrix

09:17:20    5   and Facebook.

            6             And on the video is with me in the room

            7   is Prachi Mistry, Kelly Herbert and Ian Chen from

            8   Facebook at Gibson Dunn and on the video I think is

            9   Joe LoPresti, Dana Zolle Hauser, Andrew Kuntz and I

09:17:48 10     think that's all we have.

           11             SPECIAL MASTER GARRIE:     This is

           12   Special Master Garrie on behalf -- behalf of the

           13   Court.

           14             MR. BLUME:    And --

09:18:02 15               MR. KO:     Pretty big crowd.

           16             MR. BLUME:    And the part -- as we spoke

           17   before we went on the record, the transcript we
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           18   seek to have the transcript conversation under the

           19   existing protective orders.

09:18:13 20                  THE COURT REPORTER:     If you could raise

           21   your right hand for me, please.

           22                THE DEPONENT:   (Complies.)

           23                THE COURT REPORTER:     You do solemnly

           24   state, under penalty of perjury, that the testimony

09:18:13 25     you are about to give in this deposition shall be

                                                                          3



                                   **CONFIDENTIAL ROUGH DRAFT**

09:18:13    1   the truth, the whole truth and nothing but the

            2   truth?

            3                THE DEPONENT:   I do.

            4                        ALLISON HENDRIX,

09:18:13    5   having been administered an oath, was examined and

            6   testified as follows:

            7

            8                          EXAMINATION

            9   BY MR. KO:

09:18:40 10          Q.      Good morning Ms. Hendrix?

           11        A.      Good morning.

           12        Q.      We met off the record, but my name is

           13   David Ko of Keller -- backand I will be taking your

           14   deposition today.
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09:18:52 15                I believe you have taken your -- I

           16   believe you have taken a deposition before; is that

           17   correct?

           18        A.    Yes.

           19        Q.    So you know how this goes a bit but let

09:19:02 20     me remind of a few of the ground rules that are

           21   most important to me.

           22              The most important task here today is to

           23   create a clean record and for Rebecca the

           24   court reporter to transcribe everything that we say

09:19:14 25     so please wait I've finished my question before

                                                                      4



                                  **CONFIDENTIAL ROUGH DRAFT**

09:19:20    1   moving onto answer even though you think the answer

            2   likewise until you finish your response before

            3   moving onto my next question.

            4              Does that sound fair?

09:19:28    5        A.    Yes.

            6        Q.    And to the extent I ask a yes-or-no

            7   question and your response is in -- it is important

            8   for the record to answer in that manner rather than

            9   shaking your head or giving an inaudible response.

09:19:45 10                Does that sound fair?

           11        A.    Yes.
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           12        Q.   From time to time your counsel Mr. Blume

           13   may object to some of my questioning.     But unless

           14   he clearly instructs you not to answer I -- I ask

09:19:57 15     that you respond to my question nonetheless.

           16             Does that sound fair?

           17        A.   Yes.

           18        Q.   And we'll be here for a few hours it

           19   won't be an entire long day of seven -- seven or

09:20:10 20     eight hours like a normal deposition but it will be

           21   a pretty long day.     So if at any time you need a

           22   break, just please let me know and I will do my

           23   best to accommodate.

           24             Okay.

09:20:20 25          A.   Yes.

                                                                        5



                                  **CONFIDENTIAL ROUGH DRAFT**

09:20:25    1        Q.   Ms. Hendrix, by the way, would you prefer

            2   Ms. Ms. Hendrix Allison how would you like to be

            3   addressed during this deposition?

            4        A.   Ms. Hendrix is fine.

09:20:35    5        Q.   Okay.   Great.    Ms. Hendrix anything that

            6   you any that prevent from testifying honestly or

            7   truthfully today?

            8        A.   No.
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            9         Q.   Great.

09:20:46 10                Let me start by showing you the notice

           11   that governs your term today.

           12              So let's start with the 30(b)(6) notice

           13   that I assume you have seen.      But we'll talk about

           14   that here in a second.

09:21:07 15                I can see the little confused the

           16   exhibits will be shown to you both on this platform

           17   that you can access or I believe if you would like

           18   we can share it on the screen for you.

           19              Whatever you prefer?

09:21:23 20           A.   I wasn't sure if the machine next to me

           21   was -- was what I was going to be viewing it on and

           22   it looks like it's you might need to log in to into

           23   it.

           24              (Discussion off the stenographic record.)

09:21:57 25           Q.   (By Mr. Ko)     So while that's being fired

                                                                         6



                                    **CONFIDENTIAL ROUGH DRAFT**

09:21:59    1   up I will note for the record.     This exhibit will

            2   be exhibit 330.

            3              (Exhibit 330 was marked for

            4   identification by the court reporter and is

09:22:03    5   attached hereto.)
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            6              MR. KO:    And it many be a copy of the

            7   30(b)(6) notice dated March 1st, 2022.

            8        Q.    (By Mr. Ko)     Let me know when you have

            9   that up?

09:22:20 10          A.    If folder currently appears to be empty

           11   but maybe I need to do something.

           12        Q.    Yeah, give it a little time?

           13              MR. BLUME:    Click on that right there.

           14              THE DEPONENT:    Yes.

09:22:33 15                MR. KO:    You need refresh.   Great.

           16              While you do that for the record is clear

           17   that exact title of this documents plaintiffs

           18   second amended notice of deposition of defendant

           19   Facebook pursuant to FRCP 30(b)(6).

09:22:51 20          Q.    Do you see that document in front of you

           21   now Ms. Hendrix?

           22        A.    I do.

           23        Q.    Have you seen this notice before?

           24        A.    I believe so, yes.

09:22:59 25          Q.    You are testifying on certain topics in

                                                                       7



                                   **CONFIDENTIAL ROUGH DRAFT**

09:23:01    1   this notice, correct?

            2        A.    Correct.
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            3        Q.   And let me turn your attention page 11

            4   section 3 of this notice?

09:23:27    5        A.   I'm not see a section three of what

            6   appears to be page 11.

            7        Q.   Go ahead to page 11 of the notice and I

            8   don't know what PDF you may have up I'm talking

            9   about the page 11 of the notice itself that appears

09:23:40 10     at the bottom of -- of the document?

           11        A.   I'm on what seems to be page 11 and it

           12   starts with matters for testimony.

           13        Q.   Right.   And so by section three I'm just

           14   simply referring to roman numerals 3 that proceeds

09:23:56 15     --

           16        A.   Okay.

           17        Q.   -- proceeds the matters?

           18        A.   All right.   I'm here.

           19        Q.   So do you see.

09:24:04 20               Great.   Do you see under matters for

           21   testimony a topic 1?

           22        A.   Yes.

           23        Q.   And to state that you are testifying on

           24   topic 1 of this notice?

09:24:20 25          A.   Yes.

                                                                      8
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                                   **CONFIDENTIAL ROUGH DRAFT**

09:24:24    1        Q.   Turn with me to the next page to topic 3.

            2   Is it accurate to state that you are testifying on

            3   topic 3 of this notice?

            4        A.   Yes.

09:24:41    5        Q.   And sorry go a little out of order now go

            6   back to page 11 topic two is it accurate to state

            7   that you are testifying on some aspects of topic

            8   two of this notice?

            9        A.   Yes.

09:24:57 10          Q.   In particular you are testifying as to

           11   topics 22B and 2D except as those topics relate to

           12   targeted advertising, correct?

           13        A.   Yes.

           14        Q.   Would you agree with me that topics 2B

09:25:14 15     and 2D have relationship -- have some relationship

           16   to topic 3?

           17             MR. BLUME:    Objection.   Form.

           18             THE DEPONENT:     What do you mean?

           19        Q.   (By Mr. Ko)     Do you understand the word

09:25:29 20     "related" means?

           21             MR. BLUME:    Objection.   Form.

           22             THE DEPONENT:     I know what the word

           23   related means and if you want to repeat your

           24   question I can slowly look at this and see.
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09:25:46 25          Q.   (By Mr. Ko)     Sure.

                                                                        9



                                **CONFIDENTIAL ROUGH DRAFT**

09:25:47    1             Are topics 2B and 2D related to topic 3?

            2             MR. BLUME:    Objection.      Form.

            3             THE DEPONENT:     So you are asking how

            4   topics 2B and 2D are related to 23?

09:26:15    5        Q.   (By Mr. Ko)     No.     I'm not -- first of

            6   all, I'm not asking how.        And I'm not -- and I

            7   didn't talk about 23, I said are topics 2B and 2D

            8   related to topics 3?

            9             MR. BLUME:    Objection.      Form.

09:26:33 10               MR. KO:   Mr. Blume in the past just for

           11   edification we had had a standing objection or

           12   we've stipulated to a standing objection as to form

           13   and I'm happy to do that here to the extent those

           14   objections are -- are form objections.

09:26:50 15               MR. BLUME:    Well, I don't -- I don't

           16   think we can.

           17             MR. KO:   You don't want to tip late

           18   that's fine.

           19             MR. BLUME:    I prefer not a standing

09:26:56 20     objection I just I'm not sure I'm not even sure

           21   what you mean, but that's -- my objection is to the
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           22   form of the question.

           23              THE DEPONENT:     Yeah, I -- I can't -- I'm

           24   going to decline to answer that because like we --

09:27:08 25     we never sold data so it's like I'm not going wrap

                                                                         10



                                 **CONFIDENTIAL ROUGH DRAFT**

09:27:14    1   all of these statements in together and say they

            2   are related.   I'm sorry.

            3        Q.    (By Mr. Ko)     Okay.   Is topics are aspects

            4   of topic 2B and 2D this is not a trick question

09:27:26    5   this is just a basic are aspects of 2B and 2D

            6   related in any way to topic 3?

            7              MR. BLUME:    Objection.

            8              THE DEPONENT:     What do you mean by

            9   related.   Maybe you can help me?

09:28:09 10          Q.    (By Mr. Ko)     I'm -- I'm the Webster

           11   dictionary but I have a very common understanding

           12   of what the word related means.

           13              Do you have an understanding of what the

           14   word related means?

09:28:19 15          A.    I would love to under -- I would love to

           16   understand what your common understanding is.

           17        Q.    Is there --

           18        A.    That could help me answer this question.
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           19        Q.    So your counsel designated you and you

09:28:36 20     con send to testify as to topics 2B and 2D and you

           21   answered yes to that question, correct?

           22        A.    I can testify with respect to the topics

           23   that I already acknowledged that I'm here to

           24   testify.

09:28:51 25          Q.    So you assume you have an understanding

                                                                      11



                                  **CONFIDENTIAL ROUGH DRAFT**

09:28:53    1   of what topics 2B and 2D encompass; is that

            2   correct?

            3        A.    Yes.

            4        Q.    If the Court or the jury wanted to know

09:29:07    5   whether or not Ms. Hendrix believed that topics 2B

            6   and 2D were in anyway shape or form related to

            7   topics 3 how would you respond to that question?

            8              MR. BLUME:   Objection.   Speculation.

            9   Vague.

09:29:22 10                THE DEPONENT:   So 3B is identification by

           11   category of the type of data or information to

           12   which Facebook sold again we've never done that.

           13   Made ex I believe able or made available or allowed

           14   third parties to use -- to target users which I'm

09:29:41 15     not here to testify to on ads the types well let's
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           16   go to B.

           17                The purposes for which such data or

           18   information was shared or made available -- made

           19   accessible or permitted third parties to target the

09:29:54 20     later of which I'm not here to speak to.

           21                How Facebook insured third parties use of

           22   such data or information was limited to the use

           23   case.

           24                And when we go to topic 3 an overview of

09:30:08 25     the processes of developing privacy or app settling

                                                                         12



                                   **CONFIDENTIAL ROUGH DRAFT**

09:30:12    1   or other controls made available to users to

            2   prevent or limited their data or information from

            3   being accessed by third parties including the dates

            4   during which each app setting or other controls

09:30:24    5   were available.

            6                And I will go ahead and help us not

            7   continuing to read it.      So topic two does speak to

            8   the platform.     And topic 3 speaks to how people

            9   could use settings to control information through

09:30:41 10     the platform, so they are somewhat related.

           11           Q.   (By Mr. Ko)   Okay.   Thank you.

           12                In particular topic 3C in which you
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           13   indicated earlier that you are were testifying on

           14   behalf of Facebook for indicates that you will be

09:31:03 15     providing testimony as to Facebook's monitoring an

           16   enforcement of contractual terms with third

           17   parties.

           18              Do you see that -- of course Ime has some

           19   extra language but do you see topic 3C?

09:31:14 20          A.    I do.

           21        Q.    Do you feel that that has any

           22   relationship with topic 2D which asks for how

           23   Facebook insured third parties use of such data or

           24   information was limited to the use case?

09:31:26 25                MR. BLUME:    Objection.    Form.

                                                                         13



                                   **CONFIDENTIAL ROUGH DRAFT**

09:31:40    1              THE DEPONENT:     Those topics are similar.

            2        Q.    (By Mr. Ko)     Great.   Thank you.

            3              I believe you are also tasked -- turn to

            4   page 13 of the notice and in particular topic 66?

09:32:05    5        A.    I just read it.

            6        Q.    Is it accurate to state that you also

            7   testifying as to some aspects of topic 6 of this

            8   notice?

            9              MR. BLUME:    Objection.    She's not -- we
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09:32:22 10     are not presenting her as a witness on topic six so

           11   no I can contrary.

           12                MR. KO:    That's on -- Mr. Blume indicate

           13   that Ms. Hendrix is testifying as to the portions

           14   of topic.

09:32:33 15                  MR. BLUME:    Right.   You are right I'm

           16   sorry.    My you are absolutely right.      Mr. Ko,

           17   that's right.       I'm sorry.

           18        Q.      (By Mr. Ko)    Let me restate the question?

           19        A.      I and prepared.

09:32:42 20          Q.      Let -- sorry -- sorry Ms. Hendrix I

           21   apologize.     Let me so we have a clean record.        Let

           22   me just ask it again.

           23                Is it accurate to state testifying as to

           24   some aspects of topic 6 of this notice?

09:32:56 25          A.      Yes.

                                                                              14



                                     **CONFIDENTIAL ROUGH DRAFT**

09:32:57    1        Q.      In particular, you are testifying as to

            2   "the development of friend sharing" and "the

            3   communication of this technology to users including

            4   the drafting of Facebook's terms of service SRR and

09:33:16    5   data and privacy policies related to friend

            6   sharing" and I added a -- to there but is it
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            7   accurate to state that you are testifying as to

            8   that portion of topic 6?

            9        A.   The first part, no.     But I am here to

09:33:32 10     talk about the -- the -- like the drafting of

           11   Facebook's terms of service.     SRR and data and

           12   privacy policies related to friend sharing.

           13        Q.   Great.     Thank you that's helpful.

           14             So it's accurate to state that you are

09:33:46 15     testifying on behalf of Facebook today as to the

           16   drafting of Facebook's terms and service SRR, and

           17   data and privacy policies related to friend

           18   sharing, correct?

           19        A.   Yes.

09:34:01 20          Q.   And for all of these topics that we just

           21   went through, which is -- which are topic -- topics

           22   1 portions of two including 2B and 2D.     Topic 3 and

           23   portions of topic 6, you understand that you are

           24   testifying on behalf of Facebook, correct?

09:34:20 25          A.   Correct.

                                                                     15



                                   **CONFIDENTIAL ROUGH DRAFT**

09:34:22    1        Q.   Do you understand that you are not

            2   testifying in your individual capacity, correct?

            3        A.   That's correct and just to qualify for
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            4   2B, not the -- the third parties to target.

09:34:37    5        Q.   Correct.

            6             You are not here to testify as to the

            7   aspects of topic two related to targeted

            8   advertising?

            9        A.   That's correct.

09:34:50 10          Q.   Do you understand that your testimony is

           11   binding on the company?

           12        A.   Yes.

           13        Q.   Now pursuant to the notice this -- these

           14   topics and your testimony today will cover the time

09:35:09 15     period from January 1st, 2007 to the present.

           16             Do you understand that time period

           17   reflected in the notice?

           18        A.   I do.

           19        Q.   Great.

09:35:21 20               So unless I otherwise specify, a range or

           21   a specific date that I'm interested in with respect

           22   to my question, my questions will generally relate

           23   to this entire time period.

           24             Okay.

09:35:36 25          A.   I understand.

                                                                     16



                                   **CONFIDENTIAL ROUGH DRAFT**
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09:35:40    1        Q.    Ms. Hendrix, what did you do to prepare

            2   for this deposition?

            3        A.    I -- I reviewed a number of documents.     I

            4   met with fellow teammates.   I met with my counsel.

09:36:05    5   I'm -- would you like me to go into defense tile.

            6        Q.    I ask some follow-up questions thank you.

            7              When you say "teammates" what do you mean

            8   by that?

            9        A.    I -- I met with individual employees at

09:36:23 10     Meta Facebook so that I could prepare for these

           11   topics.

           12        Q.    And by the way thank you for reminding me

           13   of Facebook's new corporate name.   I just want make

           14   sure the record is clear.

09:36:38 15                Your testimony today is on behalf of both

           16   Meta and Facebook; is that fair?

           17        A.    Yes.

           18        Q.    And so to the extent I say Facebook that

           19   will be son minus a Meta and the Meta that will be

09:36:55 20     synonymous with Facebook; is that okay?

           21        A.    Yes.

           22        Q.    And your corporate testimony pursuant to

           23   rule 30(b)(6) will also be on behalf of meth

           24   targeted advertising and Facebook, correct?

09:37:07 25          A.    Yes.
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                                                                          17



                                  **CONFIDENTIAL ROUGH DRAFT**

09:37:10    1        Q.     So the individuals and employees that you

            2   spoke with at Facebook, what groups or departments

            3   were they a part of?

            4               MR. BLUME:    Objection.   Form.

09:37:31    5               THE DEPONENT:     I met with -- it might be

            6   easier if I just state the individual's names.

            7        Q.     (By Mr. Ko)     Sure.

            8               What -- how many -- approximately how

            9   many individuals did you meet that were -- and this

09:37:47 10     is just with respect to the Facebook employees that

           11   you described?

           12        A.     So setting aside our lawyers, I met with

           13   Simon Cross, Eddie O'Neil, Rob Sherman, Preti** his

           14   name is hard to pronounce it starts with a P.

09:38:18 15                 I -- I think -- oh and Kristy Cook.     I

           16   think those -- I think that's a comprehensive list

           17   of the people that I met with over videoconference.

           18        Q.     And with respect to Kristy Cook and --

           19        A.     Oh, forgot, Ed Palmieri.    Edward

09:38:48 20     Palmieri.

           21        Q.     So I count six individuals that you met

           22   with in preparation for this deposition at least
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           23   six individuals at Facebook setting aside your

           24   lawyers; is that correct?

09:39:04 25           A.   Yes, those -- those are the teammates

                                                                         18



                                 **CONFIDENTIAL ROUGH DRAFT**

09:39:06    1   that I sought additional information from.

            2         Q.   And with respect to pre at any time tee

            3   and Kristy what departments at Facebook are they

            4   in?

09:39:19    5         A.   I'm going to refer to my notes here.       She

            6   so pretty tee is the functional head for user

            7   research and Kristy is a member of the -- I think

            8   present day she's on the global operations team

            9   that's led by John DeVine.

09:39:56 10           Q.   And you say presently that's her role.

           11   What was her role prior to that?

           12              MR. BLUME:    Objection.   Form.

           13              THE DEPONENT:    Her role hasn't changed

           14   but there was -- but her team was moved into a

09:40:11 15     different org recently and I can't recall the name

           16   of exactly which org she had been sitting in

           17   before.    But her day-to-day responsibilities as I

           18   understand them haven't -- haven't changed.

           19         Q.   (By Mr. Ko)     And you just indicated that
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09:40:32 20     you were looking at some your notes.      So I assume

           21   you brought some notes with you to this deposition

           22   today?

           23        A.      Yes, I -- I did.

           24        Q.      Are they notes that you created yourself?

09:40:46 25          A.      Yes.

                                                                         19



                                    **CONFIDENTIAL ROUGH DRAFT**

09:40:49    1        Q.      And those are notes that you've obviously

            2   referred to once and that intend to refer to

            3   throughout this deposition, I assume?

            4        A.      If needed.   I mean, I probably spent 30,

09:41:01    5   40 hours like preparing just -- just meeting with

            6   counsel, let alone all of time reviewing all of the

            7   documents.     So as I'm sure you can imagine, this is

            8   very lengthy period of time, so I felt comfortable

            9   that I -- I wanted to be helpful to you.      And be

09:41:22 10     able to responsive so yes, I -- I asked if I create

           11   notes and -- and I created them.

           12        Q.      Appreciate that.

           13                MR. KO:   Counsel Blume, we would request

           14   a copy and a version of these notes following this

09:41:39 15     deposition.

           16                MR. BLUME:   Noted.
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           17        Q.   (By Mr. Ko)    Now earlier you had asked or

           18   you had indicated that there were some documents

           19   that you reviewed in connection with your

09:41:56 20     preparation did those documents consist of

           21   documents that understood were provided by

           22   plaintiff's counsel in connection with this

           23   deposition?

           24        A.   I did receive documents that you guys

09:42:17 25     sent over a handful of days ago, I think.

                                                                     20



                                  **CONFIDENTIAL ROUGH DRAFT**

09:42:23    1        Q.   And did you review all those documents?

            2        A.   I did look through I didn't read every

            3   word but I did review them all.

            4        Q.   And other than tranche of documents I

09:42:36    5   assume you reviewed other additional documents in

            6   connection with this -- in connection with

            7   preparing for this deposition?

            8        A.   Yes.

            9        Q.   Okay.   And can you describe -- tell me

09:42:48 10     what those documents consisted of?

           11        A.   I probably won't be comprehensive I will

           12   do my best so it's news room posts, tasks, emails,

           13   I believe the documents that we've shared with you,
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           14   which and then transcripts from prior testimony.

09:43:23 15     Like yeah, I -- I don't know if you want me to go

           16   further but it was, you know, a lot of materials.

           17        Q.      No that's great I was just trying to get

           18   a general understanding of the types and categories

           19   of documents you reviewed and so that was helpful.

09:43:38 20                  When you said that there were documents

           21   that "we've shared with you."

           22                Do you mean to talk about the documents

           23   that Facebook has produced in connection with

           24   discovery in this case or are you talking about

09:43:53 25     some other set of documents that were shared?

                                                                        21



                                     **CONFIDENTIAL ROUGH DRAFT**

09:43:56    1        A.      I believe these are the documents that

            2   we've introduced to you in connection with my

            3   testimony.

            4        Q.      Okay.   So you believe that there was a

09:44:06    5   specific set of documents that were provided to us

            6   in connection with this testimony?

            7                MR. BLUME:   And I will object to the

            8   extent that that your understanding of what was

            9   produced and when and to whom came from discussions

09:44:22 10     with counsel that you should not respond to that
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 26 of 335




           11   question.

           12        Q.     (By Mr. Ko)   Are you going to follow your

           13   counsel's instruction?

           14        A.     Yes, I don't have anything further to add

09:44:39 15     than what I said.

           16        Q.     Take a look at schedule B of the notice,

           17   which is Exhibit 330 and it's at page 16?

           18        A.     Okay I'm here.

           19        Q.     There is a paragraph, paragraph 1 that to

09:45:08 20     be fair it doesn't ask you directly it asks four

           21   counsel to produce and provide all documents which

           22   the person Facebook designates to testify on its

           23   behalf has consulted or reviewed or plans to

           24   consultant in preparation for this deposition and

09:45:23 25     has relied upon or will rely upon testimony

                                                                       22



                                   **CONFIDENTIAL ROUGH DRAFT**

09:45:27    1   concerning the above deposition topics ."

            2               Did I read that correctly?

            3        A.     Yes.

            4        Q.     And you had indicated that in addition to

09:45:34    5   the documents we provided to you that you have

            6   reviewed a large set of additional categories of

            7   documents to prepare for this deposition, correct?
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            8              MR. BLUME:    Objection.

            9              THE DEPONENT:       I would bucket into --

09:45:50 10     into two categories.     Those documents that you

           11   noticed us on and those documents that we provided

           12   to you.   I didn't --

           13        Q.    (By Mr. Ko)       And with --

           14        A.    -- review other documents.

09:46:04 15          Q.    Right.     I was talking about this --

           16   this -- that second later categories apologize if I

           17   was unclear.

           18              So --

           19        A.    Well --

09:46:13 20          Q.    -- in addition --

           21        A.    The third bucket is my notes.

           22        Q.    Okay.    Great.     Thank you for that

           23   clarification.

           24              So there -- there -- to be clear, there

09:46:24 25     is a set of documents that you reviewed in

                                                                        23



                                    **CONFIDENTIAL ROUGH DRAFT**

09:46:30    1   preparation for this deposition outside of the

            2   documents we provided to you, correct?

            3        A.    Yes.

            4              MR. KO:     Okay, Counsel Blume --
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09:46:46    5               THE DEPONENT:     I should --

            6               MR. KO:   Go ahead.

            7               MR. BLUME:    Go ahead.

            8               THE DEPONENT:     Well, I -- I -- I had a

            9   deposition in another matter very, very recently

09:46:56 10     and so in terms of scope and me really wanting to

           11   make sure that I'm being really responsive,

           12   you know, over the last couple of months I have had

           13   to review documents that might have been odd of

           14   scope.    But -- but that would -- I don't know.

09:47:15 15     Like I just want to make sure like I -- I did

           16   review documents not too long ago for another case

           17   but I don't know if they are relevant to this.

           18        Q.     (By Mr. Ko)     Understood.   Thank you for

           19   that explanation.

09:47:31 20                 MR. KO:   So Counsel Blume we would

           21   request consist with both the schedule and our

           22   previous request that you produce to us all the

           23   documents that Ms. Hendrix reviewed in connection

           24   with preparing for this deposition today and I will

09:47:50 25     also note to reserve the right to reopen this

                                                                          24



                                  **CONFIDENTIAL ROUGH DRAFT**

09:47:52    1   deposition after you produce those documents to us.
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            2               MR. BLUME:   All -- all of those documents

            3   have been produced in discovery.      You already have

            4   every document that she looked at in preparation

09:48:03    5   for this 30(b)(6) witness and so pursuant to

            6   discovery protocol those do not have to be produced

            7   again.   So but you have them all.

            8               MR. KO:   Thank you for that explanation

            9   and our view we would like to know the specific

09:48:18 10     documents and not just a reference to the -- the

           11   entire discovery production.

           12               MR. BLUME:   And that is I don't remember

           13   go ahead.

           14               MR. KO:   Yeah.   So we -- just to clarify

09:48:29 15     we would renew our request consist with this notice

           16   and consist with our prior request in and meet and

           17   conference that you prepare and produce this

           18   material with the specific reference to which

           19   documents were reviewed by Ms. Hendrix.

09:48:45 20                 MR. BLUME:   And we would object.   It's

           21   work product engages privileged conversations and

           22   pursuant to the discovery protocol not -- we are

           23   not required to reproduce documents for purposes of

           24   depositions that already been produced in discovery

09:49:02 25     every document that she reviewed that in

                                                                         25
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 30 of 335




                                  **CONFIDENTIAL ROUGH DRAFT**

09:49:06    1   preparation for this 30(b)(6) deposition has been

            2   previously produced.

            3             THE DEPONENT:     And can testify --

            4             MR. BLUME:    Wait for a question.

09:49:13    5             THE DEPONENT:     Oh, sorry.

            6        Q.   (By Mr. Ko)     Sorry.   Ms. Hendrix what you

            7   were going to say?

            8        A.   I might --

            9             MR. BLUME:    Is -- is there a question?

09:49:23 10               MR. KO:    I said yeah the question what

           11   were going to say.

           12             THE DEPONENT:     I --

           13        Q.   (By Mr. Ko)     Go ahead.

           14        A.   I might -- I might have caused a noise

09:49:32 15     because I can testify well I am testifying, I

           16   didn't open up any of those old -- I was just

           17   trying to be clear that I -- I have -- I have

           18   testified recent on another case.        But after I

           19   testified I never reviewed any of those documents

09:49:52 20     but it sound like you already have them anyway.

           21        Q.   What case did you testify recently on?

           22             MR. BLUME:    Hang on.

           23             Okay.   You can answer.
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           24             THE DEPONENT:     It -- it was the DC

09:50:14 25     attorney general case.

                                                                       26



                                  **CONFIDENTIAL ROUGH DRAFT**

09:50:18    1        Q.   (By Mr. Ko)     Thank you.

            2             MR. KO:    By the having Mr. Blume I'm

            3   having trouble hearing you a little bit.

            4             MR. BLUME:    Oh --

09:50:24    5             MR. KO:    When you note object or note

            6   anything for the record if you clean over and speak

            7   into the microphone that would helpful.    Thank you.

            8             MR. BLUME:    How is that; is that better.

            9             MR. KO:    Yeah, I think so, thanks.

09:50:36 10          Q.   (By Mr. Ko)     And when was that deposition

           11   Ms. Hendrix?

           12        A.   I don't remember the precise date.

           13        Q.   Approximately when requests that

           14   deposition Ms. Hendrix?

09:50:58 15          A.   It was in June.

           16        Q.   June of 2021?

           17        A.   2022.

           18             MR. BLUME:    We are only in May.

           19             MR. KO:    Oh, May.

09:51:10 20               THE DEPONENT:     Oh shit, excuse my
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           21   language I'm going backwards.       Sorry.   The last

           22   month.    April.

           23        Q.     (By Mr. Ko)     Okay.   So you testified in

           24   the DC attorney action in April of 2022, correct?

09:51:27 25          A.     Yes.   Sorry.    It looks like I'm having

                                                                          27



                                   **CONFIDENTIAL ROUGH DRAFT**

09:51:30    1   morning fatigue.

            2               MR. KO:   No morning time does generally

            3   fly these days so you were getting ahead of

            4   yourself a little bit.

09:51:39    5               It's okay.

            6        Q.     (By Mr. Ko)     So with respect to some of

            7   these topics and as we discussed because these

            8   topics relate to various policies and contracts

            9   that were applicable to users and third parties, I

09:51:59 10     assume you have reviewed some of these policies and

           11   contracts; is that fair to say?

           12        A.     Yes.

           13        Q.     And let be a little more specific.

           14               Are you familiar with the statement of

09:52:14 15     rights and responsibilities or SRRs?

           16        A.     Yes.

           17        Q.     What are they?
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           18           A.   It's not two separate things like the SRR

           19   is abbreviate the statement of rights and

09:52:29 20     responsibilities and it is the terms of -- of

           21   service for using Facebook.

           22           Q.   And throughout today I will -- I will be

           23   using the acronym SRR and is it okay for purposes

           24   of the deposition that as you note when I say SRR

09:52:51 25     when you say SRR we can assume that refers to the

                                                                          28



                                     **CONFIDENTIAL ROUGH DRAFT**

09:52:55    1   statements of rights and responsibilities; is that

            2   fair?

            3           A.   Yes, if you would like to refer to the

            4   SRR that wasn't the name of it initially.       But I'm

09:53:06    5   happy to know and agree that SRR means just terms

            6   of service generally.

            7           Q.   And we'll get to the various iterations

            8   and names in a moment.

            9                But before we do that, let me ask you

09:53:18 10     about Facebook's data use policy.       And I know it

           11   had different names as well.       But are you familiar

           12   with the Facebook's data use policy?

           13           A.   I am.

           14           Q.   And what Facebook's -- what is -- what is
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09:53:31 15     that?

           16           A.   Facebook data use policy which also been

           17   referred to privacy policy it tells people what it

           18   is that we collect and how they their information

           19   can be used and its high level response there.

09:53:52 20             Q.   And with respect to -- to back up a

           21   little bit I apologize on the SRR.     You had

           22   indicated that it reflected the terms of service

           23   for using Facebook.      And so with would be terms of

           24   service for the Facebook user I assume?

09:54:11 25             A.   Yes, if you sign up for Facebook you

                                                                         29



                                    **CONFIDENTIAL ROUGH DRAFT**

09:54:13    1   agree that you have read the data use policy and

            2   you agree to terms of service.

            3           Q.   Now I assume you are also familiar with

            4   Facebook's platform policy; is that correct?

09:54:32    5           A.   Yes.

            6           Q.   What is that?

            7           A.   It's no longer referred as to the

            8   Facebook's platform policies.      We have platform

            9   terms and developers policies and those are the

09:54:46 10     terms and policies that -- third -- developers use

           11   of our platform technologies.
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           12        Q.   And when did that name change occur or

           13   when did that change occur?

           14             MR. BLUME:    Objection.    Form.

09:55:04 15               THE DEPONENT:     It was in -- we announced

           16   the change in mid 2020 and the terms went into

           17   effect in August 31st, of that same year.

           18        Q.   (By Mr. Ko)     So up until the mid of 2020

           19   Facebook had something called a platform policy; is

09:55:25 20     that correct?

           21        A.   Yes.   We had the Facebook platform

           22   policies sitting here today I know there's been --

           23   another name like developer policies, but there --

           24   they are the same documents in terms of what I

09:55:40 25     described the -- the document to be earlier.

                                                                        30



                                 **CONFIDENTIAL ROUGH DRAFT**

09:55:43    1             MR. BLUME:    And Mr. Ko I'm still here my

            2   apologize I just mistakingly unplugged here I'm

            3   setting here right here I'm getting back on online

            4   no need to wait or you can if you like.

09:55:58    5             MR. KO:     Got it.   I appreciate that it

            6   was a voice of God.     I didn't see your face.

            7        Q.   (By Mr. Ko)     Now with respect to the

            8   platform policy can you describe at a high level
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            9   just as you did with respect to the SRR and the

09:56:14 10     data use policy what Facebook's platform policy

           11   attempted to do?

           12        A.     Facebook's platform terms and developer

           13   policies are -- our agreement with developers with

           14   respect to how they will use the platform and

09:56:36 15     there's a number of -- it's -- it's the rules with

           16   respect to using the technology to the extent the

           17   developer chooses to use it.     It's not always

           18   relevant.

           19        Q.     And that policy in contract is between

09:56:54 20     Facebook and the -- the third party developer,

           21   correct?

           22        A.     Yes, the developers when they create and

           23   register as a developer on our platform, they agree

           24   to adhere to the platform terms and -- and

09:57:07 25     developer policies.

                                                                       31



                                   **CONFIDENTIAL ROUGH DRAFT**

09:57:11    1        Q.     And was the Facebook user or was a

            2   Facebook user a party to that policy or contract?

            3        A.     To the extent the Facebook who has agreed

            4   to other terms of service chooses to register as a

09:57:27    5   developer than yes.
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            6        Q.     So only if the user was a developer would

            7   that policy apply, correct?

            8        A.     What do you mean by "apply"?

            9        Q.     Well, you answered the question -- let me

09:57:48 10     ask it this way.

           11               As a general matter the Facebook platform

           12   policy governed the relationship between a Facebook

           13   developer and Facebook, correct?

           14        A.     That is our agreement with developers who

09:58:02 15     use our platform, yes.

           16        Q.     And it wasn't a contract that governed

           17   Facebook's relationship with its users because

           18   those were reflected in the SRR and DUPs, correct?

           19        A.     To the extent a user is also a developer,

09:58:25 20     they agree to the platform terms and developer

           21   policies in connection with their use of the

           22   platform.

           23        Q.     Outside of that carve out, Facebook users

           24   interactions with the Facebook platform and on

09:58:47 25     Facebook were governed by the SRRs and DUPs,

                                                                     32



                                   **CONFIDENTIAL ROUGH DRAFT**

09:58:54    1   correct?

            2               MR. BLUME:   Objection.   Form.
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            3                THE DEPONENT:    If a user does not use --

            4   does not develop apps on our platform than they are

09:59:05    5   only subject to the terms that are relevant to

            6   them.

            7           Q.   (By Mr. Ko)     And those terms would be --

            8   reflected in the SRR DUPs, correct.

            9           A.   If they use any of other -- other

09:59:21 10     products because there's other terms of -- there's

           11   other terms of use depending on what you choose

           12   like depending on your relationship with us, but

           13   if -- if you just go and just sign up for Facebook

           14   all you want to do is use Facebook, than the terms

09:59:37 15     of service and our data use policy would be the two

           16   primary documents that you -- agree that you have

           17   read and will adhere to.

           18           Q.   Thank you.    Thank you.

           19                And it's fair to say that the vast

09:59:51 20     majority of Facebook users would fall under that

           21   umbrella, correct?

           22                MR. BLUME:    Objection.   Form.

           23                THE DEPONENT:    Sitting here today, I -- I

           24   don't -- I'm not -- I don't know the answer to

10:00:11 25     that.

                                                                           33
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                                   **CONFIDENTIAL ROUGH DRAFT**

10:00:13    1        Q.      (By Mr. Ko)     Do you have general

            2   understanding of how many users were also

            3   developers on the Facebook relative to users that

            4   did not develop on the Facebook platform?

10:00:29    5        A.      That is not a data point that I know of

            6   today.

            7        Q.      And separate and a part a specific or

            8   precise data point, do you have any understanding

            9   of the total number of users in the relevant time

10:00:49 10     period that used Facebook but did not also develop

           11   on the platform, such that they were subject to the

           12   platform policy and subsequent iterations of that

           13   platform policy?

           14                MR. BLUME:    Objection.   Objection just to

10:01:09 15     be clear what topic are we talking about Mr. Ko?

           16                MR. KO:   All of them.

           17                MR. BLUME:    That's beyond the scope.

           18   Objection.

           19                MR. KO:   You can answer unless Mr. Blume

10:01:21 20     besides to instruct not to answer.

           21                MR. BLUME:    If you know, you can answer.

           22                THE DEPONENT:     I have already told Mr. Ko

           23   that I don't know.        I can continue to repeat

           24   myself.   I'm not prepared to speak to that.         It's
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10:01:33 25     not on the topic.

                                                                       34



                                   **CONFIDENTIAL ROUGH DRAFT**

10:01:33    1        Q.   (By Mr. Ko)     That's fine.   And I was just

            2   trying to get -- to be fair, I was -- I was just

            3   trying to get a general understanding I heard your

            4   response saying you didn't have a specific data

10:01:43    5   point and I was just serious whether or not you

            6   were aware because you seem to understand that

            7   there was a distinction between users who developed

            8   and users who do not.     And so the natural follow up

            9   was whether or not the, you knew, spoliation of the

10:01:59 10     former relative to the later and I heard I don't

           11   remember response to say and you don't know and you

           12   don't have any idea; is that correct?

           13        A.   I did.

           14             MR. BLUME:    Objection.

10:02:08 15               THE DEPONENT:     I did not prepare to speak

           16   to that today.

           17        Q.   (By Mr. Ko)     I want to show because you

           18   have indicated before somewhat confusing to a --

           19   have -- I to walk through I want to make sure we on

10:02:30 20     the same page with responsive to these policies.

           21   I'm going to share my screen this is not an exhibit
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           22   but this is just my understanding of these relevant

           23   policies.

           24               Do you see in front of you Ms. Hendrix?

10:02:54 25                 MR. BLUME:    Is this oh produced total.

                                                                         35



                                    **CONFIDENTIAL ROUGH DRAFT**

10:02:55    1               MR. KO:    No like I said this is something

            2   that I indicated.

            3        Q.     (By Mr. Ko)    Do you see this in front of

            4   you Ms. Hendrix?

10:03:11    5        A.     Yes, I can see what displaying on the

            6   screen.

            7        Q.     Thank you.

            8               Again this is just to help orient

            9   ourselves and to help me understand what you are

10:03:18 10     here to testify about.

           11               So with respect to the statement of

           12   rights and responsibilities or the -- the SRR as

           13   you described earlier there were various names that

           14   were associated with the SRR; is that fair to say?

10:03:41 15          A.     I'm only aware of terms of service and

           16   statements of rights and responsibility.

           17        Q.     Okay.   That's helpful so -- so the terms

           18   of service I believe the terms of service is what
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           19   this is called now, correct?

10:03:57 20               MR. BLUME:    Objection.   Form.

           21             THE DEPONENT:    Yes, that's my

           22   understanding.

           23        Q.   (By Mr. Ko)     And it's my understanding?

           24        A.   And I'm going to ask you there's --

10:04:10 25     there's a lot documents and materials and so like

                                                                       36



                                  **CONFIDENTIAL ROUGH DRAFT**

10:04:12    1   you -- I may need to refresh back to -- to them.

            2   Because there a lot of information that I prepared.

            3   But go ahead.

            4        Q.   Yeah.   I understand there's a lot --

10:04:24    5   there's a lot to unpack in these topics, I agree.

            6   So this is -- I'm not trying to put you on the spot

            7   I'm trying to hopefully you will see I'm -- I'm

            8   trying to help us because there so many names

            9   flying around that I want to make sure you and I

10:04:40 10     are on the same page with these to these things.

           11             So as you indicated the SRR was renamed

           12   to the terms of service; is that correct?

           13        A.   Yes, I believe so.

           14        Q.   And do you have any understanding of when

10:05:03 15     the SRR was renamed to the terms of service?
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           16           A.      I would have to look at the documents.

           17           Q.      Does it refresh your recollection at all

           18   when I put here that in 2018 and precisely

           19   April 19th, 2018, the SRR was renamed to the terms

10:05:25 20     of service?

           21           A.      I would rather rely on your document that

           22   I have never seen until just now like I want to see

           23   the actual documents and the dates that are on

           24   them.        So I am sorry, but like we can get the --

10:05:38 25     the terms and policies up and I can go through each

                                                                             37



                                        **CONFIDENTIAL ROUGH DRAFT**

10:05:41    1   of the respected name change and the dates if

            2   that's how you want to use the time today.             But I'm

            3   not going to rely on your document.

            4           Q.      Sure that's fair enough.   So I'm going to

10:05:52    5   delete that for you because I have not trying to

            6   present that this is the Bible or this is a cannon

            7   that we have to all follow.

            8                   I was trying to helpful to both of us.

            9   But you acknowledge that the SRR was at some point

10:06:05 10     changed to the terms of service, correct?

           11           A.      Yes.

           12           Q.      Okay.   And you don't have a recollection
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           13   of when it actually changed names, right?

           14           A.      I would need to refresh.   I know I -- I

10:06:23 15     know.        I need that I need to go to the documents

           16   I'm distracted seeing you guys typing and like

           17   changing the text at -- live as we are sitting

           18   here.

           19           Q.      Okay.   Well, I'm -- I apologize

10:06:39 20     distracting you.          But I'm trying to figure out from

           21   you as the corporate designee who you acknowledge

           22   before that you are here to testify as to these

           23   policies.        I'm curious whether or not you know when

           24   it was renamed from the SRR to the terms of service

10:06:57 25     and your testimony is that you have don't know so

                                                                           38



                                        **CONFIDENTIAL ROUGH DRAFT**

10:06:59    1   I'm just putting a question right here nor now?

            2                   MR. BLUME:    Actually, objection that

            3   wasn't her testimony.          Her testimony was she wanted

            4   to see the document and she would be able to do

10:07:08    5   that as opposed to to memory test.

            6                   MR. KO:    Fair enough.

            7           Q.      (By Mr. Ko)    Without looking at the

            8   documents, you don't know when the name changed

            9   from SRR to terms of service; is that correct?
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10:07:19 10          A.     I know that I know.    I know that I don't

           11   remember without referring to the dates.

           12        Q.     Got it.

           13               And you said that you are only aware of

           14   two names that this user terms of service had over

10:07:38 15     the relevant time period.

           16               So the -- here I'm happy to get rid of

           17   it, but it was my understanding that at some point

           18   before the SRR it was identified as terms of use,

           19   does that sound familiar to you?

10:07:53 20          A.     I would like to ask my counsel if I can

           21   have access to all of these documents and, again,

           22   you are changing the text right here live in front

           23   of me.    And I think that is highly in appropriate

           24   I'm not a lawyer for the company but I don't like

10:08:06 25     what you are doing.      So I would like.

                                                                         39



                                    **CONFIDENTIAL ROUGH DRAFT**

10:08:10    1        Q.     Well --

            2        A.     I would like to see the documents before

            3   you keep having me watch you change the text.      Like

            4   this is -- this seems highly in appropriate.

10:08:19    5        Q.     Okay.

            6        A.     Well, I -- it's not.   It's no different
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            7   than if I had on the stand and I was -- I was

            8   creating or writing down on the screen things that

            9   were reflective what I thought were reflective of

10:08:32 10     your testimony.   But I understand that you are

           11   uncomfortable with it and I don't want to make you

           12   uncomfortable so I just -- I'm just trying to get

           13   to understand what -- how these various policies

           14   were called over the relevant time period.       And

10:08:46 15     that was all that I was an attempt to do.

           16              So let me start -- let me start over.

           17              You -- it's your testimony that you are

           18   aware of a contract that applied to Facebook users

           19   and that this contract had two different names and

10:09:04 20     they were the statement of rights and

           21   responsibilities and the terms of service; is that

           22   correct?

           23        A.    That's my recollection is that we start

           24   with the term of service it becomes a statement of

10:09:18 25     rights and responsibilities and then has

                                                                       40



                                  **CONFIDENTIAL ROUGH DRAFT**

10:09:20    1   subsequently been renamed that's my understanding.

            2   I would love the benefit of reviewing these

            3   documents in as for as timing, but that's my
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            4   understanding.

10:09:36    5           Q.   So for purposes of today when I refer to

            6   the SRRs or the terms of service, they will be

            7   synonymous and that isn't with your understanding

            8   of these contracts and policies; is that fair?

            9                MR. BLUME:    Objection.    Asked and

10:09:54 10     answered.

           11                THE DEPONENT:     Yes, we already agreed to

           12   that.

           13           Q.   (By Mr. Ko)     Okay.   Now with respect to

           14   the data use policy, you had indicated that there

10:10:08 15     were different names for that and some of the names

           16   I have seen in the documents it referred to as or

           17   simply the data policy; is that consist with your

           18   understanding?

           19                MR. BLUME:    Objection.    Form.

10:10:31 20                  THE DEPONENT:     I know we had privacy

           21   policy data use policy we could have a title data

           22   policy.      I would need to refresh to the terms all

           23   of which I'm confident we've produced to you that

           24   are publicly available, so again like you -- you

10:10:49 25     have this information.

                                                                           41



                                   **CONFIDENTIAL ROUGH DRAFT**
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10:10:53    1        Q.      (By Mr. Ko)   Right.

            2                I'm not asking whether or not we have it.

            3   I'm asking for purposes of this deposition again

            4   this is not I'm not trying to put on the spot.      I'm

10:11:02    5   trying to understand what we are talking about here

            6   so we speak the same land a lot of names and

            7   acronym flying around.

            8                With respect to Facebook's data use

            9   policy you have indicated that it -- you have heard

10:11:16 10     of the data use policy also referred to as the data

           11   policy and the privacy policy; is that correct?

           12        A.      I didn't say that.     I said it was

           13   possible.     I would need to refresh the titles but I

           14   think.

10:11:30 15          Q.      So --

           16        A.      I know it was privacy policy I'm certain

           17   it's also data use policy whether it has at some

           18   point in time been called data policy I have

           19   reviewed all of those like different versions but I

10:11:41 20     just don't remember sitting here today.

           21        Q.      So for purposes of this deposition today

           22   in our confers when I refer to data use policy,

           23   that would be cinnamon mouse with at least the

           24   privacy policy and potential the data policy; is

10:12:02 25     that fair?
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                                                                        42



                                 **CONFIDENTIAL ROUGH DRAFT**

10:12:02    1        A.   Yes.

            2        Q.   And with respect to the platform policy

            3   you had indicated that it was also changed to the

            4   platform teams and developer -- development teams

10:12:20    5   policy in mid 2020.

            6             Do you recall that?

            7        A.   I didn't say.

            8             MR. BLUME:    Objection.

            9             THE DEPONENT:     Either are of those

10:12:26 10     things.

           11        Q.   (By Mr. Ko)     Okay.   I apologize for

           12   putting words in your mouth.      What is the -- your

           13   relationship between the platform teams and

           14   development teams policy and the Facebook platform

10:12:38 15     policy?

           16             MR. BLUME:    Objection.     Form.

           17             THE DEPONENT:     Those aren't things.

           18        Q.   (By Mr. Ko)     I'm sorry.    I didn't get

           19   that over your counsel's objections?

10:12:49 20               MR. BLUME:    Just repeat your answer.

           21             THE DEPONENT:     Those aren't things.

           22        Q.   (By Mr. Ko)     When you say "those" what
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           23   are you referring to?

           24        A.   You said platform teams developer teams I

10:13:01 25     never said those words today until just now.

                                                                         43



                                  **CONFIDENTIAL ROUGH DRAFT**

10:13:03    1        Q.   Okay.   Earlier today when you had said

            2   that there was change to the platform policy in mid

            3   2020 what you were referring to?

            4        A.   In mid 2020 but more importantly

10:13:24    5   August 31st, 2020, the platform terms and developer

            6   policies, which is what is -- what is live today,

            7   so developers agree as of and effective

            8   August 31st, 2020 they agree to adhered to the

            9   platform terms and the developer policies.

10:13:51 10          Q.   And today is there a thing that exist --

           11   exist called the Facebook platform policy?

           12        A.   That term is no longer in effect.      It is

           13   the platform terms and developer policies.

           14        Q.   So the platform terms and the developer

10:14:13 15     policy have -- well, they as you said they govern

           16   the relationship between Facebook and its

           17   developers, correct?

           18        A.   Yes.

           19        Q.   And so is it fair for purposes of this
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10:14:31 20     deposition is that when I refer to the platform

           21   policy I'm also referring to the platform terms and

           22   the development policy or would prefer that I keep

           23   those things distinct?

           24        A.   If we refer to the platform policies I

10:14:47 25     will understand you to be meaning the platform

                                                                       44



                                  **CONFIDENTIAL ROUGH DRAFT**

10:14:51    1   terms and developer policies.

            2        Q.   That were enacted in August 31st, of

            3   2020, correct?

            4        A.   Yes.

10:15:00    5             MR. BLUME:    Objection to -- objection to

            6   how that relates to your earlier qualification that

            7   your questions cover a time period dating back to

            8   2007, so as long as you are clear -- you are clear

            9   temporal clarity in your questions, that's fine.

10:15:20 10          Q.   (By Mr. Ko)    Schedule B turning back to

           11   schedule B of the notice at Exhibit 330.    The

           12   schedule asks for a CV of the person Facebook

           13   designates to testify on its behalf.

           14             Do you see that in paragraph two?

10:15:44 15          A.   I do.

           16        Q.   Do you have a CV to offer in response to
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           17   this request?

           18           A.   Not -- not on me right now.

           19           Q.   Do you have a copy of your CV I assume?

10:16:05 20             A.   I have a resume on my machine at home,

           21   yeah.

           22                MR. KO:   Counsel Blume consist with our

           23   request on topic 1 we would ask that you would

           24   provide us with a copy of Ms. Hendrix CV?

10:16:22 25                  MR. BLUME:    Noted.

                                                                        45



                                   **CONFIDENTIAL ROUGH DRAFT**

10:16:23    1           Q.   (By Mr. Ko)    What is your current

            2   position at Facebook?

            3           A.   I'm a director of privacy and data

            4   policy.

10:16:31    5           Q.   What are your general rules or what is

            6   your -- what are your general responsibilities in

            7   connection with that role?

            8           A.   My team is accountable for the developer

            9   and management of all terms and policies governing

10:16:45 10     third party data collection and use as well as the

           11   education and supporting the enforcement of the

           12   platform terms and the developer policies.

           13           Q.   How long --
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           14                MR. BLUME:    And Mr. Ko. --

10:17:02 15                  MR. KO:   Go ahead.

           16                MR. BLUME:    Sorry, we've gone about a

           17   hour little bit of a transition period if you

           18   finish come to a break shortly we can take one.

           19                MR. KO:   Sure.

10:17:15 20          Q.      (By Mr. Ko)    How long have you been in

           21   that role?

           22        A.      I -- what do you mean?

           23        Q.      How long have you been the director of

           24   the team accountable for the develop -- the

10:17:36 25     developers and men all terms covering third party

                                                                        46



                                   **CONFIDENTIAL ROUGH DRAFT**

10:17:40    1   data collection and use as well as the education in

            2   supporting -- supporting of the enforcement terms

            3   and developer policies CHECK/CHECK?

            4        A.      I have always -- I have always been

10:17:57    5   involved in that work when I was promoted to

            6   director, I believe it was sometime in 2019.

            7        Q.      And when you say you have always been

            8   involved in that work I assume to mean that you

            9   have been involved in this type of work ever since

10:18:16 10     you joined Facebook in I believe 2008?
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           11        A.      Yes, I have always been involved in that

           12   type of work since I joined the company.

           13        Q.      And is this -- is this called the

           14   platform policy team at Facebook or there some

10:18:36 15     other name that you refer to your team as?

           16        A.      My team is referred as the data policy

           17   management and enforcement team.

           18        Q.      Were there any prior iterations of that

           19   team name?

10:18:53 20                  MR. BLUME:    Objection.   Form.

           21                THE DEPONENT:     That -- ever since the

           22   team has been created that has been our name.

           23        Q.      (By Mr. Ko)     So since you join Facebook

           24   in 2008, you have always been part of the data

10:19:11 25     policy management and enforcement team?

                                                                          47



                                   **CONFIDENTIAL ROUGH DRAFT**

10:19:14    1                MR. BLUME:    Objection.   Form.

            2                THE DEPONENT:     No.

            3        Q.      (By Mr. Ko)     When you joined Facebook

            4   what team were you a part of?

10:19:26    5        A.      I joined the developer operations team.

            6        Q.      How long were you part of the developer

            7   operations team?
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            8        A.      I moved out of the developer operations

            9   team onto a called global policy management.        I

10:19:51 10     believe that occurred in a round 2010 but I would

           11   need to refer to documents to be certain but around

           12   that time.

           13        Q.      And after you became part of the global

           14   policy management team were there any other teams

10:20:10 15     that you were involved in or associated with before

           16   you became part of the data policy management and

           17   everyone team?

           18                MR. BLUME:    Objection.   Compound.

           19                THE DEPONENT:    Could you repeat your

10:20:24 20     question?

           21        Q.      (By Mr. Ko)     Yeah, I'm just trying to get

           22   the understanding of the teams you were involved in

           23   between your current role and the global policy

           24   management team.

10:20:35 25                  Can you describe or identify what those

                                                                        48



                                   **CONFIDENTIAL ROUGH DRAFT**

10:20:36    1   teams were?

            2        A.      Developer operations is the name of the

            3   team when I joined it.       They changed the name to

            4   platform operations and now it's back to developer
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10:20:55    5   operations or at least that's how I refer to that

            6   team and that's -- and that's it in terms of the

            7   teams.

            8        Q.   And so the global policy management team

            9   was that in connection with or under the same

10:21:12 10     umbrella as either of the developer operations or

           11   platform operations teams?

           12        A.   Global policy management is a different

           13   team than developer operations also referred to

           14   previously as platform operations.

10:21:30 15          Q.   Is fair to say the sum total of the teams

           16   that you were involved with -- would be the

           17   developer operations team, the platform operations

           18   team and the global policy management team?

           19             MR. BLUME:    Objection.   Form.

10:21:50 20               THE DEPONENT:    Did you leave out the team

           21   that I'm on today?

           22        Q.   (By Mr. Ko)     You said were part of the

           23   data policy management everyone team correct?

           24        A.   That's the team that I manage today.

10:22:03 25          Q.   Is that related to in any way with the

                                                                      49



                                **CONFIDENTIAL ROUGH DRAFT**

10:22:06    1   developer operations team?
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            2             MR. BLUME:    Objection.    Form.

            3             THE DEPONENT:      It's not the same team.

            4        Q.   (By Mr. Ko)     So thank you for

10:22:18    5   clarification.   Sounds like are four teams that you

            6   have been part of throughout your career at

            7   Facebook, the data policy management everyone team,

            8   the developer operations team, the platform

            9   operations team and the global policy management

10:22:30 10     team; is that correct?

           11             MR. BLUME:    Objection.

           12             THE DEPONENT:      I think it's more.

           13             MR. KO:   What the objection Mr. Blume.

           14             MR. BLUME:    Are you talking about the

10:22:39 15     team name or the make up of the teams because the

           16   personality of those teams may have changed the

           17   names may not have but my guess is over the time

           18   there have been a lot of different members of the

           19   team it's like, you know, I wish we were still in

10:22:52 20     the '69 met but we are not unfortunately.

           21             MR. KO:   Right.    Thank you for that.      I'm

           22   glad I asked I apologize if there's any confusion

           23   I'm just talking about the team names I just want

           24   to understand the some all the teams ever been a

10:23:09 25     part of Ms. Hendrix and the name by which those

                                                                         50
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                                   **CONFIDENTIAL ROUGH DRAFT**

10:23:13    1   teams were associated with.

            2               So can you describe to the Court all the

            3   team names that you have ever been involved with at

            4   Facebook?

10:23:33    5               THE DEPONENT:     I have been a part of

            6   three organizations the first the name was

            7   developer operations it became platform operations.

            8   I don't know if it -- I don't remember if it became

            9   DevOps before I switched over to global policy

10:23:47 10     management and then the third team is team I'm on

           11   today the privacy and data policy is -- the

           12   ultimate org by team is referred to as the data

           13   policy management and enforcement team.

           14               MR. KO:   Okay.    Great.     Thank you.   And

10:24:05 15     if you would like to take the break as your counsel

           16   requested Ms. Hendrix I'm happy to do so.

           17               THE DEPONENT:     Sure.

           18               THE VIDEOGRAPHER:     Okay.    We are off the

           19   record.     It's 10:24 a.m.

10:24:17 20                 (Recess taken.)

           21               THE VIDEOGRAPHER:     Okay.    We are back on

           22   the record.    It's 10:43 a.m.

           23        Q.     (By Mr. Ko)     Welcome back from the break
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           24   Ms. Hendrix.

10:43:33 25                By the way you are in Palo Alto for this

                                                                       51



                                 **CONFIDENTIAL ROUGH DRAFT**

10:43:35    1   deposition, correct?

            2        A.    Yes, I believe so.    We on the border of

            3   Los Altos but I'm just confident but I'm pretty

            4   confident we are in Palo Alto.

10:43:47    5        Q.    Where are you specifically you are in an

            6   office are you at Facebook's office se in

            7   Gibson Dunn offices?

            8        A.    I'm in the Gibson Dunn law office.

            9              MR. BLUME:    Can't you tell by our fancy

10:43:58 10     artwork.

           11              MR. KO:    Sorry I minimized your video.

           12   So I couldn't tell.

           13              (Discussion off the stenographic record.)

           14        Q.    (By Mr. Ko)    And along with, I don't know

10:44:15 15     if that was a reference another deposition I took,

           16   but the -- along with your counsel Mr. Blume, there

           17   are other attorneys at Gibson Dunn present with

           18   you, I assume?

           19        A.    Yes, at the -- at the outset of this we

10:44:33 20     said who they were.
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           21                MR. BLUME:    Yeah, with -- with me -- with

           22   me in the room is.

           23                MR. KO:   Go ahead.

           24                MR. BLUME:    I can show you if you want

10:44:48 25     now I lost my video so with me is -- is who is here

                                                                        52



                                   **CONFIDENTIAL ROUGH DRAFT**

10:44:53    1   Prachi is here, Ian is here and Keller.

            2                MR. KO:   Ian Chen an employee of

            3   Facebook.

            4                MR. BLUME:    Ian Chen, yes.

10:45:06    5                MR. KO:   Anybody else in the room with

            6   you?

            7          A.    No.

            8                MR. BLUME:    No.   Here just so you can see

            9   there is everybody?

10:45:16 10                  MR. KO:   I appreciate that.

           11          Q.    (By Mr. Ko)    I want to ask some basic

           12   questions about Facebook's organizational structure

           13   this is related to topic 1.

           14                First does Facebook have an

10:45:27 15     organizational structure?

           16          A.    Yes, Facebook has an organizational

           17   structure.
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           18           Q.   I assume they had add -- an

           19   organizational structure since January 1 of 2007,

10:45:44 20     correct?

           21           A.   Yes.

           22           Q.   If I wanted to know if Facebook

           23   organizational structure look like where would I

           24   look?

10:46:03 25             A.   You would go to what I believe it's

                                                                        53



                                      **CONFIDENTIAL ROUGH DRAFT**

10:46:07    1   called like the org -- there's an org chart, like

            2   you can look up a person and see what -- who they

            3   report into.

            4           Q.   And this org chart that I assume has

10:46:21    5   existed ever since January 1 of 2007, correct?

            6           A.   Yes, we've always been able to look up as

            7   far as -- as to the best of my knowledge we can

            8   look each other up and so what team.

            9           Q.   And --

10:46:43 10             A.   They are on.

           11           Q.   And when you say you can look each other

           12   up.     I assume you are talking about the some sort

           13   of internal tool that a Facebook could access to do

           14   that?
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10:46:54 15          A.   Yes, we have an internal company wiki

           16   where you can type in a search bar someone's name

           17   such as myself.   And you can see who reports into

           18   me and who I report into.

           19        Q.   And is that true with respect to every

10:47:12 20     employee at Facebook.    In other words you if you

           21   could be up at any employee at Facebook and find

           22   out who that person to and what person's report to

           23   him or her to the extent those things are

           24   applicable?

10:47:29 25          A.   For them and yes.

                                                                      54



                                  **CONFIDENTIAL ROUGH DRAFT**

10:47:34    1        Q.   And other than this internal tool that

            2   one could access or excuse me the internal wiki are

            3   there any other documents that you could point me

            4   or the Court to that reflect Facebook's

10:47:46    5   organizational structure?

            6             MR. BLUME:    Pre IPO or post IPO.

            7             MR. KO:    I would like to start with the

            8   entire time period first.

            9             MR. BLUME:    Well, okay.   The -- they just

10:48:02 10     didn't have public filings before they became a

           11   public.
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           12             MR. KO:   Stop your object to my questions

           13   and I will leave it at that.

           14             MR. BLUME:    Okay.

10:48:13 15               THE DEPONENT:     I don't believe there's

           16   been other documents like -- like what I just

           17   referred to.

           18        Q.   (By Mr. Ko)     Okay.   So other than the --

           19   this internal wiki is there any other documents or

10:48:28 20     information you -- you could point me or the Court

           21   to -- to show what Facebook's organizational

           22   structure looked like?

           23             MR. BLUME:    Objection.

           24             THE DEPONENT:     Not that I'm aware of.

10:48:50 25          Q.   (By Mr. Ko)     And when you said before

                                                                         55



                                **CONFIDENTIAL ROUGH DRAFT**

10:48:53    1   that you could go to this org chart, I just want to

            2   make sure I understand.     The org chart you are

            3   talking about is synonymous with this internal wiki

            4   tool and page, correct?

10:49:16    5        A.   No, not synonymous mouse like there's a

            6   company wiki which is internal to Facebook

            7   employees and you can look up people by name and

            8   then you can click on see org or something to that
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            9   effect and then the page will display the person in

10:49:39 10     the way that I described.

           11        Q.   Is that company wiki distinct from the

           12   org chart that you had referred to before?

           13        A.   Think of the internal wiki as the name of

           14   the place you can go and see internal documents and

10:50:10 15     find people so it's not the same thing but that's

           16   where you go to find to look people up.

           17        Q.   Yeah, and I wasn't asking whether or not

           18   it was anything.     I asked had whether or not the

           19   company wiki was distinct from the org chart that

10:50:29 20     you had referred to before.

           21        A.   I don't know what you mean.

           22        Q.   In response to a question that I had

           23   asked of whether or not -- this was the question,

           24   question if I wanted to know if Facebook -- what

10:50:47 25     Facebook's organizational -- organizational

                                                                      56



                                   **CONFIDENTIAL ROUGH DRAFT**

10:50:49    1   structure looked like where would I like answer?

            2             MR. BLUME:    Objection.

            3        Q.   You would go to what I believe is called

            4   like org there's an org chart like you can look up

10:50:59    5   a person and see what -- who they report into.
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            6                So I'm just asking a simple question

            7   based on that question and answer exchange.

            8                When you said org chart what were you

            9   referring to were you referring to the company's

10:51:15 10     wiki or something else?

           11         A.     The company wiki is what I go to to find

           12   out who a person reports into and the word org is

           13   there and you click see org or something to that

           14   effect and then you will see who reports to them to

10:51:41 15     the extent they are a manager and who they report

           16   to and you do that within the company wiki.

           17         Q.     (By Mr. Ko)   Thank you.

           18                And other than this -- well, you had also

           19   talked about this internal wiki containing internal

10:52:10 20     documents.

           21                Do you recall that?

           22         A.     Yes.

           23         Q.     What internal documents are you referring

           24   to?

10:52:26 25           A.     So it could be -- a host of things so a

                                                                        57



                                    **CONFIDENTIAL ROUGH DRAFT**

10:52:29    1   seem might create their own internal wiki page.

            2   It's basically a place where -- where you can
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            3   create a page that's -- that you -- like the

            4   company wiki is -- is can be used for like a place

10:52:52    5   where teams can share information with each other.

            6   And it can be I believe locked down to just certain

            7   people it could be publicly visible not to publicly

            8   but internal employees could all be able to see the

            9   content.     It just depends.

10:53:16 10             Q.   And would these internal documents

           11   reflect a particular group's organizational

           12   structure?

           13           A.   I'm not aware of like any ability to type

           14   in the word developer operations for example and --

10:53:35 15     and see the chart.     Like don't think of the chart

           16   that way.    It's literally you look up a human by

           17   name, and then you can see what team they are on

           18   and then you can see who reports into them.

           19                But I'm not aware -- aware of anything

10:53:53 20     else.

           21           Q.   I see it's helpful so it's employee or

           22   individual based in other words like you said you

           23   type in Allison Hendrix and you can see every

           24   person that Allison Hendrix and every person that

10:54:10 25     reports to you, correct?

                                                                       58
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                                       **CONFIDENTIAL ROUGH DRAFT**

10:54:13    1           A.      Yes.

            2           Q.      And you can also see what -- while you

            3   can't type in DevOps or developer operations by

            4   typing in Allison Hendrix you can see what group or

10:54:25    5   team you are a part of as well as the groups or

            6   teams that report to you and -- and that you report

            7   to; is that fair?

            8           A.      Yes, you can see you can's the reporting

            9   line.        I believe the -- using my team as an

10:54:44 10     example.        The data policy management and everyone

           11   team, I -- I believe it would be up to if teams, if

           12   it's -- because that's a team name within the

           13   broader team.          So I think you have the ability to

           14   edit and get more granular with respect to the

10:55:02 15     specific name, if you are on it.

           16                   But other wise if you look me up it might

           17   be on the privacy and data policy because I'm on

           18   I'm a sub team win that team and I think -- I think

           19   that the -- I think that although people might have

10:55:17 20     the ability to add that, I don't -- it's -- I

           21   don't -- I'm not sure.

           22           Q.      When you say that "people might have the

           23   ability to add that" are you referring to as adding

           24   that as part of the search for hypothetically
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10:55:39 25     Allison Hendrix or are you saying that's something

                                                                     59



                                  **CONFIDENTIAL ROUGH DRAFT**

10:55:41    1   that IT or someone else at Facebook would have to

            2   revise in order for that sub team or more granular

            3   level of -- of information needed to be discovered?

            4        A.   You can look people up by individual

10:55:57    5   names and then when you find me there are -- able

            6   sections like about me so I have the ability to go

            7   to myself and the team wiki and if I can if I

            8   choose to like edit certain sections of my profile.

            9        Q.   Got it.    Understood.

10:56:21 10               Now it's fair to say that there are

           11   groups or departments at Facebook, correct?

           12        A.   Yes.

           13        Q.   And you indicated that you are part of

           14   DevOps or developer operations, correct?

10:56:43 15          A.   I -- I joined the company when I

           16   joined -- I joined the developer operations team.

           17        Q.   And there are of course individuals and

           18   employees within your team, correct?

           19        A.   You cut off, could you say that again.

10:57:01 20          Q.   Sure.

           21             There -- there are of course individuals
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 69 of 335




           22   and employees within each team, correct?

           23        A.      There are employees in each team and they

           24   are individuals, yes.

10:57:20 25          Q.      I want to show a list of teams that I'm

                                                                        60



                                   **CONFIDENTIAL ROUGH DRAFT**

10:57:23    1   aware of and I want to ask you some questions based

            2   upon that.

            3                You will be pleased to know that this is

            4   PDF and I can type anything to here, so hopefully

10:57:41    5   that won't be distracting to you.

            6                But here is a list that I'm aware of that

            7   reflects the various teams at Facebook and let me

            8   read to you and into the record and, again, this is

            9   just designed to help us facilitate this Q and A.

10:58:04 10                  But the groups/departments that I'm aware

           11   of are as follows management, legal, policy,

           12   communications, platform and operations development

           13   operations, advertising, security, privacy, human

           14   resources, growth, sales and marketing, academic

10:58:28 15     research, engineering, and user research.

           16                Do these all look like departments at

           17   Facebook to you?

           18        A.      So sales and marketing are not on the
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           19   same team.    Like and -- and this doesn't seem --

10:58:56 20     like -- like, you know, we have and HR team.       We

           21   have a legal team.     There's many sub teams within

           22   teams.    We have product teams.    Multiple product

           23   teams.    Multiple comps teams within comps.      We have

           24   platform -- we have marketing teams.       We do have

10:59:22 25     partnership's teams I don't see we have -- like we

                                                                         61



                                   **CONFIDENTIAL ROUGH DRAFT**

10:59:29    1   have -- we have a research team but there's also

            2   other researchers embedded in team so the way that

            3   you are structuring this is a bit inconsistent with

            4   how we are structure and we -- we referred to each

10:59:42    5   other more as organizations.       Like -- than

            6   departments, but or at least I do.

            7        Q.      Yeah, super help from -- from point

            8   forward I will do my best to refer to various

            9   Facebook teams as organizations first of all.        I

11:00:03 10     will not refer to them as departments and groups

           11   pen what I'm hearing you say with respect to this

           12   list is that it's incomplete; is that correct?

           13        A.      Yes, it appears to -- yes, it appear to

           14   be incomplete like there's public policy teams.

11:00:34 15          Q.      And I heard I just want to make sure I --
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           16   I get from you because you are the Facebook

           17   designee on Facebook's organizational structure.

           18                   I want to make sure I'm not missing a

           19   important or major or -- or or team for that

11:00:52 20     matter.        Any organization that -- that you can

           21   think of that is not listed here.        I want you to

           22   tell the Court what organizations they are.

           23           A.      Well, you don't have the Facebook

           24   culinary team.        And you don't have like and I don't

11:01:15 25     know what you mean by privacy.       Like you don't have

                                                                           62



                                      **CONFIDENTIAL ROUGH DRAFT**

11:01:17    1   the privacy and data policy org you just have the

            2   word privacy.        There's a privacy team that are co

            3   chief privacy officer **Michelle prad dispel one

            4   the other co privacy Jerry Egan that's who I role

11:01:35    5   up into.

            6                   So it's very difficult for me to do this

            7   live.        And -- and be able to tell the Court

            8   accurately if I have, you know -- there's a choice

            9   in competition team.       And these are teams within

11:01:54 10     teams as well and so I just -- I am quite sure

           11   sitting here now that I can express competence.

           12   But had I, you know, the opportunity I could
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           13   better, you know, I just need to review some

           14   documents.

11:02:16 15             Q.      Well, you did review documents in

           16   connection with the deposition and you are

           17   Facebook's corporate designee as to organizational

           18   structure so in light of that -- and you are right

           19   this isn't meant to be a memory test I'm simply

11:02:29 20     asking it seemed like a rattled off several groups

           21   that aren't listed here.        I acknowledge that this

           22   is -- is incomplete lie need you to helm me

           23   complete it.

           24                   So can you identify the group -- the

11:02:45 25     organizations at Facebook, not the sub

                                                                          63



                                      **CONFIDENTIAL ROUGH DRAFT**

11:02:49    1   organizations but the organizations at Facebook

            2   that are missing from this list.

            3           A.      There's the finance and -- team, the

            4   accounting team, the investor relation team.

11:03:07    5   There's the data -- there are data science teams.

            6   There are teams that work on our data centers,

            7   security teams.       Well you have there.

            8           Q.      There's -- there's a security listed

            9   here.        Super helpful.   Finance, accounting and
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11:03:45 10     investor relations, data science.

           11             Earlier when you say -- said Facebook

           12   culinary did I hear that correctly?

           13        A.   Yes.

           14        Q.   Okay.   I know you give a way a lot of

11:04:02 15     free food so that probably is billing team?

           16        A.   There's a facilities team.     IT teams.

           17        Q.   Okay.   And I want to go back to -- one of

           18   your first responses and reactions to this list.

           19             You had talked about multiple product

11:04:23 20     teams, right?

           21        A.   Yes.

           22        Q.   And obviously there's -- there are a lot

           23   of product managers at Facebook working on a

           24   variety of different products, correct?

11:04:37 25          A.   Yes.

                                                                      64



                                  **CONFIDENTIAL ROUGH DRAFT**

11:04:38    1             MR. BLUME:    Objection.   Beyond the scope.

            2        Q.   (By Mr. Ko)    Do the product managers --

            3   do the product managers role into a team on this

            4   list or would they have a separate organizational

11:04:52    5   or would they have a separate organization for

            6   themselves?
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            7              MR. BLUME:    Objection.     Beyond the scope.

            8              THE DEPONENT:     So you need to appreciate

            9   that Meta has a family's of apps and services.            So

11:05:11 10     there -- for example using legal there's product

           11   counsel what's up for product counsel mention for

           12   Facebook for Instagram.      Et cetera so these teams

           13   up is port different apps and services that we

           14   provide.

11:05:31 15                So using the legal team, all of those

           16   different people are on our legal team.        Then --

           17   I'm just trying to go from memory here, you know,

           18   I -- this -- this is one of those ones might have

           19   been user for you to be typing.         Because I don't

11:06:00 20     remember everything I have rattled off.

           21              But I -- I believe that I have given you

           22   all of the names of teams that are relevant to the

           23   topics that I'm -- I'm prepared to cover, so I

           24   don't think I have omitted any teams that are not a

11:06:19 25     part of -- like -- like I -- like I definitely

                                                                               65



                                 **CONFIDENTIAL ROUGH DRAFT**

11:06:24    1   think that I have given all of the names of the

            2   teams that are relevant to the topics.

            3        Q.    (By Mr. Ko)     Thank you.    That's very
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            4   helpful and so my typing was not intended to be

11:06:38    5   nefarious whatsoever I'm trying to help us in this

            6   testimony.

            7                So maybe well maybe I type?

            8        A.      Well Mr. Ko I didn't know the video was

            9   capturing the screen that was made me -- I thought

11:06:50 10     only one on video.        So that was what made

           11   uncomfortable just so we are clear.        So I to the

           12   extent that you can continue to engage in these

           13   exercises I'm totally comfortable with you typing

           14   so I apologize for the -- my confusion.

11:07:04 15          Q.      Okay.    Thank you for -- thank you for

           16   that I appreciate that.

           17                One organization that you had mentioned

           18   too, that seems to be missing here that's a pretty

           19   big one or the partnership teams, correct

11:07:20 20     partnership organizations, correct?

           21        A.      Yes and there's games teams too.        Teams

           22   that support games within partnerships though I

           23   believe and yes that's right.

           24        Q.      Great.

11:07:40 25                  So all of this is to day that this list

                                                                             66



                                      **CONFIDENTIAL ROUGH DRAFT**
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11:07:42    1   here that I'm showing you and that I read into the

            2   record before is definitely incomplete as to the

            3   total number of organizations at Facebook, right?

            4             MR. BLUME:    Objection.      Beyond the scope.

11:08:01    5             THE DEPONENT:     What I -- are

            6   displaying -- is incomplete.        I submitted it with

            7   my testimony, I can't see what I said.        But I do

            8   think we have captured primarily the high level

            9   organization -- structure of Meta, yeah.

11:08:26 10          Q.   (By Mr. Ko)     Great.    Thank you for that.

           11             Now what organizations were responsible

           12   for or otherwise worked on any aspect of developer

           13   access to the Facebook platform?

           14        A.   This would be -- and, again, this is

11:08:56 15     assuming this is for the entire period, relevant

           16   period?

           17        Q.   Correct.

           18        A.   Okay.   So --

           19             MR. BLUME:    Hang on -- hang on one

11:09:07 20     second.

           21             THE DEPONENT:     Okay.    Sorry.

           22             MR. BLUME:    I'm just looking at -- at the

           23   notice what topic is this?

           24             MR. KO:    Topic 1 Mr. Blume.

11:09:16 25               MR. BLUME:    Well, how is it related.
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                                                                         67



                                 **CONFIDENTIAL ROUGH DRAFT**

11:09:18    1              MR. KO:   The organizational structure.

            2              MR. BLUME:    As that relates to 1A, B and

            3   C which of 1ABC and is relating.

            4              MR. KO:   It's really referring to all I

11:09:28    5   will try to helpful it tell you it's 1B in

            6   particular.

            7              MR. BLUME:    Okay.   Thank you.

            8              THE DEPONENT:    And can I be remind of

            9   what 1B is I don't have the document in front of

11:09:43 10     in.

           11         Q.   (By Mr. Ko)     It's pretty long let me

           12   fogies?

           13              MR. BLUME:    Can I show --

           14              MR. KO:   It is helpful.      Yeah, you can

11:09:50 15     show it to you but while you show it to her really

           16   the processes for drafting the various policies

           17   that were in place with respect to both users and

           18   developers.

           19              THE DEPONENT:    Going back to the prior

11:10:12 20     question I did forget about the strategic response

           21   team and so now what teams would be working on what

           22   I just read in -- in the -- at Facebook's we are a
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           23   team of teams and you -- we -- we largely involve

           24   nearly all parts of the org, you know, not the

11:10:34 25     culinary team for an example on -- on these kind of

                                                                         68



                                   **CONFIDENTIAL ROUGH DRAFT**

11:10:38    1   topics.      But it would be legal and privacy org and

            2   privacy and data policy org, public policy, comps,

            3   marketing, product, eng, is I think I said comps.

            4   Partnerships, can be involved.

11:11:05    5           Q.   (By Mr. Ko)   How about the platform and

            6   platform and development -- developer operations

            7   team?

            8           A.   Developer operations would be involved as

            9   well it all depends on the nature and scope of this

11:11:22 10     specific topic within the topics on listed in 2B.

           11           Q.   Got it.

           12                Several organizations at Facebook were

           13   responsible for otherwise worked on aspects of

           14   developer access to the Facebook platform; is that

11:11:42 15     fair to say?

           16           A.   Yes, I mean going back to the earlier

           17   example it really needs to be granular so for

           18   example developer operations wouldn't work closely

           19   on the update to the SRR.
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11:12:03 20             Q.      Well, and that's -- that's a good segue

           21   into my next question which is -- which is which --

           22   which organizations at Facebook were responsible

           23   for drafting and enforcing the policies applicable

           24   to use of the Facebook platform I by developers?

11:12:28 25             A.      Drafting and enforcing are two different

                                                                           69



                                      **CONFIDENTIAL ROUGH DRAFT**

11:12:31    1   things.        So in regards to drafting like the

            2   statement of rights and responsibilities that is

            3   largely, that is a legal difference, but with input

            4   from, again -- multiple policy oranges the -- the

11:12:48    5   comms team, marketing teams and then in regards to

            6   the everyone that again is -- my team, legal,

            7   developer operations, external data use and there's

            8   an eCrime team.       I forgot to mention the -- I

            9   believe it's referred to now as the content policy

11:13:23 10     team.        I forgot to mentioned that earlier that was

           11   rebranded from the global policy management team

           12   that I referred to earlier so same team different

           13   name.

           14                   Many teams get pulled in for both

11:13:40 15     drafting and then in -- drafting of terms and

           16   policies and then depending on the enforcement
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           17   aspect of it, we collaborate on enforcement

           18   approach with multiple teams as well.

           19           Q.      And I appreciate that distinguishing the

11:14:07 20     difference between drafting and enforcing.           So

           21   let's unpack that and let's just focus on the

           22   drafting to start with.

           23                   You've testified as to who was part of

           24   the drafting of the SRRs can you also describe to

11:14:23 25     the Court what organizations were responsible for

                                                                           70



                                      **CONFIDENTIAL ROUGH DRAFT**

11:14:26    1   drafting the data use policies?

            2           A.      It would be the same response with

            3   respect to the drafting of the SRR for the data --

            4   for the data use policy.        The same teams would be

11:14:46    5   pulled in.

            6           Q.      How about with respect to the platform

            7   policies?

            8           A.      The same response.

            9           Q.      Who -- okay.

11:15:00 10                     And with respect to the drafting of the

           11   SRRs.        DUPs and platform policies, who would you

           12   say of the -- of the organizations that you have

           13   described, who you say had primary responsibility
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           14   for drafting these policies?

11:15:20 15               MR. BLUME:    Objection.   Time frame.

           16             THE DEPONENT:    Legal has the primarily

           17   responsible of drafting all three of those but

           18   there is a period of time where -- where the

           19   platform policies are managed by myself, the team

11:15:46 20     I'm on I'm the global policy management team.      But

           21   as I said earlier we -- we don't do things in a

           22   vacuum, but I -- I was the person who drove the

           23   development and updates to the platform policies.

           24   And now oops -- I think that's -- I think that's

11:16:10 25     all I have -- I am so sorry.

                                                                         71



                                **CONFIDENTIAL ROUGH DRAFT**

11:16:12    1        Q.   (By Mr. Ko)     And when you say that there

            2   were updates made to the platform policy in

            3   particular what are you referring to?

            4        A.   Well, there's been multiple versions of

11:16:32    5   what you and I earlier agreed we are just going to

            6   call them platform policies now present date

            7   platform terms and developer policies but there's

            8   multiple changes over the years based on a number

            9   of factors.

11:16:47 10          Q.   So the global policy management team for
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           11   which you are currently or were involved in they

           12   were responsible for and had primary responsibility

           13   with respect to the drafting of these platform

           14   policies and updates there to; is that fair to say?

11:17:09 15                     MR. BLUME:    Objection.

           16                   THE DEPONENT:     It all depends on what

           17   time period.        But from -- so in the context of the

           18   platform terms and developer policies that we

           19   launched, that was very like co driven with legal

11:17:32 20     and -- and my team working pretty much side by

           21   side.        But, again, with input and feedback from all

           22   of the respected teams that I outlined before.

           23           Q.      (By Mr. Ko)     Great.

           24                   And with respect to the SRRs and DUPs and

11:17:54 25     all iterations there to what other organizations

                                                                           72



                                      **CONFIDENTIAL ROUGH DRAFT**

11:18:04    1   other than legal have primarily responsible for

            2   drafting and revising and updating those respected

            3   policies?

            4                   MR. BLUME:    Objection.   Form.

11:18:17    5                   THE DEPONENT:     Legal has always and

            6   continues today to be the manager of those performs

            7   and -- and policy.
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            8          Q.   (By Mr. Ko)     Are there any other?

            9          A.   With significant input from other teams

11:18:31 10     but they -- they -- they are the -- they hold the

           11   pen.

           12          Q.   From the teams that you had described

           13   before, and organizations are there any that you

           14   can identify that had primary responsibility or co

11:18:51 15     responsibility with the drafting of these similar

           16   to how the global management team had co

           17   responsibility with legal as to the platform

           18   policies?

           19               MR. BLUME:    Objection.   Form.

11:19:03 20                 THE DEPONENT:     I just realized I forgot

           21   to reference to the content strategy team.

           22               So having corrected myself there now I

           23   apologize Mr. Ko could you repeat your question.

           24          Q.   (By Mr. Ko)     Sure.

11:19:20 25                 And so this -- this team that you had

                                                                         73



                                  **CONFIDENTIAL ROUGH DRAFT**

11:19:23    1   recalled this content strategy team they were or

            2   had primarily responsibility along with the global

            3   management team to help update the platform

            4   policies with legal; is that correct?
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11:19:38    5             MR. BLUME:    Objection.

            6             THE DEPONENT:     I -- I am only comfortable

            7   saying that the legal team has the primary

            8   responsible for the terms and service also known as

            9   the SRR and the data use policy also referred to as

11:19:51 10     the privacy policy.     But the next largest

           11   contributor being the -- Aaron Egan's privacy and

           12   data policy team again many people have -- proposed

           13   revisions but those two teams legal being primarily

           14   accountable but working most closely with Aaron

11:20:15 15     Egan's org over the years but, again, everyone has

           16   a chance to review and and provide feedback and

           17   input.

           18        Q.   (By Mr. Ko)     And with respect to the

           19   privacy and data policy team that Aaron Egan was in

11:20:34 20     charge of at least for some period of time.     Are

           21   you saying that they were the next largest

           22   contributors to legal with respect to just the SRRs

           23   and data use policy or are you saying with respect

           24   to all the policies that we have been talking about

11:20:55 25     including the Facebook platform policy?

                                                                      74



                                **CONFIDENTIAL ROUGH DRAFT**

11:20:59    1        A.   So Aaron Egan's team of which I'm now on,
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            2   primarily would play a role in the data use policy

            3   updates.     Again legal holding the pen, but -- but

            4   Aaron Egan's org the policy and data policy team

11:21:23    5   would be providing input and feedback and seeking,

            6   you know, feedback on -- on data policy update

            7   dates and the research team has been involved as

            8   well.

            9           Q.   How about with respect to the SRRs who --

11:21:47 10     who would you say or what organization would you

           11   say is the next largest contributor to the SRRs

           12   outside of legal?

           13           A.   I would say that both -- content policy

           14   global policy management team they and Joel

11:22:17 15     Kaplan's which Aaron reports into Joel that they

           16   would be the primary people.     But legal largely

           17   drives terms the -- the terms of service updates.

           18   But they do seek input.     Again because nothing here

           19   is done in a vacuum.

11:22:39 20             Q.   What was the organization that Joel

           21   Kaplan class part of?

           22           A.   Well, Joel is still at the company.     He

           23   has -- his teams -- so Aaron reports into Joel.           So

           24   Joel is public policy and privacy and data policy

11:23:08 25     oranges I am trying to think who else.     I might

                                                                           75
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                                    **CONFIDENTIAL ROUGH DRAFT**

11:23:10    1   have to refresh my memory.

            2        Q.     But primarily Joel leads the team that

            3   manage our public policy privacy and data policy

            4   teams.

11:23:28    5        Q.     So was Monika content and Joel's cap

            6   Lance public policy and privacy team that were the

            7   next largest contributors other than to legal to

            8   the SRRs?

            9        A.     Monika reports.

11:23:42 10          Q.     Is that?

           11        A.     Monika Bickert into Joel Kaplan.

           12        Q.     Okay.   So other than legal, I just want

           13   to make sure I'm crystal clear other than legal the

           14   next largest contributor to the SRRs is the public

11:24:10 15     policy and privacy organization; is that accurate?

           16        A.     I think it's more accurate to say other

           17   than legal Joel Kaplan's org teams that I just out

           18   lined are the -- are given a chance to preview and

           19   provide feedback.      Along with other teams, but

11:24:31 20     they -- the teams that report into Joel would have

           21   an opportunity to review and provide input on

           22   updates.

           23        Q.     And Joel's team and organization selected
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 87 of 335




           24   public policy and privacy data teams; is correct?

11:24:49 25     Check.

                                                                     76



                                **CONFIDENTIAL ROUGH DRAFT**

11:24:50    1        A.   And content policy team that has also

            2   been and sometimes is still currently referred as

            3   the global policy management team of those org

            4   primarily Aaron Monika I wouldn't say that more had

11:25:06    5   more input over the other they both an opportunity

            6   to provide input.   But legal largely drives updates

            7   to the terms of service.

            8        Q.   Facebook has as you indicated before a

            9   finance team or organization, correct?

11:25:30 10          A.   Yes there's a finance team at Facebook.

           11        Q.   And they also -- Facebook also an account

           12   team organization, correct?

           13        A.   Yes the finance and there's finance and

           14   accounting teams.

11:25:46 15          Q.   And did the Facebook finance and -- and

           16   accounting organizations exist prior to Facebook's

           17   IPO in 2012?

           18             MR. BLUME:   Objection.

           19             THE DEPONENT:    So we -- we definitely had

11:26:08 20     finance and accounting teams, yes prior to the IPO.
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           21        Q.      (By Mr. Ko)     Fair to say that Facebook

           22   had a finance and accounting team for the entire

           23   time period that it was in existence or has been in

           24   existence?

11:26:31 25          A.      We are just talking about during the

                                                                          77



                                   **CONFIDENTIAL ROUGH DRAFT**

11:26:34    1   relevant period right.       You are talking about when

            2   Facebook was first created.

            3        Q.      Fair enough.    Yes from January 1st, 2007

            4   to present has it always been the case that

11:26:44    5   Facebook has had had a finance and accounting team?

            6                MR. BLUME:    Objection.   Compound.

            7                THE DEPONENT:    It's fair to say that to

            8   that there's always been -- to the extent it

            9   became -- it becomes relevant a team that -- that

11:27:01 10     works on finance and accounting.

           11        Q.      (By Mr. Ko)     Approximately how many

           12   individuals have been on the finance team over the

           13   relevant time period?

           14                MR. BLUME:    In total?

11:27:21 15          Q.      (By Mr. Ko)     Do you understand the

           16   question?

           17        A.      Yes, but I -- I don't know the -- I don't
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 89 of 335




           18   know the answer to -- from 2007 to 2022 that number

           19   obviously has changed and grown but I don't know

11:27:41 20     the specifics sitting here today.

           21           Q.   Can you give the Court a general

           22   understanding of the number of employees that were

           23   in the finance team throughout the relevant time

           24   period and not in total but just an estimate as to

11:27:58 25     year over year, about how many individuals were on

                                                                            78



                                   **CONFIDENTIAL ROUGH DRAFT**

11:28:01    1   that team?

            2                MR. BLUME:    Objection.     Form.

            3                THE DEPONENT:    I.

            4                MR. BLUME:    Don't guess.

11:28:08    5                THE DEPONENT:    Yeah, I can.        I don't

            6   know.

            7           Q.   (By Mr. Ko)     Ms. Hendrix in topic 11 of

            8   the aspects of topic 1 that you have agreed to

            9   testify as to are the employees in each department

11:28:23 10     as they relate to some of the sub topics in topic

           11   1.

           12                So let me try it again.

           13                Do you have any understanding of the

           14   number of employees in the finance team over the
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 90 of 335




11:28:34 15     relevant time period?

           16             MR. BLUME:    Objection.   Beyond the scope.

           17             THE DEPONENT:     No, I.

           18        Q.   (By Mr. Ko)     I was?

           19        A.   I don't know I know the finance and

11:28:47 20     accounting teams are accountable for valuations of

           21   the company.   But I don't know and I know I could

           22   provide you with some names of those senior most

           23   accountable people.     Dave Wehner, you know, being

           24   privacy officer or chief finance officer.     But I

11:29:04 25     don't know -- I can't give you numbers of how many

                                                                       79



                                **CONFIDENTIAL ROUGH DRAFT**

11:29:09    1   employees have come and gone from 2007 to 2022 but

            2   I'm prepared to speak on what those teams do.

            3        Q.   Do you have a general understanding of

            4   how many employees are currently in -- on the

11:29:24    5   finance team under Dave Wehner?

            6             MR. BLUME:    Objection.   Beyond the scope.

            7             MR. KO:     Let me just make sure and

            8   respond to that objection on the record the topic

            9   is clear is asking for the employees in each

11:29:37 10     department and so one could easily and logically

           11   conclude that topic would relate to the amount and
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           12   number of employees in.

           13                MR. BLUME:    As.

           14                MR. KO:   So.

11:29:49 15                  MR. BLUME:    As -- as the number and

           16   amount of those employees relate to the

           17   calculations of revenues gross profits net profits

           18   goodwill Ime paraments an assets recognize mice had

           19   by Facebook relate to users data or information

11:30:01 20     including not are you limited Facebook's public

           21   reporting.

           22                There are many in the finance

           23   organization has nothing to do with user data and

           24   information.

11:30:11 25                  And so requesting the numbers of those

                                                                           80



                                   **CONFIDENTIAL ROUGH DRAFT**

11:30:12    1   people is beyond the scope of one sub topic A.

            2                MR. KO:   I had a question.     Let me just

            3   ask the question.

            4        Q.      (By Mr. Ko)     Again.   Do you have an

11:30:26    5   understanding of how many employees are currently

            6   under the finance team on the financial team under

            7   Dave Wehner?

            8                MR. BLUME:    Objection.    Same objection.
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            9             THE DEPONENT:     As you sit here today, I

11:30:46 10     know I can give that information in terms of how

           11   many people report into him, but I didn't interpret

           12   the topic to require me to show up with numbers.

           13   But more to be prepared to speak to those sub

           14   topics.

11:31:04 15          Q.   (By Mr. Ko)     So I just wanted to make

           16   sure the record is clear.

           17             Do you have an understanding as to how

           18   many employees were on either the finance or

           19   accounting teams at any point in time during the

11:31:18 20     relevant time period?

           21             MR. BLUME:    Objection.   Beyond the scope.

           22             THE DEPONENT:     I could find out how many

           23   are on the teams today but I don't know the numbers

           24   from January 1, 2007 up until present.

11:31:40 25          Q.   (By Mr. Ko)     That's hell fingerprint full

                                                                        81



                                **CONFIDENTIAL ROUGH DRAFT**

11:31:42    1   you could -- if you want one could find out that

            2   information right, that's not hard to get, correct?

            3        A.   I -- I think it might take sometime

            4   because you have to click on, you know, look up

11:31:57    5   Dave Wehner's name and see who reports to him keep
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            6   clicking to find all the way down the chain.        But I

            7   didn't do that.

            8        Q.   And I'm not asking you what you did.           You

            9   made that clear in how you interpreted this.

11:32:14 10     I'm -- I'm just simply asking you if one wanted to

           11   find out how many individuals were on the finance

           12   and accounting organizations or any organization

           13   for that matter throughout the relevant time period

           14   that is information one could obtain, correct?

11:32:32 15               MR. BLUME:    Objection.       Beyond the scope.

           16             THE DEPONENT:       I don't know if we have

           17   retained any type of records as the teams have

           18   grown and change had over the years.         So I -- I

           19   don't know if we could produce that.

11:32:55 20          Q.   (By Mr. Ko)     You did produce it presently

           21   at least, correct?

           22             MR. BLUME:    Objection.       Beyond the scope.

           23             THE DEPONENT:       I could.

           24             MR. BLUME:    No.

11:33:07 25               THE DEPONENT:       I won't --

                                                                           82



                                  **CONFIDENTIAL ROUGH DRAFT**

11:33:08    1        Q.   (By Mr. Ko)     You didn't get an

            2   instruction that you --
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            3                MR. BLUME:    You are --

            4                MR. KO:   I have question.

11:33:13    5                MR. BLUME:    You are asking.

            6                MR. KO:   I'm using.

            7                MR. BLUME:    --

            8                MR. KO:   Remember how earlier unless

            9   Mr. Blume clearly instructs you not to answer the

11:33:28 10     question I would request that you answer my

           11   question nonetheless that's the way this -- this

           12   goes.

           13                So you could produce the information as

           14   to how many employees were part of a particular

11:33:48 15     Facebook organization and you could find that out

           16   presently if you wanted to, right.

           17                MR. BLUME:    Okay.    Different that's a

           18   different question, no objection to that question.

           19                THE DEPONENT:      Your question doesn't make

11:34:04 20     sense to me.     You said were and then present.         So

           21   are you talking past.        Are you talking present.         I

           22   think you need to be a little more clear.

           23           Q.   (By Mr. Ko)     Fair enough.    Sorry for the

           24   confusion I agree.

11:34:18 25                  To the extent you wanted to find out the

                                                                                  83
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                                   **CONFIDENTIAL ROUGH DRAFT**

11:34:21    1   number of employees within a particular

            2   organization at Facebook, you could find that out,

            3   correct?

            4           A.   I have the ability to go to Dave Wehner's

11:34:42    5   Facebook wiki profile click on that org button and

            6   do tons of other clicks because I see who reports

            7   and who reports to them and so and so and so on and

            8   then ultimately have a number.       So that that is

            9   number that I -- that I could find out.

11:35:02 10             Q.   And that would be true for any

           11   organization at Facebook, correct?

           12                MR. BLUME:    Objection.   Calls for

           13   speculation.

           14                THE DEPONENT:    It is technically possible

11:35:13 15     to find a human and count the amount of humans that

           16   report into that human.

           17           Q.   (By Mr. Ko)     Turn to topic 1A of the

           18   notice.

           19                Do you see the items listed there?

11:35:31 20             A.   May -- may -- may Rob pass me this.

           21   Okay.

           22           Q.   Yeah, absolutely and just so for your

           23   benefit, I would ask that just have the notice

           24   handy throughout this deposition.        You could have
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11:35:45 25     that in front of you because obviously referring to

                                                                         84



                                     **CONFIDENTIAL ROUGH DRAFT**

11:35:49    1   you a lot?

            2         A.     I mean it's just handy I'm trying to

            3   follow the rules so the extent you refer to it.

            4   I -- I will it's right here.        I just didn't know if

11:35:58    5   I was allowed to ask for it.

            6                Okay.

            7         A.     I see 1A, yes.

            8         Q.     Do you see the items listed there?

            9         A.     Yes.

11:36:13 10           Q.     What employees or organizations as

           11   Facebook were responsible for the items listed in

           12   1A?

           13         A.     Finance and being for the team account

           14   able for valuation for the company.

11:36:33 15           Q.     In addition to valuation are they also

           16   responsible for the calculation of reference gross

           17   profits -- and good payments and payment and assess

           18   ex recognized by Facebook relating to its users?

           19                MR. BLUME:    I'm sorry to users data and

11:36:52 20     information not the users.

           21         Q.     (By Mr. Ko)    Sure.   You can answer it
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           22   that way?

           23        A.     Well reporting of revenue is handled by

           24   across functional team, which includes finance and

11:37:08 25     legal and investor relations and corporate

                                                                      85



                                  **CONFIDENTIAL ROUGH DRAFT**

11:37:11    1   communications.   So for the reporting aspect those

            2   are the teams but just for valuations which I'm --

            3   I'm just going that with generally to talk about

            4   the calculation of these things if you prefer you

11:37:27    5   don't know do so I can hammer off word all -- all

            6   of the calculation of -- of revenues is done by

            7   financial and accounting.   The reporting is done by

            8   those additional teams I named.

            9        Q.     Thank you.

11:37:40 10                 That's helpfully yes we can refer to

           11   these items as valuation thank you for that

           12   clarification.

           13               So this other cross functional team

           14   what -- what was this specific cross functional

11:37:56 15     team that did the reporting of the revenues?

           16        A.     Well, it's finance legal investor

           17   relations but corporate but going to 1A there's no

           18   monetization like no user data monetization
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           19   calculation.      I don't know if I should make that

11:38:13 20     clear.    But just the team that like calculates our

           21   revenues is finance and accounting, but there's

           22   nothing pertaining to -- of user data that's tied

           23   to that.

           24        Q.     And when you say there's -- there's no

11:38:29 25     monetization calculation or user data monetization

                                                                        86



                                   **CONFIDENTIAL ROUGH DRAFT**

11:38:32    1   calculation win the topic, what -- what did you

            2   mean by that?

            3        A.     We don't put a number on -- on a price

            4   on -- on users data.      98 percent of our revenues

11:38:45    5   are through ads.

            6        Q.     It's gotten even higher in recent years?

            7               MR. BLUME:    Objection.

            8        Q.     (By Mr. Ko)     With respect to let's unpack

            9   your statement about not putting a number on a

11:39:07 10     particular user.      Is it your testimony that

           11   Facebook neither directly nor indirectly places a

           12   number on Facebook's users data information?

           13        A.     We.

           14               MR. BLUME:    Objection.   Form.

11:39:22 15                 THE DEPONENT:    We -- we have never done
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           16   that.        We don't -- we don't do that at all.

           17           Q.      (By Mr. Ko)     So it's your testimony that

           18   you do not place any indirect value or

           19   quantification on a particular's users data or

11:39:39 20     information.

           21                   Do I understand your testimony correctly?

           22                   MR. BLUME:    Objection.   Form.

           23                   THE DEPONENT:     I don't quite understand

           24   what you mean.        But in -- in regards to like

11:39:49 25     revenue, a person's data is not a factor in how

                                                                              87



                                      **CONFIDENTIAL ROUGH DRAFT**

11:39:54    1   we -- in how we make money.

            2           Q.      (By Mr. Ko)     Well, you don't?

            3           A.      It's based.

            4           Q.      Report?

11:40:03    5           A.      98 percent ads.

            6           Q.      Don't Facebook's public publicly

            7   available financial accounting including their

            8   10-Ks report as a key metrics of the company

            9   average revenue per user?

11:40:17 10                     MR. BLUME:    Objection.   Beyond the scope.

           11   Not your topic.

           12                   MR. KO:   I note for the record I highly
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           13   disagree but go ahead and answer that question.

           14               MR. BLUME:    It's covered by topic ten

11:40:28 15     David so the monetization she's here to talk about

           16   the organizational structure involved in the

           17   calculation not the calculation itself that's topic

           18   ten, so that's my objection and there's no reason

           19   for her to speculate on that.

11:40:46 20                 MR. KO:   Noted I will ask the question

           21   again.

           22        Q.     (By Mr. Ko)     Doesn't Facebook's publicly

           23   available financial documents including their 10-Ks

           24   report ASCII metrics to the company average revenue

11:40:59 25     per user?

                                                                          88



                                  **CONFIDENTIAL ROUGH DRAFT**

11:41:01    1               MR. BLUME:    Object instruct not to ants

            2   in the capacity of your 30(b)(6) if you know

            3   individually you can answer but not as a 30(b)(6)

            4   witness to regard to that topic.

11:41:10    5               THE DEPONENT:    I don't know.   I know we

            6   calculate a revenue by Facebook user geographic

            7   based on or the estimate of the geographic in which

            8   ad impressions are delivered virtual and digital

            9   goods are purchased or consumer hardware devices
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11:41:23 10     are shipped.

           11           Q.     (By Mr. Ko)     Average revenue per user an

           12   important metrics for purposes of calculating

           13   revenues?

           14                  MR. BLUME:    Objection.     Instruct you not

11:41:35 15     to answer in your role as a 30(b)(6) witness beyond

           16   the scope if you know in your personal capacity I

           17   guess you answer in that capacity although you

           18   have.

           19                  Hendrix in your personal capacity coming

11:41:50 20     up, so...?

           21                  THE DEPONENT:    I don't remember his

           22   question.

           23           Q.     (By Mr. Ko)     Is average revenue per user

           24   an important metrics for purposes of calculating

11:42:00 25     revenue?

                                                                               89



                                     **CONFIDENTIAL ROUGH DRAFT**

11:42:00    1                  MR. BLUME:    Observation.    Beyond the

            2   scope.       Please don't answer in regard to your

            3   30(b)(6) capacity.

            4                  THE DEPONENT:    I have already said we

11:42:11    5   don't calculate revenue by users like we -- we

            6   don't have that so, so I don't.
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            7        Q.   (By Mr. Ko)     ARPU an acronym that sounds

            8   familiar to you?

            9        A.   No.

11:42:31 10          Q.   You never heard of ARPU?

           11             MR. BLUME:    Objection.   Her personally or

           12   her as a corporate representative.

           13             MR. KO:     I will ask both but, you know,

           14   definitely in your corporate capacity.

11:42:46 15               MR. BLUME:    It's beyond the scope of the

           16   corporate designation in topic 1 so I instruct you

           17   not to speculate or guess.

           18             THE DEPONENT:     I don't -- I don't know.

           19        Q.   (By Mr. Ko)     So as I just make sure the

11:42:58 20     record is clear.

           21             As a corporate designee of Facebook who

           22   consented to testifying on behalf of the

           23   corporation as to the organizational structure

           24   including the calculation of revenues your answer

11:43:13 25     is that you don't know and have never heard of the

                                                                        90



                                   **CONFIDENTIAL ROUGH DRAFT**

11:43:16    1   acronym ARPU; is that correct?

            2             MR. BLUME:    Objection to your

            3   recharacterization of topic 1 the organizational
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            4   structure related to the calculation of revenue.

11:43:26    5   Not terms involved in the calculation of revenue

            6   beyond the scope.   You have a witness to topic ten

            7   that is upcoming you are free to ask those

            8   questions so I instruct not to answer to the extent

            9   it's beyond the scope of topic 1.

11:43:45 10               MR. KO:   Yes-or-no question Ms. Hendrix.

           11             MR. BLUME:    Instruct not to.

           12             MR. KO:   Corporate.

           13             MR. BLUME:    You.

           14             MR. BLUME:    Instruct.

11:43:52 15               MR. KO:   Spoking your.

           16             MR. BLUME:    I'm instructing her not to

           17   answer that's my that's my objection.

           18             SPECIAL MASTER GARRIE:    Noted for the

           19   record please move forward.

11:44:03 20               MR. KO:   Objection is noted for the

           21   record Mr. Counsel co please ask the question

           22   again.

           23        Q.   (By Mr. Ko)    Please ask the question

           24   again?

11:44:16 25               SPECIAL MASTER GARRIE:    Did she answer

                                                                      91



                                **CONFIDENTIAL ROUGH DRAFT**
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11:44:17    1   the question.

            2              MR. KO:   No she did not that's why

            3   keeping asking that's why I many a little confused.

            4              SPECIAL MASTER GARRIE:     So we noted the

11:44:24    5   objection Ms. Hendrix could you please answer the

            6   question given the advice you rived from your

            7   counsel.

            8              MR. BLUME:    You know in your personal

            9   capacity you can answer.

11:44:34 10                THE DEPONENT:    I don't know that acronym.

           11        Q.    (By Mr. Ko)     Do you know the acronym MAU?

           12        A.    Yes.

           13        Q.    What does that refer to?

           14        A.    Monthly active users.

11:44:48 15          Q.    Have you heard of the acronym DAU?

           16        A.    Yes.

           17        Q.    What does that refer to?

           18        A.    Daily active users.

           19        Q.    You never heard of ARPU or average

11:45:04 20     revenue per user; is that correct?

           21              MR. BLUME:    Objection.   Asked and

           22   answered. in her personally capacity.

           23              THE DEPONENT:    It's still correct that I

           24   don't know that acronym.

11:45:30 25          Q.    (By Mr. Ko)     Now turning back to the SRRs
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                                                                        92



                                    **CONFIDENTIAL ROUGH DRAFT**

11:45:33    1   and DUPs.    Are those -- is it fair to say that the

            2   SRRs and DUPs are how Facebook discloses to users

            3   how Facebook uses the data information Facebook

            4   collects about them?

11:45:56    5        A.     So you are referring to them as -- in the

            6   plural, so there's only an SRR and a DUP.        So I

            7   don't know what else you are referring to when you

            8   say SRRs and DUPs.

            9        Q.     Okay.   I was referring to them plurally

11:46:12 10     because that's fair and let's back up a little bit.

           11               There were various iterations of both the

           12   SRRs and the DUP, correct?

           13        A.     Yes.

           14        Q.     And so when I'm referring to them in the

11:46:26 15     plural I'm talking about all the various versions

           16   and iterations of the SRR and the DUP.      So

           17   hopefully with that clarification my question could

           18   potential be more clear.      I'm happy to try and

           19   rephrase but let me try again.

11:46:46 20                 Would you agree with me, that the SRRs

           21   and the DUPs govern how Facebook uses the data and

           22   information Facebook collects from and about
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 106 of 335




           23   Facebook users?

           24        A.   So you are breaking up so I haven't heard

11:47:07 25     all of your words and could someone go on mute.

                                                                        93



                                   **CONFIDENTIAL ROUGH DRAFT**

11:47:12    1             MR. BLUME:    There -- I think there was

            2   typing someone was typing it was -- it blocked

            3   blocked you out.

            4             Could you ask that again, David.

11:47:24    5             MR. KO:     Would you agree with me that the

            6   SRRs and the DUPs govern how Facebook uses the data

            7   and information Facebook collects from and about

            8   Facebook users.

            9             MR. BLUME:    Objection.   Form.

11:47:41 10               THE DEPONENT:     The -- I agree that the

           11   SRR is the terms -- the agreement with people who

           12   use our service.     And that the data use policy is

           13   the document which outlines the different -- not

           14   the different that the data use policy is the

11:48:01 15     primary document that outlines to people what we

           16   collect and how we will use the information and how

           17   it is so the TUP being the primary document in

           18   terms of use of information.     But there's a whole

           19   host of educational materials another there.      But
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11:48:16 20     those -- the DUP is the primary source.

           21        Q.   (By Mr. Ko)     Okay.   Are any of these

           22   educational materials policies or contracts that

           23   Facebook asks the user to consent to?

           24             MR. BLUME:    Objection.    Form.

11:48:40 25               THE DEPONENT:     When you user signs up

                                                                      94



                                **CONFIDENTIAL ROUGH DRAFT**

11:48:42    1   their -- they are freeing that he have they have

            2   read the data use policy and they are using -- I

            3   don't remember the question.

            4        Q.   (By Mr. Ko)     Are any of these educational

11:49:16    5   materials policies or contracts that -- at Facebook

            6   asks the user to consent to?

            7             MR. BLUME:    Objection.    Form.

            8             THE DEPONENT:     They are materials

            9   intended to -- to educate people but they are

11:49:28 10     not -- for example, we don't agree to the help

           11   center.

           12        Q.   (By Mr. Ko)     Let me ask it a different

           13   way and again this is just to orient ourselves for

           14   purposes of this discussion.

11:49:45 15               But is it fair to say that the SRR and

           16   the DUP are the two primary policies or contracts
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           17   that govern how Facebook uses the data and

           18   information Facebook collects from and about users?

           19               MR. BLUME:    Objection.

11:50:05 20                 THE DEPONENT:    With respect to the

           21   Facebook product, yes.      I -- those are the two

           22   primary documents.

           23          Q.   (By Mr. Ko)     And when I say data and

           24   information, the SRR contains a provision in it

11:50:29 25     that -- that is referred to as quote content

                                                                       95



                                  **CONFIDENTIAL ROUGH DRAFT**

11:50:33    1   information "does that sound familiar"?

            2          A.   I need to look at whatever version you

            3   are referring to.

            4          Q.   That's fair.

11:50:45    5               But without referring to a particular

            6   version, let me ask it this way, does the phrase

            7   content and information sound familiar to you at

            8   all?

            9               MR. BLUME:    Objection.   Form.

11:50:57 10                 THE DEPONENT:    Yes, and I just want to

           11   flag that we agreed at the outset that Facebook and

           12   Meta would be interchangeable I just want to flag

           13   that, you know, the terms of service the SRR is
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 109 of 335




           14   with -- with respect to Facebook.     But there's

11:51:12 15     Instagram terms of service for example I just want

           16   to make sure that point is clear and other things

           17   like Oklahoma trust and you know WhatsApp so I used

           18   just Facebook in that legal conclusion response

           19   just to mean people who use the Facebook app.

11:51:33 20               MR. BLUME:    And David we have been going

           21   a little more than a hour if you are coming up to a

           22   break.

           23             MR. KO:   Sure.    Thank you for that

           24   explanation.

11:51:42 25          Q.   (By Mr. Ko)     Let me ask the question I

                                                                       96



                                **CONFIDENTIAL ROUGH DRAFT**

11:51:43    1   was asking before does the phrase consent and

            2   information sound familiar to you at all?

            3             MR. BLUME:    Objection.

            4             THE DEPONENT:     Yes.

11:51:53    5        Q.   (By Mr. Ko)     What is your understanding

            6   of content and information?

            7             MR. BLUME:    Objection.   Form.

            8             THE DEPONENT:     That's incredibly board

            9   like what do you mean.

11:52:09 10          Q.   (By Mr. Ko)     I'm asking you said what
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 110 of 335




           11   understood what content -- content and information

           12   is, correct?

           13              MR. BLUME:    Objection.

           14              THE DEPONENT:     Yes, but you -- you

11:52:19 15     earlier said content and information as if it was a

           16   header in the SRR one of the various versions many

           17   all of which I reviewed.      Sitting here today, I

           18   would need to look at the terms of service to see

           19   if that is a header, but now you've broaden us out

11:52:36 20     or so I'm interpreting so now you are just asking

           21   me generally like what the definition of content

           22   and information mean to me.      So I'm not sure where

           23   you are heading with this.

           24        Q.    (By Mr. Ko)     Let's go back to in the

11:52:51 25     context of the SRR.      Are you familiar with the

                                                                         97



                                 **CONFIDENTIAL ROUGH DRAFT**

11:52:57    1   phrase content and information in the context of

            2   the SRR?

            3        A.    I would need to -- to look I'm not -- I'm

            4   not just there's so much material as I'm sure you

11:53:11    5   understand I -- I don't remember.      But I'm more

            6   than happy to be presented with whatever you

            7   apparently are seeing that I'm not.      So I can --
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            8        Q.   I'm not seeing?

            9        A.   -- refresh my recollection.

11:53:26 10          Q.   We can do that in a moment, but -- but

           11   before we do that.     I'm just establishing some

           12   foundation and some things that you know or you

           13   don't know without having to go to the document.

           14             So is it your testimony that you don't

11:53:39 15     know what content and information in the context of

           16   the various refers to simply yes or no?

           17             MR. BLUME:    Objection.     Form. and scope.

           18             THE DEPONENT:     It's not that I don't know

           19   it's that I don't remember and need to refresh I

11:53:54 20     don't think the Court expect to remember every

           21   single word in every version of the document I

           22   think that that is unfair.

           23        Q.   (By Mr. Ko)     Okay.   Well, your objection

           24   is duly noted but I think you are probably assuming

11:54:09 25     way to much in my question.       I'm asking you a very

                                                                          98



                                **CONFIDENTIAL ROUGH DRAFT**

11:54:11    1   simple and straightforward yes-or-no question.

            2             Does the term "content and information"

            3   in the context of the SRR mean anything to you?

            4             MR. BLUME:    Objection.     You can answer in
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 112 of 335




11:54:29    5   your -- in your personal capacity if it means

            6   anything to you.

            7             MR. KO:     Stop -- stop Mr. Blume.

            8             MR. BLUME:    I'm giving her instruction

            9   you don't have to interrupt me.

11:54:39 10               THE DEPONENT:     I know what content like

           11   for example, the SRR community standards and those

           12   are types of content that you may or may not more

           13   so may not upload onto Facebook.      So content

           14   insofar as what type of content you can post or

11:55:02 15     content insofar as what content we collect and what

           16   we will use with it and/or how we can use that in

           17   the context of the data use policy.      So hopefully

           18   that gave you a little bit more color.      But if we

           19   are getting specific to like is there a -- a

11:55:19 20     heading content and information.      I don't remember.

           21   I would need to to take a look.      But hopefully that

           22   gives you more clarity.     On -- on content can be

           23   used depends on the context of the conversation or

           24   of the question of which you haven't provided any.

11:55:37 25               MR. BLUME:    Ready for a break David.

                                                                         99



                                   **CONFIDENTIAL ROUGH DRAFT**

11:55:39    1             MR. KO:     Almost.   Thank you -- thank you
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            2   -- Hendrix it slowly does let me just ask a few

            3   follow-up questions.    It's exactly what I was

            4   trying to get at.

11:55:49    5        Q.   (By Mr. Ko)     You responded that you

            6   understood that content and information included

            7   information that Facebook collects and -- and what

            8   Facebook will use with it and how Facebook can use

            9   that in the context of the data use policy you

11:56:04 10     recall that answer a moment ago?

           11        A.   I would just trying to give you examples

           12   of what it could mean if all just depends on the

           13   location of the -- which word the content and/or

           14   organization is, so I don't think even think my

11:56:18 15     response is helpful.

           16        Q.   Well, it was helpful to me.        So in -- in

           17   the context of the SRRs.    Is it fair to say that

           18   content and information includes the type of

           19   information that Facebook collects about a user?

11:56:41 20               MR. BLUME:    Objection.   Form.

           21             THE DEPONENT:    I -- again I need to see

           22   the section of the SRR that you are referring to

           23   like the -- the data use policy is the primary

           24   document which has been referred as the privacy

11:57:03 25     policy that there is to tell you what do you

                                                                           100
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                                   **CONFIDENTIAL ROUGH DRAFT**

11:57:06    1   collect and how is the information used.        So in the

            2   actual SRR, I would need to, you know, if you don't

            3   mind showing me, like the sentence that you are

            4   seeing, that's causing you to ask me that question.

11:57:22    5   But it's just -- I'm not able to go further and

            6   speculation unless -- unless I knew what you were

            7   talking about and I frankly don't.

            8           Q.   (By Mr. Ko)     In the data use policy as

            9   you described it governs the types of or it governs

11:57:43 10     how Facebook collects user information and how it

           11   is used.     There are provisions in the data use

           12   policy as a general matter, that deal with content

           13   and information or do you not know one way or the

           14   other?

11:57:59 15                  MR. BLUME:    Objection.   Beyond the scope.

           16   Form.

           17                THE DEPONENT:    The data use policy

           18   absolutely discusses what information we collect

           19   and how that information can be used.        It also

11:58:12 20     helps you learn how could you can control your

           21   information and -- and yes in the SRR there are

           22   disclosures to people about being careful about

           23   what they share, for example with their friends
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 115 of 335




           24   because their friend, you know, use that

11:58:30 25     information to be very careful.       So there -- so

                                                                               101



                                  **CONFIDENTIAL ROUGH DRAFT**

11:58:33    1   there is -- that is refresh my memory of it a

            2   section within the SRR to take you -- us back to

            3   where you were going.

            4             MR. BLUME:    All right.       Let's we have

11:58:42    5   been going.

            6             MR. KO:    Thank you for.

            7             MR. BLUME:    20 minutes let's take a break

            8   please.

            9             THE DEPONENT:      I need a break.

11:58:47 10               MR. KO:    Sure.   We can take a break.

           11             (Discussion off the stenographic record.)

           12             THE VIDEOGRAPHER:      Sure.    We are off the

           13   record 11:58 a.m.

           14             (Recess taken.)

12:15:07 15               THE VIDEOGRAPHER:      We are back on the

           16   record it's 12:15 p.m.

           17        Q.   (By Mr. Ko)     Ms. Hendrix, welcome back

           18   from the break.

           19             We were talking a moment ago about the

12:15:22 20     SRRs and the DUPs with respect to the former.            The
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           21   SRRs, at any point in time every Facebook user in

           22   the United States is subject to the same SRR,

           23   correct?

           24          A.   Yes, that's correct.

12:15:44 25            Q.   And at any point in time every Facebook

                                                                       102



                                  **CONFIDENTIAL ROUGH DRAFT**

12:15:47    1   user in the United States is subjected to the same

            2   DUP or data use policy, correct?

            3          A.   That's correct.

            4          Q.   And these contracts and policies as we

12:15:57    5   have discussed before have been subject to various

            6   changes over time, but put another way there was

            7   only one operative SRR at a time, correct?

            8          A.   Yes, there's just been the one agreement

            9   with users who agree to use the service and not

12:16:25 10     two.

           11          Q.   And there was only operative DUP data use

           12   policy at the time, correct?

           13          A.   That's correct we have terms and privacy

           14   policy the term -- the terms and privacy policy the

12:16:40 15     names having evolve but just those two.

           16          Q.   So in -- in 2013, for exampling let's

           17   pick a point in time, the operative SRR at the time
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           18   was a contract that Facebook had every single

           19   Facebook user in the United States; is that

12:16:58 20     correct?

           21          A.   Yes.

           22          Q.   And same question with respect to the

           23   DUP.    In 2013, to pick up a time a illustrative

           24   time example there only one data use policy and

12:17:15 25     that was operative and applicable to a user at that

                                                                     103



                                   **CONFIDENTIAL ROUGH DRAFT**

12:17:18    1   time for every user in the United States, correct?

            2          A.   Yes.

            3          Q.   And this would be true for the entire

            4   time period from January 1st, to --

12:17:30    5   January 1st, 2007 to present, correct, there only

            6   one operative SRR and one operative DUP, correct?

            7          A.   Yes.

            8          Q.   And there was never a time period in

            9   which there was more than one SRR that would be

12:17:47 10     applicable to a particular user, correct?

           11          A.   That's correct.

           12          Q.   And similarly there bass never a time

           13   from January 1st, 2007 to present when there was

           14   more than one DUP applicable to a particular user,
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12:18:06 15     correct?

           16        A.    That's -- that's correct.

           17              What do you mean by "applicable"?

           18        Q.    Only one contract or policy that governed

           19   Facebook's relationship with users?

12:18:28 20          A.    Okay.    So yes, I -- I don't need to

           21   correct my prior responses.

           22        Q.    Ms. Hendrix are you familiar with the

           23   settings that Facebook made available to its users?

           24              MR. BLUME:    Objection.    Form.

12:18:50 25                THE DEPONENT:     What settings are you

                                                                        104



                                   **CONFIDENTIAL ROUGH DRAFT**

12:18:51    1   referring to.      Just to help fair enough I'm going

            2   to orient you to topic 3 in topic 3.       There's a

            3   description as to the privacy and app settings.

            4              THE DEPONENT:     Okay.   Yes, thank you.

12:19:16    5        Q.    (By Mr. Ko)     So are you here today to

            6   testify on behalf of Facebook as to the development

            7   and revisions of those particular settings?

            8        A.    Yes, how -- how they are developed and

            9   the processes for developing them.

12:19:38 10          Q.    Are you specifically familiar with the

           11   privacy settings?
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           12        A.     Yes.

           13        Q.     What are they?

           14               MR. BLUME:    Objection.   Form.

12:19:51 15                 THE DEPONENT:     Well, they -- the privacy

           16   settings can be for your content that you are

           17   uploading to Facebook so to the extent that we

           18   provide with the ability to have a privacy setting

           19   attached to a given piece of content, than there's

12:20:08 20     no types of privacy settings.       And then there's the

           21   application settings.

           22        Q.     (By Mr. Ko)     So I assume then you are

           23   familiar with -- with app settings or application

           24   settings?

12:20:27 25          A.     Yes.

                                                                          105



                                   **CONFIDENTIAL ROUGH DRAFT**

12:20:28    1        Q.     What is the distinction between privacy

            2   settings and application settings?

            3        A.     Well, the privacy settings relate to and

            4   are relevant to your app settings so you've got

12:20:42    5   your privacy settings and then a subset of those

            6   settings are settings that you can apply to your

            7   vies of the Facebook platform applications.

            8        Q.     So the two are related, correct?
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            9        A.   Yes, that's correct.

12:21:03 10          Q.   And as you said the two are relevant to

           11   each other, correct?

           12        A.   Yes.

           13        Q.   And let me try and -- and characterize

           14   what I think and you are more than free and I

12:21:24 15     welcome edits to characterization or revisions to

           16   this characterization but in thinking about the

           17   user privacy settings it occurred to me that

           18   they -- they more or -- or they reflect the control

           19   that Facebook allowed users to try restrict or

12:21:41 20     limit what information related to the user or their

           21   friends were being shared; is that a fair

           22   characterization?

           23        A.   The friend element of your description is

           24   confusing because I can't control my friends

12:22:04 25     privacy settings.

                                                                     106



                                 **CONFIDENTIAL ROUGH DRAFT**

12:22:04    1        Q.   Well for now let's -- let's eliminate the

            2   friend the users friend from that.

            3             So is fair to say that the privacy

            4   settings reflect the control that Facebook allowed

12:22:18    5   its users to try to reflect or limit or what --
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            6   what information related to the user was being

            7   shared.

            8                Do you agree with that statement?

            9        A.      I would characterize it more as what

12:22:35 10     information the user could tell Facebook that they

           11   wanted to be displayed, so for example, you might

           12   set your post to publics or everyone or you might

           13   set your post to friend of friends any custom

           14   network or just to only me.

12:22:56 15                  So there's -- there's a number of

           16   settings it just depends on what the context is

           17   of -- of what we are talking about.

           18        Q.      That's helpful.

           19                Let's go with how you characterize it and

12:23:09 20     in particular the aspect of your response that said

           21   displayed.

           22                So it's your testimony that the privacy

           23   settings primarily governed how a Facebook user

           24   could control what information was being displayed

12:23:32 25     on her or his Facebook profile; is that correct?

                                                                        107



                                   **CONFIDENTIAL ROUGH DRAFT**

12:23:38    1                MR. BLUME:   Objection.

            2                THE DEPONENT:     I would describe it as the
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            3   privacy settings to the extent there is a privacy

            4   setting attached to the information so for example

12:23:51    5   your name is permanently public.    Like you don't

            6   hide your name.    But to the extent there's a

            7   privacy settings and then the user has the choice

            8   to use that setting and depending what him her or

            9   them would like to do they will set it as public or

12:24:14 10     to just their friends or only to themselves for

           11   example.

           12        Q.    (By Mr. Ko)   Or to a -- a custom

           13   audience, right?

           14        A.    Right if there's accustom network or that

12:24:32 15     they created or something like that.

           16        Q.    Would it be accurate to say it's the

           17   privacy settings -- well, remember how earlier I

           18   had asked about whether or not the privacy settings

           19   related to what information a user would want to

12:24:47 20     share or restrict about themselves and I want to

           21   focus in on -- on the share aspect of it.

           22              Is there any part of the privacy settings

           23   that reflect what information could be shared or

           24   restricted by a particular user?

12:25:07 25          A.    What do you mean by "shared"?

                                                                     108
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                                   **CONFIDENTIAL ROUGH DRAFT**

12:25:11    1        Q.    Well, let me ask you because you said in

            2   response to the question that I had asked, you had

            3   talked about what a user would display.

            4              In what con technical or what -- what do

12:25:23    5   you mean when you say display?

            6        A.    I mean, let's say that I upload an album

            7   of photos from an event, I went to and took

            8   pictures and I want to upload them to my Facebook

            9   profile.   In the context of doing so, I'm presented

12:25:40 10     with the option to upload this as an only me album.

           11   So I'm only allowed on Facebook my album or set it

           12   for everyone the whole public someone who doesn't

           13   even use Facebook could navigate.      Or I could set

           14   it to my friends or the custom piece that I

12:26:00 15     referred to.      And then by using that settings,

           16   programmatically it tells the Facebook product to

           17   render or not render the content depending on the

           18   setting that I selected.

           19        Q.    And the privacy settings would be

12:26:17 20     applicable to that process, correct?

           21        A.    Right the product respects privacy.

           22        Q.    And have you heard of the term on

           23   platform activity?

           24        A.    Yes.
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12:26:31 25          Q.     Have you heard of the term off platform

                                                                      109



                                    **CONFIDENTIAL ROUGH DRAFT**

12:26:33    1   activity?

            2        A.     Yes.

            3        Q.     What is your understanding of these two

            4   terms?

12:26:43    5        A.     It depends on the context of the use of

            6   the term platform.

            7        Q.     Can we agree that the platform is --

            8   let's start with the context of the Facebook

            9   platform.

12:26:58 10                 Does that help or do you need more?

           11        A.     Not quite.

           12        Q.     Okay.

           13        A.     Not quite.

           14        Q.     So can you describe to me what the

12:27:06 15     different versions of the platform you are thinking

           16   of or the various versions of -- of the platform

           17   you are thinking of?

           18        A.     Well some people will refer to as the

           19   Facebook app or website as the Facebook platform.

12:27:21 20     I in my years working at the company, when I hear

           21   the word platform, I many a bias in the sense I
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           22   have always worked on our platform technology

           23   for -- to mean the -- the -- the Facebook platform

           24   that we -- that we launched in May of 2007.

12:27:42 25               So that's why it's important for us to be

                                                                     110



                                  **CONFIDENTIAL ROUGH DRAFT**

12:27:45    1   on the same page with respect to the word platform.

            2   Because there were, if we are just going back now

            3   to the set of technologies that allowed third

            4   parties, you know, to -- to connect with the

12:27:56    5   Facebook app, that -- that is the platform as I

            6   speaking to and those apps could be either on

            7   Facebook or off of Facebook.

            8             Depending on where the developer wanted

            9   to host them.

12:28:08 10          Q.   Okay.   Given -- given that distinction

           11   between on and off platform.

           12             Do the privacy settings deal with both on

           13   and off platform activity as you described?

           14        A.   So the privacy settings apply to the --

12:28:32 15     the settings that you are setting for the content

           16   you are uploading to the Facebook service then

           17   there's also privacy settings related to apps and

           18   those settings can be used with respect to the
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           19   information that you share with third party

12:28:49 20     applications or that otherwise make available

           21   through the platform.

           22        Q.     And so those -- that particular setting

           23   or settings those are the app settings, correct?

           24        A.     App settings, yes there -- those would

12:29:07 25     apply to your use of the Facebook platform as I

                                                                          111



                                  **CONFIDENTIAL ROUGH DRAFT**

12:29:11    1   just described my -- my understanding -- like

            2   the -- the platform technologies.

            3        Q.     And with respect to both of these

            4   settings, which as you described were related to

12:29:27    5   each other.   Would it be fair to say that

            6   collectively these settings are the controls

            7   Facebook enacted to try to give Facebook users

            8   control of what information they could share on

            9   Facebook?

12:29:46 10                 MR. BLUME:    Objection.    Form.

           11               THE DEPONENT:     Yeah, I -- I wouldn't say

           12   try they always have given people control over

           13   their content.

           14        Q.     (By Mr. Ko)     Okay.   Collectively is it

12:29:57 15     fair to say that these settings are the control
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           16   Facebook enacted to give users control of what

           17   information they could share on Facebook?

           18        A.   Not quite because I won't explain my

           19   problem with your -- with your question.    I don't

12:30:15 20     understand it.

           21        Q.   Okay.   Well, I'm trying to get to a point

           22   where we can come to a common understanding.     So I

           23   got -- eliminated the portion that you were

           24   uncomfortable when I removed try from my question.

12:30:29 25               Who are the other aspect of my question

                                                                        112



                                  **CONFIDENTIAL ROUGH DRAFT**

12:30:31    1   that are unclear?

            2        A.   Please restate.

            3        Q.   Collectively is fair to say that the

            4   privacy and app settings are the controls Facebook

12:30:43    5   enacted to give users control of what information

            6   they could share on Facebook?

            7        A.   No.

            8        Q.   What -- what -- what are -- are there any

            9   other settings that I'm missing here?

12:30:59 10          A.   The settings don't necessarily, like it's

           11   just -- I'm confused over your question.    So like I

           12   could go and post hate speech today but I have
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           13   agreed not to do that.     So that's the SRR.     Not a

           14   privacy setting.

12:31:15 15          Q.   Okay.    Can you unpack that a little bit?

           16        A.   No.

           17        Q.   You can't.    Because you just gave me an

           18   explanation so I'm trying to figure out what you

           19   mean by that?

12:31:30 20          A.   I'm -- I mean what I said and I even gave

           21   an an example.

           22        Q.   Okay.    And you said the settings don't

           23   control over hate -- hate speech post that you

           24   would make and so why -- why is that?

12:31:52 25          A.   Privacy settings are for what you want to

                                                                          113



                                   **CONFIDENTIAL ROUGH DRAFT**

12:31:59    1   be visible to people who use Facebook, you know,

            2   and then there's -- there's app settings on --

            3   depending on the relevant period would apply to

            4   what you want to enable to be shared through the

12:32:19    5   Facebook APIs.

            6             So that's why your question and I used

            7   the hate speech example none of those settings

            8   would the exception of some of the ability for us

            9   to prevent certain types of content from even being
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12:32:36 10     uploaded such as child exploitation kind of content

           11   wherever technically possible we try to prevent

           12   that con ten a technical or get it down ASAP but

           13   those settings don't control the content that I'm

           14   publishing they control who can see it.    And where

12:32:56 15     it can flow through the APIs.

           16        Q.   Thank you.

           17             So with respect to -- let's -- let's go

           18   to the app settings.   Is it fair to say that the

           19   app settings governed the controls Facebook enacted

12:33:21 20     to try and -- well to give Facebook users control

           21   of what information could be shared on Facebook

           22   through Facebook APIs?

           23        A.   That question doesn't make sense.

           24        Q.   You said that the way in which third

12:33:40 25     parties could access information about a -- about a

                                                                       114



                                  **CONFIDENTIAL ROUGH DRAFT**

12:33:43    1   Facebook user was through APIs, correct?

            2        A.   I did not say that.

            3        Q.   Okay.   Well, let me ask it more directly.

            4             Facebook APIs were the way or accessing a

12:33:59    5   Facebook API or APIs was the way in which a third

            6   party app developer could access information about
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            7   a Facebook user, correct?

            8               MR. BLUME:   Objection.

            9               THE DEPONENT:   Does the way the

12:34:21 10     characterizing is just not the way that technically

           11   it works.    So for example if I'm a developer of a

           12   third party applicants and I want to navigate to

           13   John Smith's profile manually I go and see that.

           14   That's why I don't want to narrow the developer

12:34:36 15     community can actually always they have human they

           16   go to my profile or any profile and see what

           17   information is public.      Certain information is

           18   always public and then other information is not

           19   public but that's because the user has chosen to

12:34:53 20     set their settings in a -- in a -- to only me for

           21   example.

           22               So developers of course can get

           23   information subject to the controls that we have in

           24   place through the platform but that -- those --

12:35:08 25     that the data will only be accessible to the APIs

                                                                      115



                                  **CONFIDENTIAL ROUGH DRAFT**

12:35:13    1   to the extent that users didn't choose to not make

            2   their data available for example by opting out of

            3   the platform or by -- well, that -- we should end
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            4   there.

12:35:28    5        Q.    (By Mr. Ko)   I wasn't trying to

            6   exhaustive in my question.    I apologize if I wasn't

            7   clear unclear one way in which a third party

            8   developer access information on a particular user

            9   is through an API through the Facebook platform or

12:35:44 10     in connection with the Facebook platform, correct?

           11        A.    If the user chooses to share that

           12   information, and make it accessible through the

           13   platform for example by not opting out.

           14        Q.    Yes or no.

12:36:05 15          A.    I answered your question.

           16        Q.    So if the user -- if user choose he to

           17   share the information and make it axes I believe

           18   flow the platform one way in which a third party

           19   developer to access information about that

12:36:17 20     particular user is through an API, correct?

           21        A.    And yes subject to the fact that the

           22   platform has changed and we are on the 13th some

           23   version.   So it's -- it's how -- how it works

           24   depends also on when you are asking me.   So like,

12:36:41 25     you know, the -- the move from version 1 to version

                                                                     116



                                 **CONFIDENTIAL ROUGH DRAFT**
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12:36:44    1   two there's no longer friend permissions available.

            2   So it's all about -- so the friend's settings

            3   wouldn't apply, right.

            4           Q.      When you said a moment ago, "if the user

12:36:55    5   chooses to share that information."

            6                   Through what mechanism can that user

            7   decide to choose to share that information?

            8           A.      Well they choose to create a Facebook

            9   account.        Then they choose to decide what they want

12:37:13 10     to fill in and complete.        They choose what they

           11   want to share.        They choose who they want to share

           12   it with.        They choose whether they want to use

           13   the -- the platform application and historically

           14   they have chosen whether they want to allow their

12:37:29 15     information to be shared by their friends who

           16   install.        There's just a serious of choices it all

           17   depends on the choices each individual users makes

           18   and then the Facebook product respects those

           19   privacy settings.

12:37:46 20             Q.      Back to the information that they choose

           21   to share, how do they decide that?

           22           A.      I canted speak for the -- each individual

           23   user.        I -- I can tell you how I choose to share

           24   content.

12:37:58 25             Q.      I -- I understand the confusion.
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                                   **CONFIDENTIAL ROUGH DRAFT**

12:38:01    1   Technically speaking with respect to a user's

            2   interaction on the Facebook platform is there a

            3   tool or a setting that they can select in terming

            4   what to share with a third party?

12:38:20    5                MR. BLUME:    And objection to the extent

            6   this relates to topic 6 and not the communication

            7   but the technology, I would instruct her not to

            8   answer you have a witness on that coming.

            9                MR. KO:   It's not related to topic six

12:38:36 10     for your gratification.

           11                MR. BLUME:    All right.   What topic does

           12   it relate to then.

           13                MR. KO:   Topic 3 privacy and app

           14   settings.

12:38:44 15                  MR. BLUME:    You asked about technology.

           16   So that's what confused me.

           17        Q.      (By Mr. Ko)    Ms. Hendrix, what were the

           18   settings that a user could utilize to control the

           19   information that they wanted to share?

12:39:02 20          A.      And with who and where?

           21        Q.      Let's start with the third-party app

           22   developer.
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           23        Q.    And what the relevant period.

           24        Q.    I already instructed unless I specify

12:39:20 25     otherwise I'm talking about the entire time.

                                                                        118



                                   **CONFIDENTIAL ROUGH DRAFT**

12:39:23    1        A.    Well --

            2              MR. BLUME:    Objection.   Scope.

            3              THE DEPONENT:    From 2007 to 2022 today,

            4   those settings have changed.      So for example,

12:39:36    5   there's not a setting for use to specify which

            6   piece of information you are comfortable that you

            7   have shared with your friends that's visible to

            8   your friends on Facebook that are comfortable

            9   sharing third party applications so apps improve

12:39:53 10     and socialize for example birthday app I might sure

           11   you can set -- I don't care take my birthday to a

           12   third-party app.     That setting is no longer exists

           13   because that's no longer technically possible

           14   through the product.     But also might be comfortable

12:40:12 15     sharing my photos by private photos so might to

           16   nope you share my birthday that I have set to

           17   private.   But you can't share my photos that I have

           18   set to private.

           19        Q.    (By Mr. Ko)     Take a look at the notice
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12:40:30 20     again and on page nine of the notice there's a

           21   reference to users privacy settings.

           22             Do you see that.   That would be paragraph

           23   22 is?

           24        A.   I see what it says.

12:40:57 25          Q.   Do you agree that a user's privacy

                                                                     119



                                **CONFIDENTIAL ROUGH DRAFT**

12:40:59    1   settings means the audience selector on the

            2   Facebook app that purported to allow Facebook users

            3   to control with whom their information was shared?

            4        A.   I agree that -- that is what it says.

12:41:16    5   But in the context of audience selector like

            6   what -- like -- does that mean to you like per

            7   object privacy like what I'm sharing on Facebook

            8   and then whether I'm allowing that content to be

            9   shared off of Facebook.   Generally this -- this

12:41:36 10     could be generalized into -- into like -- I mean

           11   these I think are your words but I hope I'm clear.

           12   Like every user has a choice with respect to using

           13   the product and then to the extent we offer privacy

           14   controls, they can choose whether to use them.

12:41:55 15     Those controls include whether to use the Facebook

           16   platform or whether to, for example, opt out so
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           17   yes, I mean at all times people are controlling

           18   their information to the extent they choose to use

           19   Facebook.

12:42:19 20          Q.     How would you describe to the Court what

           21   your understanding of users privacy settings

           22   consist of?

           23        A.     I just described how it works and so

           24   that's my response.    I mean, going back to the SRR

12:42:33 25     we tell people keep in mind that what you share and

                                                                       120



                                  **CONFIDENTIAL ROUGH DRAFT**

12:42:36    1   make visible to your friends, means that you are at

            2   some point in time they could be doing something

            3   with that information that you are not aware of

            4   that those disclosures have always been in place

12:42:49    5   just to tell people to be careful about the content

            6   that they upload to be aware of the settings that

            7   they are selecting that's why we have all of the

            8   different educational resources on top of the data

            9   use policy in the SRR that really -- really help

12:43:05 10     you understand that these decisions you are making

           11   have potential consequences but that you ultimately

           12   control the audience until you choose to share and

           13   choose to share it to everyone or choose to share
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           14   it with your friends than technically those people

12:43:22 15     could do something that you don't desire them to

           16   do.

           17              But ultimately the settings is the --

           18   your decisions on the visibility of that content,

           19   including whether you want to enable that content

12:43:39 20     to be used in the context of third party

           21   applications.

           22         Q.   Great.

           23              And that would be both the privacy and

           24   app settings that we were -- that we have been

12:43:50 25     talking about, correct?

                                                                     121



                                    **CONFIDENTIAL ROUGH DRAFT**

12:43:52    1         A.   Privacy and app settings are the specific

            2   controls but then the SRR the data use policy the

            3   help senior all of the privacy check-ups and all of

            4   those are also a part -- a part of the overall user

12:44:07    5   experience so that people have that understanding

            6   of the -- of how they choose to use those settings,

            7   so it -- they all interrelate.

            8         Q.   What -- what organization or or

            9   organizations at Facebook were responsible for

12:44:24 10     developing the privacy and app settings?
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           11        A.     So this would go back to my earlier

           12   point.    It's a teams to teams of engineers to build

           13   you need product manager to drive legal to advice

           14   you need policy to advice you need comms to advice

12:44:41 15     you need platform marketing teams to add anxiety.

           16   You need to -- to just ensure that all of these

           17   relevant stakeholders are a part of the process and

           18   that can -- they are not at the table all the time

           19   always together but they all are a part of -- and

12:44:58 20     part -- and the privacy program managers.       The

           21   privacy review teams.       Like they are all a part of

           22   the teams that understand what it is that we want

           23   to build and how it's going to work and how we are

           24   going to communicate that and so it's a team of

12:45:14 25     teams.

                                                                          122



                                  **CONFIDENTIAL ROUGH DRAFT**

12:45:15    1        Q.     I understand.    And would expect there to

            2   be a lot of organizations and teams that were part

            3   of it.

            4               So can you identify which teams had the

12:45:25    5   primary responsibility for developing the privacy

            6   and app settings?

            7               MR. BLUME:   Objection.
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            8             THE DEPONENT:    So the platform product

            9   team would be more closely involved in the app

12:45:40 10     setting development and then because setting aside

           11   let's take we didn't have even have a Facebook

           12   platform as I have described it, you know, the

           13   third party applications, if just had Facebook you

           14   had product and engineer tools that have nothing to

12:45:57 15     do with the third party applications or the

           16   Facebook platform.   So there's product teams but

           17   these product teams work on different products and

           18   there's legal teams and within those legal teams

           19   they support and counsel different product teams.

12:46:10 20               Same with comms, same with policy, same

           21   with marketing for example.

           22        Q.   (By Mr. Ko)     So what were the -- I'm

           23   trying to get in this instance I am trying to get a

           24   list -- a finite list if you will of the

12:46:34 25     organizations that were part of developing the

                                                                     123



                                **CONFIDENTIAL ROUGH DRAFT**

12:46:38    1   privacy settings so I had heard you to say that

            2   legal engineers, policy, privacy, marketing, those

            3   were -- the teams that were responsible for

            4   developing the settings, correct?
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12:46:55    5               MR. BLUME:    Objection.   Asked and

            6   answered.

            7               THE DEPONENT:     No, I mean like we have a

            8   privacy program team.       There's content strategy

            9   gist, like it's -- like how you get involved all

12:47:10 10     depends on the nature and scope of what is shipping

           11   and what is -- what is being launched.       So we

           12   launched a fundraiser API at one point in time.

           13   And so maybe the team that works on social good in

           14   helping people really, you know, complement the

12:47:27 15     mission of connecting people and helping people for

           16   example, like using the -- the API to help raise

           17   funds.

           18        Q.     (By Mr. Ko)     Earlier today you were able

           19   to identify organizations that had both -- that had

12:47:48 20     primarily responsibility or -- or were most

           21   important to process of drafting the SRRs and the

           22   DUPs and the platform policies.

           23               Do you recall that?

           24        A.     I do.

12:48:02 25          Q.     I'm going to ask you that same type of

                                                                          124



                                    **CONFIDENTIAL ROUGH DRAFT**

12:48:04    1   question with respect to the privacy settings and
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            2   the API settings.

            3             Can you identify which Facebook

            4   organizations have the primary responsibility for

12:48:17    5   developing the privacy and app settings?

            6             MR. BLUME:    Objection.

            7             THE DEPONENT:     It would be the same teams

            8   that work on -- so we don't pull in an engineer to

            9   help write the terms of service but an engineer and

12:48:35 10     product team member will need to be very deep hey

           11   involved in understanding how we are describing how

           12   things work because they are the ones who are

           13   ensuring us that what we say, is consist in the

           14   data use policy for example is consist with what

12:48:49 15     they have built.

           16             So it is just like nothing can be done in

           17   a vacuum and it's -- I wouldn't say that there's

           18   ever -- a finite list I always joke around as the

           19   person who has been responsible for developing the

12:49:08 20     Facebook platform policies since 2009, I will

           21   accept a proposed policy change from a member of

           22   the culinary team.     So we don't say you are not

           23   included just because there's finite list there's

           24   primary people and so that's -- the way -- the way

12:49:27 25     that we work at this company.

                                                                     125
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                                  **CONFIDENTIAL ROUGH DRAFT**

12:49:30    1        Q.     (By Mr. Ko)     That's helpful I just

            2   want -- I want to try listen to my question as

            3   closely I was actually asking a yes or no I

            4   appreciate the explanation.

12:49:40    5               But it's it sounds like the answer will

            6   be no.    But my -- my question was, can you identify

            7   which Facebook organizations ever the primary

            8   responsibility for developing the privacy and app

            9   settings.    Sounds like your answer is no, you

12:49:57 10     cannot; is that fair?

           11        A.     No it is not fair.      So if you want me.

           12        A.     You finite.

           13        Q.     No, I didn't -- let me ask again.

           14               Can you identify yes or no, which

12:50:09 15     Facebook organizations have the primary

           16   responsibility for developing the privacy and app

           17   settings yes or no?

           18               MR. BLUME:    Objection.

           19               THE DEPONENT:     What do you mean by

12:50:19 20     "developing"?

           21        Q.     (By Mr. Ko)     Okay.   You have an

           22   understanding of what the term developing means?

           23               MR. BLUME:    Objection.
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           24                THE DEPONENT:     Well, yes, but are you

12:50:32 25     saying developing.

                                                                           126



                                   **CONFIDENTIAL ROUGH DRAFT**

12:50:33    1        Q.      (By Mr. Ko)     What is?

            2        A.      Developing the route.

            3                MR. BLUME:    Hold.

            4                THE DEPONENT:     With you please not talk

12:50:38    5   over each.     Are you saying in development insofar

            6   as actually developing or writing the code or

            7   developing insofar what the content what is the

            8   text what is the control.       Why do we want the

            9   control should we have the control.           It all depends

12:50:56 10     on what we are talking about.           So we want.

           11        Q.      (By Mr. Ko)     Stop later?

           12        A.      Box it into the a single piece.

           13        Q.      Let's start with the latter?

           14        A.      I don't remember what my latter was.

12:51:06 15          Q.      Your later was developing insofar as the

           16   content what is the text what is the control why

           17   don't we want the control should we have the

           18   control that's what I'm referring to?

           19        A.      That would be our privacy XFN which

12:51:23 20     consist of that that product teams will go or that
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           21   pull teams in so that's legal.    Privacy program

           22   managers.    Policy product counselors.    And then

           23   natural you need the product teams because they

           24   have a vision for their product and how they want

12:51:44 25     to be used and what they want to build, so it's

                                                                         127



                                  **CONFIDENTIAL ROUGH DRAFT**

12:51:49    1   very collaborative.

            2        Q.     And with respect to the aspect of

            3   development as it relates to engineers can you

            4   answer the question of what teams or organizations

12:52:07    5   at Facebook have the primary responsibility for

            6   developing the privacy and app settings?

            7               MR. BLUME:   Objection.   Beyond the scope

            8   for designated topics.

            9               THE DEPONENT:   It all depends.   So for

12:52:20 10     example, a research team member might conduct a

           11   small study and the focus group to make sure people

           12   understand these settings they they might improve

           13   improved upon or that we should do things such as,

           14   maybe I think Pratiti when I spoke with her it was

12:52:42 15     the research team like some researchers embedded in

           16   product teams there's a research teams as well it

           17   was -- an individual research team that was the
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           18   catalyst for the development of the privacy checkup

           19   tool.

12:52:55 20                  So again it all depends on who proposing

           21   going annoying culinary comment.

           22           Q.   (By Mr. Ko)     So there was a research team

           23   that had its hand in the development of privacy and

           24   app settings; is that accurate?

12:53:11 25                  MR. BLUME:    Objection.

                                                                         128



                                   **CONFIDENTIAL ROUGH DRAFT**

12:53:17    1                THE DEPONENT:    It is accurate to say that

            2   we rely on internal research employees to help us

            3   ensure that we are that people understand our terms

            4   and the products including the settings.

12:53:33    5           Q.   (By Mr. Ko)     So this research team as you

            6   indicated conducted stud it is, correct?

            7                MR. BLUME:    Objection.

            8                THE DEPONENT:    So there are researchers

            9   at Facebook and the -- where they -- and who they

12:53:47 10     report into is different the way that -- that that

           11   works, so.

           12           Q.   (By Mr. Ko)     I'm not asking who they

           13   report to I just simple asked this research team

           14   conducted stud it is; is that correct?
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12:54:00 15                MR. BLUME:    If it doesn't involve

           16   reporting lines than beyond the scope.

           17              MR. KO:    Mr. Blume topic three overview

           18   for process of privacy through app settings.

           19              Okay stop with those objections.

12:54:20 20          Q.    (By Mr. Ko)     Ask you again Ms. Hendrix

           21   this research team conducted stud it is; is that

           22   correct?

           23        A.    Well, I don't know which research team

           24   you are talking about.     Like.

12:54:29 25          Q.    I'm talking?

                                                                        129



                                   **CONFIDENTIAL ROUGH DRAFT**

12:54:30    1        A.    I'm trying.

            2              MR. BLUME:    Let her finish please.

            3              THE DEPONENT:    I'm trying to tell you

            4   that like the research -- researchers at our

12:54:37    5   company and I can -- I -- are some of are on like a

            6   team and some are embedded win our team so a

            7   product manager might say hey I have an idea for

            8   updating a -- an app setting or -- Aaron reports

            9   privacy setting.     And so could you help me conduct

12:54:57 10     research into whether or not and how we could and

           11   might develop this setting if it's new or ensure
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           12   that the setting is understood.    So that's speaking

           13   to or, you know, just different teams, like -- a

           14   college could have an experience and say hey we

12:55:21 15     might want to improve or this or something.

           16   Everybody can have ideas.

           17        Q.   (By Mr. Ko)    I'm looking at the

           18   transcript and at 12:52 you gave me an example, in

           19   response to your confusion over the word

12:55:35 20     development.

           21             You gave me an example of what certain

           22   groups and teams did at Facebook and one example

           23   you gave was that quote a research teem member

           24   might conduct a small study and the focus group to

12:55:51 25     make sure people understand these settings that

                                                                      130



                                  **CONFIDENTIAL ROUGH DRAFT**

12:55:54    1   might improve or be improved upon ."

            2             With respect to that example and no other

            3   example, are you talking about the settings when

            4   you refer to the settings you are talking about the

12:56:10    5   privacy and app settings, correct?

            6        A.   In my example I was talking about the

            7   privacy checkup tool.

            8        Q.   Okay.   So in connection with the privacy
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            9   checkup tool.     Facebook did research and conducted

12:56:29 10     the studies, correct?

           11              MR. BLUME:    Objection.

           12              THE DEPONENT:     I know that from my

           13   conversation with Pratiti that there was research

           14   into -- well now I would have to look at my notes

12:56:51 15     if that's okay.

           16         Q.   (By Mr. Ko)     Yeah.   Please -- please do

           17   so.   Again this bass a yes-or-no question.        You

           18   gave an example I'm just trying to clarify and

           19   understand your response.

12:57:07 20           A.   I don't agree with you that it was a yes

           21   or no but that doesn't really matter.

           22              So I just want to see if I have that.

           23              MR. BLUME:    Can you ask the question

           24   again Dave just so we are -- so the record is

12:57:35 25     clear.

                                                                         131



                                  **CONFIDENTIAL ROUGH DRAFT**

12:57:36    1              MR. KO:    Yeah but I will want to wait

            2   until she reviews what she needs to review so I

            3   don't have to ask it again.

            4              MR. BLUME:    Fair enough.

12:57:45    5              THE DEPONENT:     Okay I think I find the
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            6   example I did find the example that I was referring

            7   to.

            8           Q.   (By Mr. Ko)     This is a yes-or-no question

            9   do you understand that?

12:57:54 10             A.   I don't -- I don't remember your

           11   question.     This we need to precise here so if you

           12   could repeat it.

           13           Q.   I'm about to ask a yes-or-no question.

           14   Okay?

12:58:05 15             A.   You can think it is and I can disagree

           16   with it but go ahead.

           17           Q.   Yes or no, when you were describing

           18   research studies that Facebook did were they in

           19   connects with Facebook's privacy or app settings?

12:58:22 20                  MR. BLUME:    Objection.

           21                THE DEPONENT:    It was related to.   But,

           22   again, from my notes here, if helpful, because it's

           23   on the topic that I think you are asking, which is

           24   researchers will generally doing a study to test

12:58:40 25     any change a consent flow or study flow so yes

                                                                          132



                                   **CONFIDENTIAL ROUGH DRAFT**

12:58:44    1   researchers are involved.

            2           Q.   (By Mr. Ko)     Yes researchers are involved
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            3   to the extent well researchers are involved and

            4   they conduct studies in connection with the privacy

12:58:55    5   and app settings, correct?

            6             MR. BLUME:    Objection for that example.

            7             THE DEPONENT:     They can be it all depends

            8   on the nature and scope of the change I'm not

            9   testifying -- involved in every single settings

12:59:08 10     change or text or wording.       It's where appropriate

           11   and depending on the catalyst for like because

           12   again product team members will pull in researchers

           13   decide they want to conduct research on their own

           14   initiative.   But there are times when researchers

12:59:23 15     are pulled in to review app and conduct studies

           16   into app settings and privacy settings, yes.

           17        Q.   (By Mr. Ko)     And Ms. Hendrix, this is

           18   just, you know, you don't have take my advice for

           19   you answer -- answer would like to answer.

12:59:39 20               This go a loose faster answer a yes or no

           21   and you free to say no, you can say no?

           22             MR. BLUME:    She --

           23             MR. KO:   That's --

           24             MR. BLUME:    She clarify.

12:59:48 25               MR. KO:   Let me finish let me finish

                                                                          133
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                                   **CONFIDENTIAL ROUGH DRAFT**

12:59:50    1   Mr. Blume if your answer is no.       That's fine.   But

            2   I'm just making a suggest to speed things up for

            3   both of us.   Otherwise we are going to be very I

            4   hope this wasn't teak the long.       But if you would

01:00:04    5   like to keep not answering yes or no questions.

            6             MR. BLUME:    Okay.

            7             MR. KO:     With yes or no either yes or no

            8   you are free to do but I'm just making a suggestion

            9   with that 1:00 o'clock I promised there --

01:00:17 10               MR. BLUME:    I will make.

           11             MR. KO:     Go ahead.

           12             MR. BLUME:    Can make a suggestion the

           13   fact is your questions are unclear and vague and

           14   ambiguous these clarifying to record to make it

01:00:25 15     accurate it's not yes or no the way you want she's

           16   made that clear.     So I suggest my suggestion is if

           17   you are question become more precise than perhaps

           18   yes or no maybe appropriate -- is what causing her

           19   to happen what the answers are.

01:00:41 20               MR. KO:     I don't know how to get precise

           21   than using the answers that provide Ms. Hendrix.

           22   But it is 1:00 o'clock we should break for lunch as

           23   I promised we would.

           24             THE VIDEOGRAPHER:       Okay.   We are off the
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01:00:54 25     record it's 1:00 o'clock p.m.

                                                                         134



                                   **CONFIDENTIAL ROUGH DRAFT**

01:00:56    1             (Recess taken.)

            2             THE VIDEOGRAPHER:     All right.   Everybody

            3   we are back on the record it's 2:07 p.m.

            4        Q.   (By Mr. Ko)     Ms. Hendrix, there was a

02:07:14    5   research org or team at Facebook, correct?

            6        A.   There are people -- research teams and

            7   researchers on embedded within different product

            8   teams at Facebook.

            9        Q.   And research teams and researchers

02:07:33 10     conducted studies, correct?

           11             MR. BLUME:    Objection.

           12             THE DEPONENT:     Yes, the researchers

           13   conduct studies.

           14        Q.   (By Mr. Ko)     Are you familiar with the

02:07:48 15     term UX or user experience?

           16        A.   Yes.

           17        Q.   These research team and researchers

           18   conducted studies in compensation with either the

           19   UX teem or the user experience in general; is that

02:08:05 20     fair to say?

           21             MR. BLUME:    I'm sorry.   What topic are we
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           22   on?

           23              MR. KO:    Topic 3B Rob.

           24         Q.   (By Mr. Ko)     More importantly I'm

02:08:25 25     following on questions and more importantly and

                                                                      135



                                   **CONFIDENTIAL ROUGH DRAFT**

02:08:27    1   answers that Ms. Hendrix gave with respect to

            2   research that was done at Facebook.

            3         Q.   So let me again Ms. Hendrix were studies

            4   by the user experience by the research teams and/or

02:08:45    5   researchers?

            6              MR. BLUME:    Objection.

            7              THE DEPONENT:    What do you mean by the

            8   user experience?

            9         Q.   (By Mr. Ko)     I asked a moment ago whether

02:08:57 10     or not you are familiar with term UX or user

           11   experience, right?

           12         A.   I am I just am you are familiar with my

           13   understanding.

           14         Q.   What is your understanding of the term UX

02:09:14 15     or user experience?

           16         A.   So it's generally a term that we have

           17   used to describe a person and their experience

           18   interacting with our services.
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           19           Q.   Were study done by the research team or

02:09:30 20     researchers at Facebook in connection with a user

           21   or person's experience interacting with Facebook

           22   services?

           23                MR. BLUME:    Objection.   Time frame.

           24                THE DEPONENT:    From the relevant period

02:09:50 25     to today, there are researchers that conduct into

                                                                           136



                                     **CONFIDENTIAL ROUGH DRAFT**

02:09:57    1   users experiences using our services.

            2           Q.   (By Mr. Ko)     And in connection with that

            3   research is fair to say that certain studies were

            4   done?

02:10:11    5           A.   Well, that's what I just said.

            6           Q.   Okay.   And these studies I believe you

            7   had received to earlier this afternoon focus

            8   groups.

            9                Do you remember that?

02:10:27 10             A.   There are certain research conducted

           11   where the teams will like depending on the research

           12   they might use a focus group.

           13           Q.   So some instances over the relevant time

           14   period there were studies done that -- by the

02:10:49 15     research team or researchers at Facebook in which
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           16   they conducted or used or used a focus group in

           17   connection with that study is that fair to say?

           18              MR. BLUME:    Objection.   You just asked

           19   that and she just answered that.

02:11:07 20          Q.    (By Mr. Ko)    You can answer.

           21        A.    Yes.

           22        Q.    Is it also fair to say that studies were

           23   done in connection with the user experience as it

           24   relates to privacy and app setting that a user to

02:11:24 25     utilize?

                                                                       137



                                   **CONFIDENTIAL ROUGH DRAFT**

02:11:26    1        A.    Yes.

            2        Q.    Thank you.

            3              Before lunch I believe you had referred

            4   to the privacy checkup tool.

02:11:42    5              Do you recall that?

            6        A.    I do.

            7        Q.    What is the privacy checkup tool?

            8        A.    It is an educational type of resource

            9   tool used to ensure that people are oh wear of and

02:12:05 10     remind of their -- like and encourage them to check

           11   the settings because if you join in Facebook in one

           12   year you might get to older and change your
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           13   settings so it's the ability to check in people and

           14   remind them of the settings that they have and give

02:12:23 15     them an opportunity to make any changes.         They

           16   always have that but that's -- the motivator.

           17        Q.     By settings you are referring to the

           18   privacy and app settings, correct?

           19        A.     Right.     The privacy and app settings.

02:12:42 20          Q.     Do you recall when the privacy checkup

           21   tool was rolled out?

           22        A.     I -- I will to check that in my notes.          I

           23   think I have this your notes.

           24        Q.     While you check your notes.       Let me see

02:12:59 25     if this date rings a bell to you is it?

                                                                            138



                                     **CONFIDENTIAL ROUGH DRAFT**

02:13:02    1        A.     It's May 2014.

            2        Q.     Okay.    Great.

            3               So the privacy checkup tool was rolled

            4   out by Facebook in May of 2014, correct?

02:13:17    5               MR. BLUME:    Objection.     Asked and

            6   answered.

            7        Q.     (By Mr. Ko)       Was there any aspect of the

            8   privacy checkup tool that disclosed to the user

            9   what third-party app developers could see or obtain
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02:13:32 10     about a user?

           11        A.   I know that it let's people know what

           12   apps they have and is educating on them to see if

           13   they want them to still uninstall those apps or

           14   keep the apps.   The specifics I don't remember

02:13:52 15     sitting here right now.

           16        Q.   Do you recall any part of the privacy

           17   checkup tool, which related to any disclosure by

           18   Facebook whatsoever about what third-party app

           19   developers could obtain from a particular user?

02:14:21 20               MR. BLUME:    Objection.

           21             THE DEPONENT:    I'm not sure how granular

           22   it got.   But it's like at a -- up level our

           23   practice is to point people and to different

           24   settings pages and stuff within the context of

02:14:46 25     these tools that we have, but I don't remember

                                                                       139



                                 **CONFIDENTIAL ROUGH DRAFT**

02:14:51    1   specifically the details for how it is evolved.

            2        Q.   (By Mr. Ko)     And is the privacy checkup

            3   tool when you say that it -- that it you believe

            4   that it pointed users to different settings pages;

02:15:10    5   semiannually is your testimony that the privacy

            6   checkup tool referred to and pointed to users
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            7   towards specifically the privacy and app settings?

            8        A.      I said that I don't remember, but I would

            9   be surprised if in fact it did not.        It told them

02:15:26 10     the scope of the information that they had shared

           11   and the apps that -- that -- that they had

           12   installed.

           13                But I don't remember specifically.    Again

           14   I would be incredibly shocked given the way that we

02:15:41 15     have all these links to the different places people

           16   can go to learn more if it did not, but that's all

           17   that I can remember sitting here today.

           18        Q.      Do you recall whether or not there was a

           19   reference in the privacy checkup tool to the SRRs?

02:16:03 20                  MR. BLUME:    Objection.

           21                THE DEPONENT:    I don't recall.

           22        Q.      (By Mr. Ko)     Do you recall there was a

           23   difference or reference in the privacy checkup tool

           24   to the DUP?

02:16:14 25                  MR. BLUME:    Objection.

                                                                           140



                                   **CONFIDENTIAL ROUGH DRAFT**

02:16:17    1                THE DEPONENT:    I don't recall.

            2        Q.      (By Mr. Ko)     With regard to the privacy?

            3        A.      But there's links to overall.
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            4        Q.   With respect to the privacy checkup tool

02:16:29    5   that was enacted rolled out at Facebook in May of

            6   2014, is that tool still available to you?

            7        A.   Yes.

            8        Q.   And that tool has been I assume available

            9   to all Facebook users from maybe of 2014 to

02:16:45 10     present, correct?

           11        A.   I don't know that to be true I imagine it

           12   would have rolled out in waves but I'm not sure.

           13        Q.   Well, what do you mean when it was rolled

           14   out in waves?

02:17:05 15          A.   Consist with other practices, we don't

           16   just turn all users live.    There's times where you

           17   will maintain the current experience and then ship

           18   any user experience changes we want to make and

           19   then additional testing of how those changes that

02:17:28 20     we decided to make are -- are being utilized and

           21   received, so the -- the research doesn't begin and

           22   end at the initial launch.    The -- the teams would

           23   be monitoring the user experience to see if we

           24   should roll out more broadly or before rolling out

02:17:49 25     more broadly make any adjustments based on the

                                                                       141



                                 **CONFIDENTIAL ROUGH DRAFT**
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02:17:53    1   initial wave.        Some things are roll out all at

            2   once.        But some things are rolled out in waves for

            3   like localization purposes.

            4           Q.      And with respect to the teams that would

02:18:11    5   be monitoring the user experience, what teams would

            6   those be?

            7                   MR. BLUME:    Objection.

            8                   THE DEPONENT:    Likely, the -- largely the

            9   product and engineering leader and potential

02:18:34 10     research teams it all depends on what change we are

           11   making would factor in who would be paying most

           12   attention but largely it would be the product and

           13   where applicable research related teams.

           14           Q.      (By Mr. Ko)     When you said it was consist

02:19:01 15     with other practices at Facebook to roll certain

           16   products or programs out in waves, could you

           17   characterize for the Court, to what extent it was

           18   the general practice of Facebook to roll certain

           19   programs out relative to as you said rolling things

02:19:26 20     out all at once?

           21                   MR. BLUME:    Objection.

           22                   THE DEPONENT:    What is copy of over

           23   question.

           24           Q.      (By Mr. Ko)     I'm just trying to get an

02:19:43 25     understanding and unpack your response.          When I
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                                  **CONFIDENTIAL ROUGH DRAFT**

02:19:45    1   asked about the privacy -- the privacy checkup tool

            2   being rolled out in May of 2014, you said that it

            3   was likely that it was rolled out in waves,

            4   correct?

02:19:56    5        A.    I -- I mean to say it could have been.

            6   It could have also been rolled out all at once.

            7        Q.    So then since you don't know exactly what

            8   happened with respect to the privacy checkup tool,

            9   but you did say it was consist with other practices

02:20:11 10     at Facebook to roll things out in waves, correct?

           11        A.    So we announced the fact of the privacy

           12   checkup in May.   It starts rolling out in August so

           13   just to be clearer on that point.    I'm sorry.

           14              I don't know if it was rolled out

02:20:29 15     specifically in waves.

           16        Q.    And let's set aside you made it clear you

           17   don't recall specifically what happened with

           18   respect to the privacy checkup tool.    I'm not

           19   focusing on the processor of your response in which

02:20:45 20     you said it was consist with other practices to

           21   roll things out in waves.

           22              Do you recall that testimony yes or no?
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           23        A.    Yes, I recall having said that.

           24        Q.    And you also said and provided testimony

02:21:01 25     that sometimes Facebook rolled things out all at

                                                                         143



                                 **CONFIDENTIAL ROUGH DRAFT**

02:21:05    1   once, correct?

            2              MR. BLUME:   Some objection.

            3              THE DEPONENT:   Correct.

            4        Q.    Can you give me an understanding if you

02:21:18    5   know it's fine if you don't if you know to what

            6   extent it was the general practice of Facebook to

            7   roll things out in waves or whether it was a

            8   general practice of Facebook to roll things out all

            9   at once?

02:21:29 10                MR. BLUME:   Objection.    Form.

           11              THE DEPONENT:   It all depends on what is

           12   being launched if it's like a text change it will

           13   be translated for the fact it's a global company so

           14   we need to make sure the language is the right

02:21:44 15     language and that can take sometime.      We also need

           16   to test features.   We want the experience to be

           17   uniform across the global user experience.      But we

           18   also need to know whether what we've decided to

           19   test because we -- we don't always want to proceed
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02:22:00 20     with something.    So we'll test in a given region

           21   see how it's performing and decide whether to open

           22   it up more broadly.

           23        Q.   (By Mr. Ko)     So it's fair to say then

           24   there wasn't one general practice with respect to

02:22:20 25     following certain programs out.     I hear you to say

                                                                        144



                                  **CONFIDENTIAL ROUGH DRAFT**

02:22:23    1   that sometimes it was rolled out in waves and

            2   sometimes it was rolled at once.     It just depends

            3   is -- is that correct?

            4             In other words there was no predominant

02:22:34    5   practice as -- as to those two methods in rolling

            6   out a certain product, correct?

            7        A.   So to take a step back the teams that are

            8   involved in the development or revisions to

            9   features opportunities terms documents they will

02:22:51 10     collaborate on the launch plan.     We have go to

           11   market plans.     And everyone will and line on what

           12   is the right approach for the given thing that is

           13   being updated and tested for example.     So it's --

           14   there's a process by which we make those decisions.

02:23:15 15          Q.   Was there a predominant practice as to

           16   how Facebook rolled certain parameters out?
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           17                   MR. BLUME:    Objection.   Form.

           18                   THE DEPONENT:    It all depends like I

           19   said.        So I have described the way that we approach

02:23:28 20     it.     It's the process of the teams that are all

           21   involved.        In, you know, the announcement of the

           22   launch using privacy checkup as an example there

           23   will have been the teams that I referred to earlier

           24   that will and line on -- on the content of that

02:23:45 25     announcement and those similar teams will align on

                                                                           145



                                        **CONFIDENTIAL ROUGH DRAFT**

02:23:48    1   the timing for launching.          Those things.   So it all

            2   just again depends on which team is launching what

            3   thing.

            4           Q.      (By Mr. Ko)     So based on your response is

02:23:59    5   it fair so and would you agree with me that there

            6   was not a predominant practice as to how Facebook

            7   rolled certain programs out?

            8           A.      No.

            9           Q.      Okay.   Which is because you are saying

02:24:12 10     that -- you claim that it all depends, right and

           11   certain circumstances there -- there are situations

           12   in which Facebook rolled things out in waves and in

           13   certain circumstances there are situations in which
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           14   Facebook rolled things out all once.          Did I

02:24:30 15     understand your testimony correctly?

           16           A.      I believe that's what I said.   But like

           17   for example, using the SRR and the data use policy,

           18   you know, that's not an example of a wave that we

           19   would do.        It just all depends.

02:24:53 20             Q.      Are you familiar --

           21           A.      There's always a process.

           22           Q.      Are you familiar with privacy short cuts?

           23           A.      Yes, I am.

           24           Q.      What -- what is privacy short cuts?

02:25:14 25             A.      So that was launched in December of 2012

                                                                           146



                                        **CONFIDENTIAL ROUGH DRAFT**

02:25:16    1   and it complements the privacy tour that users new

            2   users go through in their -- in the user sign up

            3   flow.        And it -- it's right -- it's -- it's next to

            4   the home button but it's just an ability to

02:25:41    5   complement that privacy tour and provide with more

            6   information on the privacy settings.

            7           Q.      I'm sorry you said tour as in, TOUR?

            8           A.      Yes.    We have a privacy tour for new

            9   users.

02:25:57 10             Q.      Okay.   In connection with the privacy
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           11   tour and specifically with respect to the privacy

           12   short cuts, do you recall whether there was any

           13   reference or disclosure to the SRR?

           14          A.   I don't remember sitting here right now.

02:26:25 15            Q.   Do you recall whether or not there was

           16   any reference or disclosure in the privacy short

           17   cuts that referred the user to the DUP?

           18          A.   I don't remember.

           19          Q.   Are the privacy short cuts so you said

02:26:50 20     they were rolled out in Facebook in December of

           21   2012, right?

           22          A.   Yes, I said that.

           23          Q.   Are they still in existence today?

           24          A.   Yes, I -- yes they are.

02:27:13 25            Q.   I believe it or not I have an exhibit for

                                                                        147



                                  **CONFIDENTIAL ROUGH DRAFT**

02:27:15    1   you.    We are going to put on a platform a copy of

            2   what will be marked as exhibit 331.

            3               (Exhibit 331 was marked for

            4   identification by the court reporter and is

02:27:21    5   attached hereto.)

            6               MR. KO:   Just give it a moment and while

            7   it magically arrives in your platform.     The -- I
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            8   will note for the report that tab J is a

            9   Bates-stamped FB-CA-MDL-00,005,751st.

02:28:16 10          Q.   (By Mr. Ko)    Let me know when you have a

           11   copy of that?

           12        A.   I have it.

           13        Q.   Okay.   Does this document look familiar

           14   to you at all Ms. Hendrix?

02:28:47 15          A.   Yeah, I think I have seen this before

           16   not -- yes, it looks familiar.

           17        Q.   And by the way just for your benefit, you

           18   can see portions of this exhibit that is -- that is

           19   being screen shared as well, but it sounds like --

02:29:04 20     or it looks like you have a good handling on

           21   looking at the document directly, so whatever you

           22   choice.

           23             So there's a reference in this document

           24   and I'm looking at the second page the privacy

02:29:19 25     short cuts.

                                                                       148



                                  **CONFIDENTIAL ROUGH DRAFT**

02:29:19    1             Do you see that?

            2        A.   I am there.

            3        Q.   Is fair to say given the description and

            4   take a moment to read if you need is fair to say
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 168 of 335




02:29:35    5   that the privacy short cuts were designed to help

            6   users get quicker access to Alaska seeing their

            7   privacy settings and controls?

            8           A.      What did you say I am so sorry I was

            9   reading.

02:29:53 10             Q.      Is fair to say that the privacy short

           11   cuts to help users to get quicker access to seeing

           12   their privacy settings and controls?

           13           A.      I don't know if quick -- maybe quicker is

           14   fair.        It's just making -- it's just having that

02:30:13 15     short cut right next to the home button.         So it

           16   makes it like prominent every where they go.

           17           Q.      Let's do it that way because to you know

           18   a short cut would mean quicker.         But let's just use

           19   your example as a short cut.

02:30:36 20                     So is it fair to say that the privacy

           21   short cuts were designed to help users access a

           22   short cut to see their privacy settings and

           23   controls?

           24           A.      I'm just struggling.   So I don't know if

02:31:12 25     so some of their controls I guess.

                                                                            149



                                      **CONFIDENTIAL ROUGH DRAFT**

02:31:16    1           Q.      Yeah, some of the controls I believe well
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            2   if you look at exhibit 331, there's a reference to

            3   this post made by Sam Lessin who I assume you know.

            4   But Sam Lessin describes in this post under privacy

02:31:31    5   short cuts that there is a way in which to access

            6   key settings from the privacy short cut, correct?

            7        A.      Where -- where does he say.

            8        Q.      I'm looking at the third sentence that

            9   begins now?

02:31:59 10          A.      Yes, it says now to tee settings go to

           11   the tool who can contact me et cetera.

           12        Q.      And so the privacy short cuts were

           13   designed to help users access key settings from the

           14   privacy short cut tool bar, correct?

02:32:28 15          A.      It's designed to improve a person's

           16   access to their privacy settings and controls.

           17        Q.      And do you have any understanding -- and

           18   when Mr. Lessin describes in this post that there

           19   are certain key settings that a user can access, do

02:32:59 20     you have an understanding of what key settings

           21   those are?

           22        A.      It would be the settings around who can

           23   see my stuff, who can contact me and how do I stop

           24   someone from bothering me.

02:33:19 25          Q.      And there's an example of that down below

                                                                        150
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                                   **CONFIDENTIAL ROUGH DRAFT**

02:33:21    1   I know it's a little fuzzy do you see that many a

            2   example which believe is the snapshot of the

            3   privacy short cut tool and the three things you

            4   just described?

02:33:32    5          A.   Yes, I see this.

            6          Q.   So according to this post those were the

            7   key settings that a user could access from the

            8   privacy short cut tool, correct?

            9               MR. BLUME:    Objection.    Asked and

02:33:42 10     answered.

           11               THE DEPONENT:    Well, they can access them

           12   from many other places.      This was just like an

           13   improvement to the -- it -- it was a short cut, if

           14   you will.     Huh of what's happening.

02:34:01 15                 MR. KO:   Nothing has happened for me I

           16   don't know if something has happened for you.

           17               THE DEPONENT:    We have a menu that popped

           18   up on could

           19               MR. BLUME:    Keep going.

02:34:11 20                 THE DEPONENT:    You can keep going.    Thank

           21   you.

           22          Q.   (By Mr. Ko)     Now you say it was an

           23   improvement what do you mean by that?
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 171 of 335




           24        A.   Well, it was a short cut.     So it's --

02:34:29 25     like users had the ability to access their controls

                                                                      151



                                 **CONFIDENTIAL ROUGH DRAFT**

02:34:33    1   via multiple interfaces but this put the privacy

            2   short cut on essentially every page on their

            3   Facebook experience, so it -- it's an improvement

            4   in the sense that it's right there instead of

02:34:49    5   having to navigate to the setting in another

            6   method.   This is just -- that's what I mean it's an

            7   improvement.

            8        Q.   Because before the user had to navigate

            9   through a separate set of pages to access this set

02:35:05 10     of controls, correct?

           11        A.   I -- you said pages but.

           12        Q.   Let me ask it this way.     The post says at

           13   the first sentence underneath privacy short cuts

           14   "up until now if you wanted to change your privacy

02:35:28 15     and timeline controls on Facebook, you would need

           16   to stop what you are going and navigate through a

           17   separate set of pages"?

           18        A.   Okay, yes, it says that.

           19        Q.   Today we are announcing new short cuts

02:35:42 20     you can easily get to.    Now for key settings, you
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           21   just go to the tool bar to help manage "who can see

           22   my stuff" "who contact me" and "how do I stop

           23   someone from bothering me" you can also access help

           24   center content from these short cuts.

02:36:06 25               Did I read that correctly?

                                                                     152



                                 **CONFIDENTIAL ROUGH DRAFT**

02:36:07    1        A.   Yes.

            2        Q.   So the privacy short cuts were and

            3   correct me if I'm wrong, is fair to say that the

            4   privacy short cuts were designed to improve the way

02:36:20    5   in which users could access key privacy settings;

            6   is that fair to say?

            7        A.   I mean I did use the word improve but it

            8   also complements the existing resources that they

            9   already had.

02:36:41 10          Q.   So yes or no you can -- you can no if you

           11   would like that's totally fine.

           12             Yes or no is it fair to say that the

           13   privacy short cuts were design to improve the way

           14   in which users could access key privacy settings?

02:36:55 15               MR. BLUME:   Objection.

           16             THE DEPONENT:   I mean I feel like we

           17   just -- like I -- I do view as an improvement to
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           18   what was already -- it wasn't a change in the -- in

           19   the controls that they had.       But it was just

02:37:24 20     intended to be a -- a short cut on the Facebook

           21   site to help people further navigate to the

           22   controls that they had.

           23        Q.     (By Mr. Ko)     Would that be a yes in

           24   response to my question objection you are

02:37:44 25     characterizing it and she's explaining?

                                                                         153



                                  **CONFIDENTIAL ROUGH DRAFT**

02:37:48    1               MR. KO:   So.

            2               MR. BLUME:    That's why I objection.

            3               MR. KO:   Yes or no, is it fair to say

            4   that the privacy short cuts were designed to

02:37:54    5   improve the way in which use access key privacy

            6   settings.

            7               MR. BLUME:    Objection she said she saw it

            8   as an improvement.       Asked and answered.

            9               THE DEPONENT:     I view it as an

02:38:10 10     improvement to --

           11        Q.     (By Mr. Ko)     Thank you?

           12        A.     But not as an improvement to -- to the

           13   controls themselves.      But now you can actually get

           14   there with that on every page that shows up on the
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02:38:22 15     interface.

           16        Q.      Are there any studies or research done in

           17   connection with this change?

           18                MR. BLUME:    Objection.

           19                THE DEPONENT:    I don't remember.

02:38:43 20          Q.      (By Mr. Ko)     One of the settings that you

           21   can access on this drop down in the privacy short

           22   cuts is a -- at the very top of the privacy short

           23   cuts a reference to quote who can see my stuff end

           24   quote.

02:38:56 25                  Do you see that?

                                                                            154



                                    **CONFIDENTIAL ROUGH DRAFT**

02:39:01    1        A.      Yes.

            2        Q.      Do you know whether the drop down

            3   revealed -- well first of all, there is a drop down

            4   based on that specific button, correct?

02:39:14    5                MR. BLUME:    Objection.   It's getting so

            6   far beyond topic 3 that.

            7                MR. KO:   That's incredibly that you say

            8   that Mr. Blume but your objection is noted.

            9                MR. BLUME:    Thank you.   Incredible it has

02:39:28 10     nothing to do use users privacy or apps settings

           11   this is a technological change.         So it goes beyond
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           12   topic 3.    It's incredible.

           13               MR. KO:   So the record is clear and I

           14   want to make sure.

02:39:41 15            Q.   (By Mr. Ko)     So Ms. Hendrix you are here

           16   to testify as to the process of developing privacy

           17   or app settings or other controls made available to

           18   users to prevent or limit their data or information

           19   from being accessed?

02:39:56 20                 MR. BLUME:    And.

           21               MR. KO:   Hold on.

           22               MR. BLUME:    Technology.

           23               MR. BLUME:    Well no it's a legal

           24   question.    This technology doesn't go to any of

02:40:03 25     those points David.       You have to understand it to

                                                                          155



                                  **CONFIDENTIAL ROUGH DRAFT**

02:40:06    1   ask.    But it doesn't -- what you just described is

            2   not what we are talking about so it's way beyond

            3   what you just described as the topic.

            4               MR. KO:   You can make an objection.

02:40:21    5               MR. BLUME:    It's beyond the scope.

            6               MR. KO:   Do you have an objection.

            7               MR. BLUME:    It's beyond the scope.

            8          Q.   (By Mr. Ko)     Ms. Hendrix you are here to
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            9   testify as to the process?

02:40:33 10          A.      Let me SDK again.     Ms. Hendrix consist

           11   with topic 3, you are here to testify as to the

           12   processes of developing or privacy or app settings

           13   or other controls made available to users to

           14   prevent or limit their data or information from

02:40:50 15     being accessed by third parties; is that correct.

           16        A.      Yes, but the privacy short cuts is not a

           17   control and it's not an app or a privacy settings.

           18                MR. BLUME:    Exactly.

           19   BY MR. KO:

02:41:06 20          Q.      (By Mr. Ko)     Great well this is very

           21   helpful because my next question was you have

           22   referred throughout this day about educational --

           23   certain educational materials that you believe were

           24   made available to users to help them control the

02:41:19 25     information that they make available.

                                                                         156



                                   **CONFIDENTIAL ROUGH DRAFT**

02:41:22    1                Do you recall that testimony?

            2                MR. BLUME:    Objection.   That's not her

            3   testimony.

            4                THE DEPONENT:    I -- I refer to

02:41:34    5   educational resources are just additional
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            6   information and attempts to have people understand

            7   the controls that we provide.

            8        Q.   (By Mr. Ko)   And I believe one example

            9   this is a how the privacy checkup tool came back

02:41:52 10     the privacy CHECK/CHECK up tool of the educational

           11   resources Facebook provided, correct?

           12        A.   Right it's an educational resource that

           13   tells people, you know, what current settings and

           14   Ed indicate on the change their settings their

02:42:08 15     controls that they can do so.

           16        Q.   Would you characterize these privacy

           17   short cuts to be under the same umbrella as or

           18   under the same umbrella of educational resources

           19   that you put the privacy checkup tool under?

02:42:26 20          A.   These are -- those are different things

           21   but it's all designed to just future explain the

           22   controls and the settings that we have built.     Like

           23   there's multiple ways that if a user wants to

           24   understand they can go to the controls themselves

02:42:44 25     and see what they have set.     But these are

                                                                     157



                                **CONFIDENTIAL ROUGH DRAFT**

02:42:47    1   additional measures that we continue to evolve and

            2   undertake in order to future educate and remind
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            3   people about decisions that they have made.        Some

            4   people have set up their Facebook accounts 18 plus

02:43:00    5   years ago.

            6                So I wouldn't call them controls versus

            7   educational resources reminding them of controls.

            8        Q.      And that was very much you educational re

            9   ours only.     One example of a educational resource I

02:43:17 10     gave privacy checkup tool my question whether or

           11   not you believe the privacy short cut tool is also

           12   a educational resource?

           13        A.      It is a -- it is a franchisee within the

           14   Facebook experience that if you click on it, you

02:43:51 15     can -- and then go to that tool bar and get access

           16   to those things that you already read. so I will

           17   spare us and just helped point you to the decisions

           18   that you made or for example the last sentence the

           19   help center, so that you can -- if you have more

02:44:15 20     questions you can go to the help center as well.

           21        Q.      So is the privacy short cuts tool yes or

           22   no an example have of an educational resource that

           23   you were describing earlier today?

           24                MR. BLUME:   Objection.   Asked and

02:44:34 25     answered.

                                                                          158
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                                     **CONFIDENTIAL ROUGH DRAFT**

02:44:40    1                THE DEPONENT:    It is a short cut to

            2   resources that are available.

            3           Q.   (By Mr. Ko)     So do you view it as part of

            4   the -- so you -- you were the one who testified as

02:44:47    5   to educational resources, correct?

            6                MR. BLUME:    Objection.   Asked and

            7   answered.

            8                THE DEPONENT:    I -- I did say -- say

            9   that.

02:44:58 10             Q.   (By Mr. Ko)     So I ever a very simple

           11   question.

           12                Do you believe when you are talking about

           13   educational resources is the privacy short cut

           14   tools part of the educational resources you had in

02:45:11 15     mind or is it not a part of the educational

           16   resources that you had testified to earlier?

           17           A.   I view of it as being a part of in the

           18   sense it provides the a short cut to the actual

           19   resources to it would be under the umbrella of what

02:45:31 20     the features and functionalities that we offer to

           21   help further education and/or remind people of the

           22   actual settings and control that we have in place.

           23           Q.   Okay.   We can put -- we can move on from

           24   this exhibit.
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02:45:56 25                  Now in connection with the materials that

                                                                         159



                                   **CONFIDENTIAL ROUGH DRAFT**

02:45:57    1   you reviewed in preparation for this deposition,

            2   did you review any pleadings in connection with

            3   this case?

            4           A.   What is a pleading?

02:46:16    5           Q.   Are you familiar with the allegations in

            6   this case related to friend sharing or the sharing

            7   of friend data?

            8           A.   Yes so did you mean like the complaint?

            9   Is that a pleading.

02:46:32 10             Q.   Which have moved on from that is that's

           11   okay.

           12                What is your understanding of these

           13   allegations that you are familiar with?

           14                MR. BLUME:   How is that a question

02:46:44 15     relevant to a corporate representative.

           16           Q.   In exposure capacity a corporate designee

           17   December nail are you aware of this claims this

           18   this case that relate to friend sharing?

           19                MR. BLUME:   She -- asked and answered you

02:47:00 20     already asked that question you are wasting time.

           21                MR. KO:   You are waist time by injecting
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           22   speaking objections into the record.

           23             MR. BLUME:    David you are asking the same

           24   question in a row even.

02:47:12 25               MR. KO:   I did not -- there was -- the

                                                                      160



                                 **CONFIDENTIAL ROUGH DRAFT**

02:47:14    1   record speaks.

            2             MR. BLUME:    Yes, it does.

            3             MR. KO:   -- also any ways please just

            4   object and that's all.

02:47:22    5        Q.   (By Mr. Ko)     In exposure capacity

            6   correspond December my aware of the claims in the

            7   case related to friend sharing?

            8             THE DEPONENT:    I am here to talk about

            9   the topics and part of that I have -- I have

02:47:36 10     researched friend sharing and -- and reminded

           11   myself on things that I didn't know.     Did I Zoom

           12   zoom in on your actual complaints I didn't think

           13   that was my job but I did do my research into the

           14   topics.

02:47:54 15          Q.   (By Mr. Ko)     You are making a lot of

           16   assumptions about the questions I'm I'm simply

           17   asking you whether or not you aware yes or no I'm

           18   not whether or not you researched I'm not granular
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           19   deep dive into all the allegations I'm not asking

02:48:08 20     if you all the ins and outs of the allegations I'm

           21   simply asking you are you aware of the allegations

           22   in this case related to friend sharing?

           23                MR. BLUME:    David, you asked 14 in this

           24   case.

02:48:24 25             Q.   (By Mr. Ko)    I I can microphone are still

                                                                         161



                                   **CONFIDENTIAL ROUGH DRAFT**

02:48:26    1   defined?

            2                MR. BLUME:    In 144618 she -- are you

            3   familiar with the allegations in the case related

            4   to friend sharing or the friend of sharing data she

02:48:35    5   said yes so it is exactly the same question and

            6   it's just wasting time.

            7                It's an asked and answered about 30

            8   seconds ago.

            9                MR. KO:   I am asking you.

02:48:48 10             Q.   (By Mr. Ko)    In your capacity as a

           11   corporate designee on behalf of Facebook to make

           12   sure and address any of the objections that you

           13   need to make Mr. Blume.       Are you aware of these

           14   claims in your capacity as a corporate designee on

02:49:04 15     behalf of Facebook?
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           16                MR. BLUME:    Same objection.

           17                THE DEPONENT:    I'm here to prepare to

           18   speak to the topics and if you want to get into

           19   them I'm more than happy to speak to them.          I know

02:49:14 20     that I have seen and had a chance to review the

           21   complaint.     I don't remember sitting here right now

           22   your precise all of details and just generally

           23   aware that.    Global policy differential.

           24                SPECIAL MASTER GARRIE:     The question he's

02:49:31 25     asking is just yes or no or you don't know.

                                                                             162



                                   **CONFIDENTIAL ROUGH DRAFT**

02:49:33    1                THE DEPONENT:    I feel like getting.

            2                MR. BLUME:    She's --

            3                SPECIAL MASTER GARRIE:     You if

            4   understand -- if you don't please stop.          Please

02:49:43    5   read the question Mr. Ko either you answer or no,

            6   or I cannot answer that question in a yes or no

            7   fashion.     And let's move forward.

            8                MR. KO:   Thank you Special Master Garrie.

            9                SPECIAL MASTER GARRIE:     So please read

02:49:57 10     the question back Counsel Ko and then move forward.

           11        Q.      (By Mr. Ko)     In your capacity -- in

           12   hardware as corporate designee on behalf of
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           13   Facebook are you aware of the claims related to

           14   friend sharing in this case?

02:50:15 15                    MR. BLUME:    Objection.

           16                  THE DEPONENT:    I don't remember the

           17   specific claims.         I'm aware -- sorry.   Sorry Garrie

           18   [sic].       I know I said.    I need to...

           19                  MR. KO:    Great thank you that was very

02:50:33 20     helpful.

           21                  MR. BLUME:    Twice.

           22           Q.     (By Mr. Ko)     Do you know with respect to

           23   friend sharing what is your understanding of that

           24   term?

02:51:08 25             A.     I don't remember if it's defined in any

                                                                             163



                                     **CONFIDENTIAL ROUGH DRAFT**

02:51:12    1   of this.       But I can speak, if you would like me to

            2   generally about friend sharing the topic.

            3           Q.     Yes, that's what I am asking many I'm --

            4   I'm not asking about a specific definition.            I'm

02:51:26    5   just simply asking whether or not you understand

            6   what the concept of friend sharing refers to?

            7           A.     So the concept of friend sharing is you

            8   create a Facebook account, you choose to friend

            9   people, so you -- you create friend connections.
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02:51:46 10     And those friends you choose whether to share

           11   information with them and that's -- just for

           12   purposes of time I will stop there.

           13           Q.   For some portion of the relevant time

           14   period Facebook permitted third-party app

02:52:12 15     developers to access friend information; is that

           16   correct?

           17                MR. BLUME:    Objection.

           18                THE DEPONENT:    You are trying to get do

           19   yes or no I need to actually ask the question

02:52:33 20     again.

           21                MR. BLUME:    Open an ended open question

           22   he's.

           23           Q.   (By Mr. Ko)     Is it accurate to say that

           24   for any portion of the relevant time period

02:52:43 25     Facebook permitted third-party app developers to

                                                                          164



                                   **CONFIDENTIAL ROUGH DRAFT**

02:52:46    1   access friend information?

            2                MR. BLUME:    Objection.

            3                THE DEPONENT:    I wouldn't state it that

            4   way.

02:52:58    5           Q.   (By Mr. Ko)     How would you state?

            6           A.   During the relevant time period for
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            7   certain portions of it, Facebook enabled people to

            8   enable their friends to share certain information

            9   with third-party apps.

02:53:14 10          Q.   So for some portions of the relevant time

           11   period, Facebook enabled people to enable their

           12   friends to share certain information with

           13   third-party apps, correct?

           14             MR. BLUME:    Objection.   Asked and

02:53:30 15     answered you just read her answer.

           16             THE DEPONENT:

           17             Is that what I said?

           18             THE DEPONENT:    I that's what I said if

           19   that's what I said correct otherwise let's just go

02:53:42 20     with what I said.

           21        Q.   (By Mr. Ko)     I'm reading verbatim from

           22   your answer to make you feel better.     And are you

           23   aware at all of what periods of time within that

           24   relevant time period Facebook -- Facebook enabled

02:53:59 25     people to enable their friends to share certain

                                                                       165



                                **CONFIDENTIAL ROUGH DRAFT**

02:54:01    1   information with third-party apps?

            2        A.   That would be up until I -- I'm not

            3   actually, I don't remember the precise date when
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            4   it -- when we got \everyone\enforcement one of

02:54:26    5   V1 so I -- I'm not sure of the precise date.

            6        Q.   And when you already peg to V1 I assume

            7   you are referring to Graph version 1 -- 1.0, right?

            8        A.   That's right.   Anyone that developed an

            9   app after April of 2014, did not have the ability

02:54:47 10     to ask people to share their friends information

           11   because their trends enabled them to do so through

           12   their privacy app and app settings.

           13        Q.   And this Graph version 1 as also referred

           14   to API version 1 does that sound familiar?

02:55:09 15          A.   Yes.

           16        Q.   And it was replaced as you said in April

           17   of 2014, with Graph version two or Graph API

           18   version two; is that correct?

           19        A.   I wouldn't say replaced, no.

02:55:30 20          Q.   How would you say it?

           21        A.   We -- we created another version of the

           22   Graph -- Graph API so it's not accurate to say we

           23   placed because version 1 and 2 were live or awhile

           24   at the same time.

02:55:46 25          Q.   And how long obviously rolls things

                                                                     166



                                 **CONFIDENTIAL ROUGH DRAFT**
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02:55:49    1   obviously it takes time to notify app developers.

            2                How long was it the case that version 1.0

            3   was still in existence?

            4          A.    I just testified moments ago that I don't

02:56:03    5   remember the precise date when that version was no

            6   longer recorded.

            7          A.    But I do know that April 14th, 2014

            8   anything -- any app created thereafter could not

            9   have been built on V1 only v2.

02:56:21 10            Q.    With respect to v2 your testimony that

           11   app developers on v2 could no longer access certain

           12   information about a user friend; is that fair to

           13   say?

           14                MR. BLUME:    Objection.    That was not her

02:56:47 15     testimony.

           16                MR. KO:   You can object.

           17                MR. BLUME:    Mischaracterize rising her

           18   testimony.

           19                MR. KO:   Thank you.

02:57:05 20            Q.    (By Mr. Ko)    Can you answer the question

           21   Ms. Hendrix?

           22          A.    I didn't understand what you asked me.

           23          Q.    You said in connection with Graph V.--

           24   Graph v2 an app developer did not have the ability

02:57:23 25     to ask people to share their friends information.
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                                   **CONFIDENTIAL ROUGH DRAFT**

02:57:28    1             Do I understand your testimony correctly?

            2        A.   To be very precise they could still ask

            3   for the in app friend list, but no friend

            4   permissions that were available in the v2 they --

02:57:42    5   there was no friend permissions in v2.     You could

            6   only ask for my inapp friend list.

            7        Q.   Other than the inapp friend list, in

            8   connection with the Graph v2, there were no other

            9   friend permissions allowed, correct?

02:58:02 10          A.   Those were -- yes.     They were deprecated.

           11        Q.   Now this change with respect to the v2 as

           12   it applied to app developers and their ability to

           13   access certain friend permissions, was that change

           14   reflected in Facebook's platform policies with

02:58:35 15     third-party app developers?

           16        A.   What do you mean.

           17        Q.   This was a change correct you would agree

           18   with me on that?

           19        A.   It was.

02:58:54 20          Q.   Go ahead?

           21        A.   It was a product change.

           22        Q.   In connection with that product change
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           23   was that reflected in any policy platform policy?

           24               MR. BLUME:    Objection.

02:59:11 25                 THE DEPONENT:    I don't understand what

                                                                           168



                                   **CONFIDENTIAL ROUGH DRAFT**

02:59:12    1   you mean.

            2          Q.   (By Mr. Ko)     Was there a change in any

            3   policy that reflected the fact that app developers

            4   could no longer request friend permissions in Graph

02:59:31    5   V.2?

            6          A.   That's not a yes-or-no question.         I'm

            7   sorry if you ask it open-ended did you make changes

            8   to the Facebook platform policies in connection

            9   with the change V1 to v2 I can answer that and the

02:59:51 10     answer yes but your question doesn't make sense to

           11   me.

           12          Q.   Let's start that way.      So you made

           13   changes to the Facebook platform policy in

           14   connection with the change from V1 to V.2, correct?

03:00:04 15            A.   Yes.

           16          Q.   And I imagine that those changes were in

           17   fact made in the platform policy, the -- the?

           18          A.   I just.

           19          Q.   Policy -- let me finish my question?
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03:00:16 20          A.   I just said that.

           21             MR. BLUME:    Asked and answered.

           22        Q.   (By Mr. Ko)     A large part of making sure

           23   is the record is clear.

           24             MR. BLUME:    Just wasting time David.

03:00:29 25          Q.   (By Mr. Ko)     In connection with changes

                                                                        169



                                **CONFIDENTIAL ROUGH DRAFT**

03:00:31    1   made to the Facebook platform policy, there were --

            2   well, I -- let me -- let me ask this way.

            3             In connection with the change from V1 to

            4   v2 there were certain changes made to the

03:00:48    5   platform -- Facebook platform policy, correct?

            6        A.   Correct.

            7        Q.   And was the change regarding third party

            8   access to certain friend permissions reflected in

            9   any of those changes in the Facebook platform

03:01:07 10     policy?

           11             MR. BLUME:    Objection.   Form.

           12             THE DEPONENT:    No we don't detail the

           13   products and how they work in the -- in the

           14   agreement with developers.

03:01:22 15          Q.   (By Mr. Ko)     Would you agree with me that

           16   was a big change for Facebook and its app
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           17   developers?

           18                   MR. BLUME:    Objection.

           19                   THE DEPONENT:    What do you mean by it.

03:01:32 20                     THE DEPONENT:    It referring to third

           21   party app developers access to and lack thereof

           22   certain friend permissions.

           23                   MR. BLUME:    Objection.

           24                   THE DEPONENT:    I agree it was a

03:01:49 25     significant way that the Facebook platform worked.

                                                                             170



                                      **CONFIDENTIAL ROUGH DRAFT**

03:01:57    1           Q.      (By Mr. Ko)     And this was -- this was a

            2   big deal for the app developers too, right?

            3                   MR. BLUME:    Objection.   It's beyond the

            4   scope.       Speculation.

03:02:12    5                   THE DEPONENT:    I'm not going -- yeah, I

            6   can speculate whether it was a big deal at the time

            7   43, 40 some million apps like each of these apps on

            8   the platform will have experienced different

            9   hurdles some of which that didn't need friend

03:02:27 10     permissions.        Obviously that's not significant to

           11   them.        But others would have to go in and configure

           12   their apps and make changes to adjust to the -- the

           13   new way that the platform worked in v2.
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           14        Q.    (By Mr. Ko)    With respect to the

03:02:43 15     43 million or 40 some million apps that you -- you

           16   referred to a moment ago is that the number of apps

           17   that have existed throughout the relevant time

           18   period or are you referring to some specific point

           19   in time?

03:03:03 20          A.    I'm referring to a specific period of

           21   time as a data point.     I'm familiar with -- of in

           22   2013 roughly we had about 40 some -- in the lower

           23   40 million apps on the platform.

           24        Q.    And do you know how many apps are on the

03:03:23 25     platform today?

                                                                       171



                                  **CONFIDENTIAL ROUGH DRAFT**

03:03:23    1              MR. BLUME:    Objection.   Beyond the scope.

            2              What topic is that?

            3              MR. KO:   \everyone\enforcement Mr. Blume.

            4              MR. BLUME:    Okay.   What topic is that?

03:03:42    5        Q.    (By Mr. Ko)    So you found it necessary

            6   and -- and relevant to understand how many apps

            7   were on the Facebook platform as of 2013 and you

            8   reported that that number is about 40 to 43 million

            9   correct?

03:03:53 10                MR. BLUME:    Objection.
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           11             THE DEPONENT:     Not for this case.      No.

           12        Q.   (By Mr. Ko)     Got it.

           13             Do you have an understanding of how many

           14   apps were on the Facebook platform at at any time

03:04:05 15     other than 2013 sitting here today?

           16             MR. BLUME:    Objection.    Beyond the scope.

           17             THE DEPONENT:     I know that I have

           18   reviewed and been provided with information

           19   throughout -- for different reasons some of which

03:04:17 20     have nothing to do with litigation that I had

           21   numbers presented to me.     I know I can find how

           22   many are on the platform today.      I don't know

           23   sitting here today if I can tell you more than just

           24   that one example that I remember.

03:04:36 25          Q.   (By Mr. Ko)     Was there any policy,

                                                                          172



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03:04:38    1   platform policy or otherwise that reflected the

            2   fact that third-party app developers could no

            3   longer access certain friend permissions in

            4   connection with Graph v2?

03:04:52    5             MR. BLUME:    Objection.

            6             THE DEPONENT:     For like the fourth time I

            7   apologize I'm getting tired and grumpy like I
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            8   already told me I did make a policy change

            9   personally developed along with all of the other

03:05:03 10     teams that work on and develop the policies.       We

           11   did make a policy change in connection with the

           12   Facebook platform change from V1 to v2.

           13        Q.     (By Mr. Ko)     And in connection with that

           14   policy change was there anything -- was there any

03:05:20 15     language that related to or otherwise covered the

           16   fact that third-party app developers were no longer

           17   accessing friend data or friend permissions?

           18               MR. BLUME:    Objection.   Asked and

           19   answered.

03:05:36 20                 THE DEPONENT:    Not in the specific

           21   Facebook platform policy document, right right but

           22   else you go let's say friend permissions page on

           23   the developer documentation site.       You might see a

           24   V1 to v2 leader on the top explaining the fact that

03:05:53 25     we announced change and linking to the

                                                                          173



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03:05:56    1   announcement.    But, again, I'm -- I am trying not

            2   to -- I should stop trying to help you with my

            3   questions what I'm giving myself feedback on.       But

            4   there you go.
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03:06:11    5           Q.   (By Mr. Ko)     So after this change was

            6   made with respected to third-party app developer

            7   access over friend permissions and friend data, you

            8   don't dispute that third parties continue to access

            9   this?

03:06:29 10                  MR. BLUME:    Objection.

           11           Q.   (By Mr. Ko)     Information correct?

           12                MR. BLUME:    Objection to the

           13   characterization inconsistent with her testimony.

           14                THE DEPONENT:     I -- I dispute what you

03:06:37 15     just said.

           16           Q.   (By Mr. Ko)     Okay.   So you deny or is it

           17   your testimony that after app of 2014 third-party

           18   app developers no longer obtained information about

           19   a user's friend?

03:06:57 20                  MR. BLUME:    Objection.    What -- how is

           21   monitor contractual times.

           22                Ask about the contracting terms but other

           23   than it's beyond the scope I will instruct her not

           24   to answer.

03:07:08 25                  MR. KO:   Can you please stop with the

                                                                            174



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03:07:09    1   speaking objections.
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            2             MR. BLUME:     I'm -- I'm giving her

            3   instruction David she has to understand my

            4   instruction.   Okay.

03:07:16    5             MR. KO:      Correct.

            6             MR. BLUME:     Object know objecting to

            7   object to the form.

            8             MR. BLUME:     Enter vice president they can

            9   take down what I'm saying.

03:07:21 10               THE DEPONENT:      My instruction is beyond

           11   the scope and I'm instruct not her to answer.

           12             MR. KO:      Special Master clear in the

           13   Northern district of California that counsel

           14   defending a deposition are not permitted to log

03:07:37 15     speaking objections on the record.       If Mr.

           16             MR. BLUME:     Unless it's instruct.

           17             MR. KO:      Has a problem.

           18             MR. BLUME:     Unless it's an instruction to

           19   the witness.

03:07:45 20               SPECIAL MASTER GARRIE:        Wait, wait ate.

           21             MR. KO:      Not clear.

           22             MS. WEAVER:      Time out just not talking

           23   doesn't mean it's invitation to speak this means

           24   I'm thinking what I'm going to say.

03:08:02 25               I believe Counsel Blume you are

                                                                          175
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                                   **CONFIDENTIAL ROUGH DRAFT**

03:08:04    1   instructing her not answer is that beyond the scope

            2   is that not your instruction.

            3             MR. BLUME:    That what I was articulating

            4   yes.

03:08:13    5             SPECIAL MASTER GARRIE:     Okay.   Can you

            6   lane in so I hear the objections better just for

            7   own edification.

            8             MR. BLUME:    Yeah, eliminated to

            9   microphone to try to stop the feedback, yes.

03:08:23 10               SPECIAL MASTER GARRIE:     Okay.   I'm

           11   going -- okay.     So that objection is fine.      The

           12   objections going forward please finish the

           13   objection and just state the objection HearSay

           14   whatever everybody here knows the federal rules

03:08:38 15     some state transitioned objection.    And we'll move

           16   it forward if your instruction though is to

           17   instruct the witness your answer not to answer the

           18   question because it's beyond the scope because of

           19   attorney-client privileged you are well within your

03:08:49 20     rights to make said instruction.     I noted

           21   Counsel Ko for the record, please Counsel Blume on

           22   a going forward basis make sure you continue with

           23   your objections being compliance and in compliance
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           24   with federal rules and we continue forward.

03:09:06 25                Counsel Ko, but I want to just say

                                                                       176



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03:09:11    1   Counsel Blume just not to answer the whole reason

            2   why isn't -- I instruct the witness not the answer

            3   because it's beyond the scope of the -- beyond the

            4   scope.   Okay.

03:09:22    5              MR. BLUME:   Understood.    Is there good

            6   time to take a break.

            7              MR. KO:   To be clear why don't we go off

            8   the record.

            9              SPECIAL MASTER GARRIE:     One second

03:09:28 10     Counsel Ko I welcome your comment in 30 seconds.

           11              MR. KO:   Okay.

           12              SPECIAL MASTER GARRIE:     I finished

           13   Counsel Blume I had one more sentence unrelated

           14   to -- I was going to suggest if we at a breaking

03:09:46 15     point given that we take a break after I hear from

           16   Counsel Ko's point and then Counsel Ko I welcome

           17   your point now.

           18              MR. KO:   So the instruction not to answer

           19   has to relate to a privilege.    It is improper to

03:10:04 20     instruct an answer or instruct the a witness not to
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           21   answer on the grounds that it's entity.      Mr. Blume

           22   can log his objection for the record an it's noted

           23   but -- but the witness must try and answer the

           24   question.    It's not privileged.    This is not

03:10:18 25     privileged information.

                                                                            177



                                  **CONFIDENTIAL ROUGH DRAFT**

03:10:21    1               SPECIAL MASTER GARRIE:    Counsel.     Direct

            2   your arguments to not each other please.         That

            3   doesn't -- noted Counsel Ko doesn't means not

            4   entitled to state his objection and state

03:10:35    5   instructioning his client not to answer.         His

            6   client can say, I'm not going to answer a

            7   question -- per the direction of counsel and then

            8   you can then respond to according B but we have to

            9   let the process play out in the -- in that fashion

03:10:49 10     and we will address it accordingly.

           11               Counsel Blume what were going to say.

           12               MR. BLUME:    That -- that -- that doesn't

           13   apply in the 30(b)(6) setting when the witness

           14   called to per notice to peak.

03:11:02 15                 MS. WEAVER:    I haven't ruled wait time.

           16               MR. BLUME:    Counsel blew.

           17               MR. BLUME:    I'm respond to privilege.
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           18             MS. WEAVER:    I understand --

           19   Counsel Blume unintentional I didn't address.

03:11:12 20               MR. BLUME:    Okay.

           21             SPECIAL MASTER GARRIE:       It's not here and

           22   now.

           23             MR. BLUME:    Fair enough.

           24             SPECIAL MASTER GARRIE:       If your

03:11:17 25     instruction is as such than and counsel co how

                                                                         178



                                **CONFIDENTIAL ROUGH DRAFT**

03:11:21    1   about this this what I understand your point

            2   counsel do we ask the return when return from five

            3   minute we ask Counsel Blume wants to instruct the

            4   witness not to answer the question and counsel --

03:11:34    5   and the witness wants to respond and then you ban

            6   to point out that that's not a valid objection

            7   united the central rules and then Counsel Blume

            8   wanted to respond to 30(b)(6) I get to make a

            9   ruling great what were going to take a 35 minute

03:11:48 10     break and we'll resume in five minutes and I know

           11   note that I appreciate you know co your position.

           12   And counsel column as well okay.

           13             MR. BLUME:    Thank you Your Honor.

           14             SPECIAL MASTER GARRIE:       Thank you we'll
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03:12:02 15     return at five minutes I'm look agriculture the

           16   Zoom time five minutes whatever time zone you are

           17   in.

           18               THE VIDEOGRAPHER:     We off the record at

           19   3:12 p.m.

03:20:03 20                 (Recess taken.)

           21               THE VIDEOGRAPHER:     Okay.    We are back on

           22   the record it's 3:24 p.m.

           23               SPECIAL MASTER GARRIE:        I was giving some

           24   thought to a -- our provider discourse and I just

03:24:39 25     wanted.

                                                                            179



                                  **CONFIDENTIAL ROUGH DRAFT**

03:24:40    1               THE DEPONENT:     Two important things one

            2   let's make sure we are on the same let's being

            3   let's respect actual let everybody gets words in

            4   part so the court reporter doesn't have to go back

03:24:51    5   and listen to this whole thing.       Pain staking it to

            6   transcript it properly.

            7               Next same for the objections.       Let -- let

            8   them get said.    But keep them limited to the

            9   federal -- just to the rules.       Right.     And -- and

03:25:09 10     from there I will turn it -- I believe to

           11   Counsel Blume you mentioned that the witness you
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           12   are muted I can figure out who is speaking continue

           13   Zoom.        So if you wanted to say anything

           14   Counsel Blume.

03:25:25 15                     MR. BLUME:   Yes yes the witness has a

           16   clarification.

           17                   SPECIAL MASTER GARRIE:   Okay.

           18                   THE DEPONENT:   May I go ahead.

           19                   SPECIAL MASTER GARRIE:   Yeah.

03:25:32 20                     THE DEPONENT:   So I want to correct my

           21   earlier testimony about the fact there was a

           22   platform policy change in connection with the move

           23   from the -- the -- the launch of v2.          Actually we

           24   also in April on the same date announced the update

03:25:54 25     to login V4 and so the policy that I was referring

                                                                             180



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03:25:58    1   to was tied to the V4 login product.          But it

            2   happened at the same time as the announcement of

            3   the v2 version of the Graph API so I just wanted to

            4   make sure I corrected myself.         Because I was

03:26:13    5   mistaken on how I communicated that and realized

            6   during the break.

            7           Q.      (By Special Master Garrie:)      Noted for

            8   the record.
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            9              With that said, Counsel Ko I'm going to.

03:26:24 10     Thank you for clarification and co-counsel I turn

           11   it back over to you.

           12        Q.    (By Mr. Ko)   Thank you

           13   Special Master Garrie and thank you Ms. Hendrix for

           14   that clarification.

03:26:36 15          Q.    (By Mr. Ko)   So let me up pack that a

           16   little bit to make sure I understand.

           17              With that clarification are you

           18   suggesting or indicating that there was not a

           19   platform policy change in connection with the

03:26:50 20     launch of v2?

           21        A.    Not tied to the V1 to v2, that is

           22   correct.

           23        Q.    So when Facebook began the roll out of

           24   Graph V.-- Graph v2 in April of 2014 there was not

03:27:17 25     a corresponding platform policy change that

                                                                      181



                                 **CONFIDENTIAL ROUGH DRAFT**

03:27:21    1   reflected the launch of Graph v2; is that correct?

            2        A.    There's a few inaccuracy sees in your

            3   question and how we described the -- the V1 to v2.

            4        Q.    Let me ask it this way, in the transition

03:27:51    5   from Graph V1 to v2 that began in April of 2014,
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            6   was there any reference, to any -- to any aspect of

            7   the platform policy that reflected the move by

            8   Facebook to Graph v2?

            9           A.   No.

03:28:23 10             Q.   Now in connection with the deprecation

           11   of -- by Facebook of allowing third parties to

           12   access friend information, was that deprecation

           13   reflected in any SRR in 2014 or otherwise?

           14                MR. BLUME:    Objection.    Form.

03:28:58 15                  THE DEPONENT:     Yes as to otherwise.

           16   Because we are talking about 2007 all the way to

           17   today.

           18           Q.   (By Mr. Ko)     So the deprecation of friend

           19   sharing by Facebook was reflected in SRRs post 2014

03:29:19 20     I presume; is that your testimony?

           21                MR. BLUME:    Objection.

           22                THE DEPONENT:     No, that's not my

           23   testimony.

           24           Q.   (By Mr. Ko)     Okay.   Was -- was there any

03:29:31 25     SRR at any point in time over the relevant time

                                                                            182



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03:29:34    1   period that reflected the deprecation of friend

            2   data?
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            3        A.   Friend permissions and yes at some point

            4   in time when it was appropriate we did make changes

03:29:57    5   to the relevant terms and policies.

            6        Q.   And when was that?

            7        A.   I don't recall the precise date today but

            8   it would have been when V1 was no longer relevant

            9   improper to delete those disclosure to people who

03:30:19 10     were using apps that were still using version 1 of

           11   the platform.

           12        Q.   And while you don't recall the precise

           13   date do you have a general understanding of what

           14   time period were referring to is it is it sometime

03:30:35 15     after 2014 so is there a general time frame in

           16   which you understand that these changes were made

           17   in the SRR?

           18        A.   It would have been after the May 2015

           19   date by the precise timing thereafter I don't

03:31:04 20     remember sitting here today.

           21        Q.   What's the significance of May 2015?

           22        A.   Well developers when we announced that we

           23   were deprecating friend permissions and that's

           24   why -- sorry I will stop.   When were deprecating

03:31:26 25     friend permissions we gave them -- we announced

                                                                     183
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                                **CONFIDENTIAL ROUGH DRAFT**

03:31:29    1   they had a subject to breaking change policy

            2   decision to give them a year to transvision and

            3   configure their apps and build them on v2.

            4        Q.   And where -- when you say that quote we

03:31:45    5   announced educational ."

            6             What do you mean by that?

            7        A.   We told -- we announced at F8 or

            8   developer event to developers that we were changing

            9   the way that the -- the platform worked

03:32:03 10     specifically moving forward from V1 to v2 and that

           11   they had one year up to -- up -- to make those

           12   changes to move from V1 over to v2.

           13             MR. BLUME:    That announcement at the F8

           14   conference that you are referring to that was made

03:32:21 15     in 2014, correct.

           16             THE DEPONENT:    Yes and there were many

           17   other like public like news rooms policy issues

           18   posts and things limited to response to just the F8

           19   developer event but that was one of -- of the -- of

03:32:35 20     the announcement that I recalled.

           21        Q.   (By Mr. Ko)     So who you are saying

           22   May 2015 are you saying as of May 2015 Facebook

           23   gave one year to developers to conform to the new

           24   model or are you saying that by May 2015 all users
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 208 of 335




03:32:57 25     were expected to comply with the new -- with the

                                                                        184



                                   **CONFIDENTIAL ROUGH DRAFT**

03:33:01    1   deprecation of friend data?

            2                MR. BLUME:    Objection.

            3                THE DEPONENT:    The terms you have used

            4   don't make sense.

03:33:11    5           Q.   (By Mr. Ko)     You testified that that

            6   Facebook announced would give developers one year

            7   to comply.

            8                Do you recall that?

            9           A.   It's not compliance so no, I don't think

03:33:25 10     I said the word comply if I did maybe -- maybe I'm

           11   getting tired.     I don't think I would have said

           12   that.

           13           Q.   I believe I think you said changes.

           14   Facebook that they would give developers one year

03:33:40 15     to make the changes to move from V1 over to v2 when

           16   did they make that announcement?

           17           A.   The announcement was made in April 2014

           18   so the extent the developers wanted to continue to

           19   use the platform and off their apps to people they

03:34:01 20     would need to make the changes by a year from the

           21   date of the announcement.
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           22        Q.   So when you are referring to pay of 2015

           23   it was Facebook's intention that all developers

           24   would have made the changes to move from V1 over to

03:34:21 25     v2, correct?

                                                                        185



                                 **CONFIDENTIAL ROUGH DRAFT**

03:34:26    1             MR. BLUME:    Objection.   Form.

            2             THE DEPONENT:    The goal was to get the

            3   developer community to move over.     The 90

            4   daybreaking change policy normal we agreed to come

03:34:40    5   arbitrary date of one year CHECK/CHECK.

            6        Q.   (By Mr. Ko)      And when you say that

            7   quote we agreed of an arbitrary date of one year ",

            8   what departments or individuals were responsible

            9   for that decision?

03:34:59 10               MR. BLUME:    Objection.   Beyond the scope.

           11             THE DEPONENT:    The same group of teams

           12   that I referred to earlier today that worked on

           13   platform product and policies.

           14        Q.   (By Mr. Ko)     Now after May of 2015

03:35:19 15     certain third parties continued to access friend

           16   data, correct?

           17             MR. BLUME:    Objection.   Beyond the scope

           18   unless you tell me what topic I'm going to instruct
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           19   you not to answer.

03:35:31 20               THE DEPONENT:    Yeah, it's fundamentally

           21   related Rob to topic 3 including top 3C.

           22             MR. BLUME:   And --

           23             MR. KO:    Let me ask this Ms.

           24             MR. BLUME:   Aim happy to talk off the

03:35:45 25     record don't pace.

                                                                       186



                                  **CONFIDENTIAL ROUGH DRAFT**

03:35:47    1             MR. KO:    I want to make this --

            2             MR. BLUME:   Let finish.

            3             MR. KO:    I want to.

            4             MR. BLUME:   Happy to go off the record.

03:35:55    5             SPECIAL MASTER GARRIE:     Hold on.

            6             MR. BLUME:   We are still on the record

            7   you still talking over each other the

            8   court reporter can't take anything.     So

            9   Counsel Blume make your statement Counsel Ko make

03:36:04 10     your statement.   You objected.   You objected Blume

           11   saying beyond the scope.    Unless he can counsel can

           12   provide you the -- the indication of why -- what is

           13   within the scope of what this witness has been

           14   submitted to.

03:36:22 15               Counsel Ko do you find I believe you did.
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           16             MR. BLUME:    He did.

           17             MR. KO:     Yeah, I identified topic 3 and

           18   3C in particular.

           19             SPECIAL MASTER GARRIE:      Okay and counsel

03:36:32 20     Counsel Blume did you respond to that.

           21             MR. BLUME:    I did.    And -- and my -- well

           22   I didn't but my response was that as it topic 3 is

           23   overview of processes of developing privacy or app

           24   settings or other controls available to users to

03:36:51 25     prevent or limit their data from being accessed by

                                                                         187



                                **CONFIDENTIAL ROUGH DRAFT**

03:36:55    1   third parties including dates and the data so it's

            2   controls it's processing for developing controls

            3   available to users and C is including Facebook's

            4   monitoring enforcement of contractual threshold use

03:37:10    5   user da or information including

            6   \everyone\enforcement or policy relating access to

            7   such data for information beyond the use case and

            8   the question was certain third parties continue to

            9   access friend data which is beyond the processes of

03:37:25 10     developing apps privacy or app settings made

           11   available to users.

           12             SPECIAL MASTER GARRIE:      And Counsel Ko
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           13   what was your response.

           14             MR. KO:   My response is that Facebook's

03:37:47 15     monitoring and enforcement of its contractual terms

           16   with third parties regarding their use -- use of

           17   users data or information obviously includes a

           18   users information related to a users friend and

           19   also includes information related to friend sharing

03:38:12 20     of which Ms. Hendrix who clearly testified defense

           21   provide indicated 2014 with a one year grace

           22   period.

           23             So in order for us to understand how

           24   Facebook actually monitored and enforced this

03:38:27 25     purported detriment indication I'm certainly

                                                                     188



                                **CONFIDENTIAL ROUGH DRAFT**

03:38:29    1   allowed to ask this witness about that monitoring

            2   and enforcement and if I would note if Ms. Hendrix

            3   is not the appropriate witness and Mr. Blume has

            4   not prepared Ms. Hendrix to testify as to these

03:38:43    5   topics, we would request that Facebook provide a

            6   witness that can.

            7             MR. BLUME:   And there is a witness on

            8   third party data and -- and -- and in topic two

            9   Ms. Hendrix is here to speak about processes for
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 213 of 335




03:39:02 10     monitoring enforcement.     Not -- not any specificity

           11   with regard to whether third parties accessed

           12   friend data that's another topic noticed.      He's

           13   here to talk about the processes of developing

           14   controls focused on Mondayen fort men not the

03:39:19 15     actual acts of the third parties in a specific date

           16   and time.

           17        Q.     (By Mr. Ko)   Well Mr. Blume I'm so glad

           18   you referred to topic two?

           19               SPECIAL MASTER GARRIE:   Counsel Ko, what

03:39:30 20     was your response Counsel Ko.

           21               MR. KO:   I was saying I'm glad Mr. Blume

           22   referenced topic 2B and 2D which Ms. Hendrix

           23   testified to as being related to topic 2D in

           24   particular 2D in particular asks and request

03:39:49 25     Facebook to provide a witness to identify the

                                                                        189



                                  **CONFIDENTIAL ROUGH DRAFT**

03:39:52    1   category and type of data or information which

            2   Facebook stoled made available including how as 2D

            3   indicates has Facebook insured use of such data or

            4   information was limited to to use case.

03:40:09    5               SPECIAL MASTER GARRIE:   Okay.   Is that

            6   Ms. Hendrix or not.
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            7             MR. KO:    That's what I want to know.

            8             MR. BLUME:   Yes it's.

            9             SPECIAL MASTER GARRIE:      No, no one second

03:40:16 10     I'm asking the questions now.      So Counsel Blume.

           11             MR. BLUME:   Yes.

           12             SPECIAL MASTER GARRIE:      Just my collar

           13   fission submitted as a witness 30(b)(6) witness on

           14   2E.

03:40:28 15               MR. BLUME:   How Facebook insured third

           16   parties use such data.    It's -- it is the policies

           17   and procedures that allow Facebook to monitor third

           18   parties use of data.   The question was, the

           19   question "now after May of 2015, certain third

03:40:43 20     parties continue to access friend data.     That

           21   doesn't go to Facebook policies or procedures or

           22   processes that were developed in order to monitor

           23   third parties over between 2007 and and present.

           24   It goes to what were the actions of third parties

03:40:57 25     in May of 2015.   That is beyond the scope of 2D it

                                                                       190



                                  **CONFIDENTIAL ROUGH DRAFT**

03:41:01    1   is beyond the scope the topic 3.      If they wanted to

            2   ask or create a topic that said, identify all third

            3   party applications that continue to access friend
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            4   data or use friend data at any time.     They could

03:41:14    5   have it's not how they worded their topics.     Ms. --

            6   Ms. Hendrix is -- is -- is focuseses on policies

            7   and procedures she's been going it her whole career

            8   happy and policies and procedures for Monday torque

            9   the -- the acts and accesses of -- of third party

03:41:35 10     and how Facebook insured that -- that the use of

           11   data was limited to the use case.

           12             That is the agreements of the developers,

           13   policy and procedures not.

           14             SPECIAL MASTER GARRIE:    I got it.

03:41:48 15               MR. BLUME:   Not actually --

           16             SPECIAL MASTER GARRIE:    I understand.     I

           17   understand Facebook's position Counsel Ko.

           18             MR. KO:   Two responses

           19   Special Master Garrie one it is divorced from

03:42:01 20     reality if one can only testify as to the policies

           21   and procedures and not the facts for which those

           22   policies and procedures can be applied.    So my

           23   question with respect to whether or not third

           24   parties continue to access information about a

03:42:18 25     friend or users a friend obviously relates to the

                                                                          191



                                **CONFIDENTIAL ROUGH DRAFT**
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03:42:22    1   policies the ultimate policies and procedures that

            2   Facebook applied.    Such that Ms. Hendrix as

            3   Mr. Blume is indicating has spent her life

            4   enforcing certain policies and procedures that

03:42:34    5   relate to the monitoring \everyone\enforcement of

            6   user information.

            7              Secondly, and more practical point is as

            8   follows:   Ms. Hendrix is the one that described in

            9   response to one of my questions her knowledge of

03:42:51 10     friend deprecation and so I am perfectly entitled

           11   to store her knowledge of friend deprecation to

           12   which is exactly what I'm doing she seems to be

           13   fully aware of several aspects of friend

           14   deprecation key claim in this case and so of

03:43:09 15     course.

           16              SPECIAL MASTER GARRIE:   I got.

           17              MR. KO:   I am able to ask questions about

           18   that.

           19              SPECIAL MASTER GARRIE:   Okay.    So just so

03:43:18 20     I understand Counsel Blume did you instruct her not

           21   to answer just I can scroll back up to see what.

           22              MR. BLUME:   Yes.

           23              THE DEPONENT:   I'm not -- I'm not -- they

           24   will have Ms. Hendrix in her personal capacity and

03:43:32 25     he's free to ask what she knows.    But as a
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                                 **CONFIDENTIAL ROUGH DRAFT**

03:43:35    1   corporate representative she -- she is prepared to

            2   talk about topics relating to the processes and

            3   procedures not with regard to the actions and

            4   specific third parties.

03:43:46    5             SPECIAL MASTER GARRIE:     I understand.

            6             MR. BLUME:    So I am not -- I'm

            7   instructing at her this point not to answer this

            8   question she's not prepared to speak to it today

            9   and it's not because because it's not covered by

03:43:57 10     her topics.   Maybe if I add one thing

           11   Special Master Garrie there may be helpful.       The --

           12   the under come pulling Facebook provided Aaron

           13   reports ton of material as you know on audience

           14   network which was a review of this very question

03:44:48 15     which now they have.    That is not a topic and

           16   because -- that was focused on in review whether or

           17   not the very question that -- that -- that Mr. Ko

           18   asked, which is did third parties continue to

           19   access friend data after the deprecation and

03:45:03 20     accountability so it's just one of the --

           21             MS. WEAVER:     Can I ask one question.

           22             SPECIAL MASTER GARRIE:     No one defended
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           23   one take I apologize counsel is that the witness I

           24   can't see people are muted one take one defended I

03:45:17 25     apologize counsel weaver that's the standard here.

                                                                          193



                                   **CONFIDENTIAL ROUGH DRAFT**

03:45:24    1              So I don't believe she's prepared.       The

            2   witness is prepared to answer your question

            3   Counsel Ko at this point in capacity as a 30(b)(6)

            4   witness on behalf of the company she's here.

03:45:44    5              MR. KO:    And I.

            6              SPECIAL MASTER GARRIE:    And I understand

            7   your position and -- I note it and I understand it.

            8   We haven't heard if she will answer or not so

            9   before we advance further down the path.        H

03:46:01 10     Ms. Hendrix, I have to -- if I look like I'm

           11   looking a way I have two monitors I'm just trying

           12   to read the prior testimony on that to see if you

           13   actually what your answer was.

           14              Okay.   Before.

03:46:34 15                MR. KO:    The question was at 335

           16   Special Master Garrie after May of 2015 certain

           17   third parties continue to access friend data,

           18   correct.

           19              SPECIAL MASTER GARRIE:    Well, in the
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03:47:07 20     offhand Ms. Hendrix do you want -- are you -- you

           21   have been instructed by your lawyer,, are you going

           22   to answer the question.

           23             THE DEPONENT:   I thought I said earlier I

           24   don't remember the precise, I don't remember the

03:47:22 25     precise date I think it's actually referred to in

                                                                       194



                                 **CONFIDENTIAL ROUGH DRAFT**

03:47:25    1   the FTC order to point to a public, you know,

            2   document, but I don't remember.   I just know and I

            3   also would like to for the record, I never said

            4   grace period we don't refer to our breaking changes

03:47:36    5   as grace periods.

            6             So I like to correct that.    And I haven't

            7   been doing this also my entire life.    I would like

            8   to correct.   I only been going this since I joined

            9   in October of 2008.

03:47:49 10               But all of the relevant disclosures and

           11   privacy settings that needed to be in place were --

           12   I can testify with 100 percent that they stayed in

           13   place and changes were made once we were certain no

           14   longer friend information or friend permissions

03:48:06 15     were being made available to third-party apps.

           16        Q.   (By Special Master Garrie:)    That's
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           17   sufficient.   Counsel Ko next question?

           18             THE DEPONENT:     Thank you.

           19        Q.   (By Mr. Ko)     Okay.   With respect to topic

03:48:21 20     2D Ms. Hendrix, are you prepared to testify on that

           21   topic as it relates to friend sharing and the

           22   defense pre indication of friend sharing in

           23   connection with Graph v2?

           24        A.   I believe I am.

03:48:48 25          Q.   Great.

                                                                         195



                                   **CONFIDENTIAL ROUGH DRAFT**

03:48:49    1             So since you are prepared to testify on

            2   that top are you a bear of any third parties to

            3   access friend data following the deprecation of --

            4   of friend sharing in connection with Graph V1?

03:49:03    5             MR. BLUME:    Objection.    Same objection D

            6   is how Facebook insured third party was limited to

            7   the use case which is policy and for

            8   \everyone\enforcement of policies and procedures.

            9             MR. KO:     Is there anything Mr. Blume in

03:49:17 10     topic two that refers to policy and procedures I

           11   don't know why you keep raising that.

           12             MR. BLUME:    It relates to the category --

           13   identifying of the identification of data or
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           14   information to which Facebook sold which it didn't

03:49:29 15     as she testified.     Made accessible or made

           16   available or allowed.     So it's not what actually

           17   occurred.    What the third parties specifically did.

           18               But the type of data including D our

           19   Facebook insured that the use of that data was

03:49:44 20     limited to the use case, which is

           21   \everyone\enforcement mechanisms behind the

           22   policies it's not which thirds what third parties

           23   were doing when.

           24               MR. KO:   Now I am going to request

03:49:57 25     Special Master Garrie that we go off the record

                                                                         196



                                   **CONFIDENTIAL ROUGH DRAFT**

03:49:59    1   because we have been talking about this point for

            2   15 minutes and I have a suggest as to move forward.

            3               SPECIAL MASTER GARRIE:   Okay.   We can go

            4   over the record we'll go back on the record I'm

03:50:12    5   going to rule.

            6               MR. KO:   Yup thank you the we do this way

            7   Special Master Garrie if -- if sorry.

            8               THE VIDEOGRAPHER:   You guys want to go

            9   off the just to be sure.

03:50:30 10                 SPECIAL MASTER GARRIE:   Off the record.
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           11               THE DEPONENT:     Thank you we are over the

           12   record it's 3:50 p.m.

           13               (Recess taken.)

           14               THE VIDEOGRAPHER:     We are back on the

04:09:55 15     record it's 4:09 p.m.

           16               MR. KO:   Thank you for allowing the

           17   lawyers and Special Master Garrie to do their legal

           18   thing.    But I just want to make sure that the

           19   record is clear with respect to your answer to the

04:10:10 20     following question.

           21               With respect to topic 2D or 3C are you

           22   prepared to testify on either of these topics as

           23   they relate to friend sharing and the deprecation

           24   of friend sharing in connection with Graph v2.

04:10:36 25                 MR. BLUME:    She is and she said that at

                                                                          197



                                  **CONFIDENTIAL ROUGH DRAFT**

04:10:38    1   the outset.

            2               MR. KO:   I was asking Ms. Hendrix.

            3               MR. BLUME:    It's a legal question on

            4   prepare you already asked that in the third

04:10:45    5   question of the day, yes she's prepared to do that,

            6   accept as it relates to targeted advertisers.

            7        Q.     (By Mr. Ko)     Ms. Hendrix can you answer
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            8   that question?

            9                   MR. BLUME:    It's -- it's.

04:10:57 10                     Okay and you asked and answered you can

           11   answer go ahead.

           12                   THE DEPONENT:     It's still yes.

           13           Q.      (By Mr. Ko)     Thank you.

           14                   And as it relates to third party

04:11:10 15     developers that actually continued to access friend

           16   information post deprecation of this friend

           17   sharing, are you prepared tomorrow testify on that

           18   topic?

           19                   MR. BLUME:    Objection.

04:11:28 20                     THE DEPONENT:     When V1 was deprecated

           21   there was no concept of requesting friend

           22   permissions from people.

           23           Q.      (By Mr. Ko)     Do you mean when you say

           24   there was concept of requesting friend permissions

04:11:48 25     from people?

                                                                           198



                                      **CONFIDENTIAL ROUGH DRAFT**

04:11:49    1           A.      I mean the product -- it just wouldn't

            2   work.        Right.   If you didn't move your app and

            3   build off of v2 from a technical standpoint at

            4   deprecation of V1 you could no longer call the
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04:12:07    5   Graph API and we have any friend permissions.

            6   There was no longer the ability to request friend

            7   permissions.        You have said friend sharing and

            8   friend data.        I just want make sure we are clear.

            9   Because today you ask people to share inapp friend

04:12:23 10     list which returns of course the friend public

           11   friend profile picture and name if that person has

           12   an opted out of platform.       So that's why they

           13   terminology is really important here.          So friend

           14   permissions once V1 was duly deprecated a longer a

04:12:41 15     thing from a product perspective.

           16                MR. BLUME:    There you go.

           17        Q.      (By Mr. Ko)     Are you familiar with the

           18   term whitelisting?

           19        A.      Yes.

04:12:51 20          Q.      What's your understanding of that term?

           21        A.      It's a.

           22                MR. BLUME:    Hold on.     This is clearly

           23   topic 7.

           24                MR. KO:     That is not.    You have

04:13:01 25     superficial understanding of these topics

                                                                           199



                                     **CONFIDENTIAL ROUGH DRAFT**

04:13:03    1   Mr. Blume.
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            2        Q.      (By Mr. Ko)    Can you please answer that

            3   question?

            4                MR. BLUME:    Was -- was that a personal

04:13:08    5   insult.     Wow whitelisting topic 7 is discuss

            6   whitelisting.     What -- here the problem is.

            7                SPECIAL MASTER GARRIE:    One second,

            8   Counsel Blume.

            9                MR. KO:   Note your objection.

04:13:23 10                  SPECIAL MASTER GARRIE:    Counsel Ko.

           11   Counsel Blume I say it more one more time.          Say the

           12   objection.     I believe the objecting

           13   Mr. Counsel Blume your saying is Objection.          Beyond

           14   the scope of what this witness is here to testify

04:13:34 15     to; is that your objection is.

           16                MR. BLUME:    Yeah well he first got

           17   answered but thought about off the record.          That's

           18   fine now moving what is topic seven whit list

           19   particular apps I'm hard pressed to see where that

04:13:50 20     falls in her topics.

           21                SPECIAL MASTER GARRIE:    Is your

           22   objection.

           23                MR. BLUME:    The objection is beyond the

           24   scope.

04:13:57 25                  SPECIAL MASTER GARRIE:    Got it.

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                                  **CONFIDENTIAL ROUGH DRAFT**

04:13:59    1             Counsel Ko.

            2             MR. KO:     Well, my position is very

            3   consist how it has been before.     Mr. Blume is

            4   perfectly entitled to note his objection for the

04:14:06    5   record.   But I would ask that Ms. Hendrix answer

            6   the question regardless and more --     when asked her

            7   first if she was familiar with the term

            8   whitelisting.     So she said yes so I'm styled to her

            9   understanding what is.

04:14:22 10               MR. BLUME:    She is corporate

           11   representative.

           12             SPECIAL MASTER GARRIE:     She's a 30(b)(6)

           13   witness on specific issues Counsel Ko so if they

           14   relate to the topics at issues she is hear too

04:14:34 15     testify please show the topic and issue she own

           16   how -- where whitelist is stated and then I can

           17   then issue a ruling on whether or not I will order

           18   the witness to answer the question or not.

           19             MR. KO:     Special Master Garrie Facebook's

04:14:50 20     monitoring an \everyone\enforcement of third

           21   parties is obviously related to both the continual

           22   access of friends data and relatedly the

           23   whitelisting by Facebook of certain third parties
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           24   to continue to access that data, so the monitoring

04:15:07 25     and enforcing of user information is fundamentally

                                                                        201



                                **CONFIDENTIAL ROUGH DRAFT**

04:15:11    1   related to the whitelisting of these permissions.

            2             In addition topic 2D indicates how

            3   Facebook insured third parties use of data or

            4   information was in fact limited to the use case.

04:15:23    5   If there were whitelisting or exceptions or any

            6   other special permissions that continued on and

            7   that Facebook continued to allow third parties to

            8   access I am certainly entitled to explore and

            9   ellies sit testimony regarding how Facebook

04:15:39 10     monitored and enforced those third parties.

           11             THE DEPONENT:    Can you read the back the

           12   question court reporter.

           13             (Record read as follows:

           14             MR. KO:   Was the question at four.

04:16:47 15               MR. BLUME:   If I may be heard?

           16             MR. KO:   The idea Special Master Garrie

           17   that I can lay foundation.

           18             SPECIAL MASTER GARRIE:     No wait stopped.

           19   I haven't ruled just because I haven't -- as

04:17:02 20     reiterate relates to the topics you here to testify
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           21   about as whitelisting relates to that's topics

           22   Ms. Hendrix, can you please answer the question I

           23   know I note your objection for the record

           24   Counsel Blume but it's overruled as it relates to

04:17:16 25     the topics you are here to speak to please provide

                                                                        202



                                **CONFIDENTIAL ROUGH DRAFT**

04:17:19    1   your answer to the question.

            2             THE DEPONENT:     I just don't understand

            3   how it relates to monitoring and

            4   \everyone\enforcement if friend permissions have

04:17:31    5   been deprecated then there's no friend permissions

            6   to review for example at app review because

            7   developers from a product technical perspective

            8   can't answer it so it doesn't make any sense.      It's

            9   not -- it's not related to why I'm here.

04:17:49 10          Q.   (By Mr. Ko)     Okay.   Are you prepared in

           11   connection with any of the topics that you have

           12   been designated to speak on about are you prepared

           13   to testify on behalf of Facebook as to any aspect

           14   of whitelisting at all?

04:18:06 15               MR. BLUME:    Asked -- just asked that

           16   question and she just answered it.

           17             MR. KO:   Stop Mr. Blume.
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           18               SPECIAL MASTER GARRIE:     No, you got to

           19   object Counsel Blume or let the question.

04:18:16 20                 MR. BLUME:    Asked and answered.   It was.

           21               SPECIAL MASTER GARRIE:     Answer the

           22   question.

           23               MR. BLUME:    Special Master Garrie it was

           24   the question you just asked her.

04:18:27 25                 MR. BLUME:    You can answer question.

                                                                          203



                                  **CONFIDENTIAL ROUGH DRAFT**

04:18:29    1               THE DEPONENT:    I agree that that my

            2   response to Special Master Garrie's question is

            3   accurate.    I don't see how whitelisting is relevant

            4   to the topics on why I'm -- I'm here today.         Like I

04:18:43    5   don't -- I don't see it.      I'm not trying to be

            6   evasive I just don't understand.

            7               THE DEPONENT:    And I feel like Mr. Ko

            8   just might not understand.

            9        Q.     (By Mr. Ko)     Yeah, I'm trying to be very

04:18:55 10     precise with my words and I understand that you

           11   don't believe it's relevant.       So it's just a simple

           12   yes-or-no question for the record.

           13               Are you prepared -- do you have an

           14   objection Rob?
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04:19:12 15               MR. BLUME:   Yes asked and answered now a

           16   third party.   This is just wasting time.

           17             MR. KO:   Notwithstanding Mr. Blume on the

           18   record are you prepared Ms. Hendrix to testify on

           19   any aspect of whitelisting as it relates to the

04:19:30 20     happens you have been designated to testify on

           21   behalf of Facebook for.

           22             MR. BLUME:   Objection.

           23             Special Master Garrie does she now have

           24   to answer that a third time?

04:19:50 25               SPECIAL MASTER GARRIE:     Did you was the

                                                                       204



                                **CONFIDENTIAL ROUGH DRAFT**

04:19:51    1   answer in the -- Ms. Hendrix I I believe was the

            2   first second the think the third I believe it was

            3   yes but you are not sure.

            4             Can you just was affirmative yes I'm

04:20:03    5   confused at this point just yes or no.

            6             THE DEPONENT:     I said yes to the specific

            7   question of whether I'm familiar with the topic of

            8   whitelisting is not a define term.

            9             SPECIAL MASTER GARRIE:     No, no that's

04:20:15 10     knots that's not the question all I'm interested if

           11   is are you the question was are you prepared to
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           12   testify on aspect of whitelisting as it relates to

           13   what you ever been designate to testify on behalf

           14   of Facebook for.

04:20:38 15                  MR. BLUME:   I read her answer one thing

           16   doesn't relate to the other that's what she don't

           17   how it receipts and I think the problem

           18   Special Master Garrie is that I don't think Mr. Ko

           19   understand the concept so said I don't under how it

04:20:53 20     receipts to monitoring \everyone\enforcement if

           21   friend permissions have been deprecated there's no

           22   friend permission to review and so it doesn't

           23   relate to her topics it's just doesn't relate it's

           24   the concept and that's -- my fear is Mr. Ko doesn't

04:21:06 25     understand the concept of whitelisting and so.

                                                                          205



                                   **CONFIDENTIAL ROUGH DRAFT**

04:21:09    1                SPECIAL MASTER GARRIE:    Wait one second

            2   we can fix this.       Can.

            3                Can you please define whitelisting.

            4                MR. KO:    Perfect.

04:21:19    5                MR. BLUME:   Not Noe not a corporate what

            6   she means.

            7                SPECIAL MASTER GARRIE:    What understand

            8   in her capacity.       Well she was asked whether she's
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            9   prepared to speak to whitelisting in response to

04:21:30 10     any of the topics she's here to speak today.

           11              What was stated is, she doesn't

           12   understand how whitelisting applies to what she is

           13   here to speak about today.    I'm asking her to

           14   explain to me, her definition of whitelisting so

04:21:44 15     that way I can then -- we can move forward because

           16   I don't.

           17              MR. BLUME:   With all do respect

           18   Your Honor.   It's how we prepared it's whether or

           19   not sufficiently adequately prepared.    We have

04:21:56 20     obligation understand the rules to adequately

           21   prepare the witness pursuant to the topics as

           22   stated.    Her personal understanding may mean

           23   nothing there is a topic.

           24              SPECIAL MASTER GARRIE:   I understand my

04:22:06 25     point.

                                                                      206



                                  **CONFIDENTIAL ROUGH DRAFT**

04:22:06    1              MR. BLUME:   So.

            2              SPECIAL MASTER GARRIE:   Well then as --

            3   as it is defined.    However -- as the corporate

            4   representative how dough do you know not believe

04:22:15    5   whitelisting relates in any way to needs you have
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 233 of 335




            6   been designated to speak about it on.

            7              MR. BLUME:   It's defined in the document.

            8              THE DEPONENT:   Well I what to.

            9              THE DEPONENT:   Do the plaintiffs counsel

04:22:33 10     do they define do you want to read their definition

           11   if the answer is yes to that first then try to

           12   respond.

           13              SPECIAL MASTER GARRIE:   I thought the

           14   deposition actually notice.    So that's what I been

04:22:45 15     operating under the understanding of what it is.

           16   But so maybe -- is it not there Counsel Blume.

           17              MR. BLUME:   It's defined in -- in I'm not

           18   sure the -- on page ten.

           19              THE DEPONENT:   In a part whit listed

04:23:03 20     partners any entity or person provided access to a

           21   capability such as a permission to read or write

           22   information via a specific API call that was not

           23   provided to all entities or persons right so with

           24   that understanding and that definition.

04:23:25 25                Mr. Cost question is because I have been

                                                                       207



                                 **CONFIDENTIAL ROUGH DRAFT**

04:23:29    1   operating with that definition but and patternly

            2   maybe this isn't but the question was from Mr. Ko,
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 234 of 335




            3   Ms. Hendrix Ms. Hendrix testify in any aspect of

            4   whitelisting as it relates to what you have been

04:23:51    5   designated to testify on behalf of Facebook.     Using

            6   the definition that was just read into the record?

            7             THE DEPONENT:   Thank you for pointing

            8   this out to me and I don't have any -- I don't --

            9   sorry that I didn't recall that that was in there.

04:24:09 10               I don't, sitting here today that there is

           11   any relevancy with respect to anything that I have

           12   been told to to be prepared for that relates to any

           13   of those topics?

           14             THE DEPONENT:   I can swear under oath

04:24:25 15     that I just sitting here today, I -- I struggle to

           16   come up with anything.

           17             MR. BLUME:   It's not that she's not

           18   prepared it just doesn't apply.

           19             SPECIAL MASTER GARRIE:   Well,.

04:24:36 20               MR. BLUME:   That's the difference.

           21             SPECIAL MASTER GARRIE:   Well you are --

           22   you are -- Counsel Blume he's entitled to answer

           23   the question and she's entitled to answer question

           24   whether whitelisting is appropriate in her view as

04:24:49 25     to the witness that she designated by Facebook is

                                                                     208
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                                  **CONFIDENTIAL ROUGH DRAFT**

04:24:52    1   prepared to speak to that and her position is, no,

            2   it's not and I don't understand why.        Which is what

            3   she has said.     So we can move forward.

            4             MR. KO:     This is he this is all --

04:25:06    5   Special Master Garrie this sort of insanity if you

            6   will as bell.

            7             SPECIAL MASTER GARRIE:     No, no adjective

            8   there's no -- another -- you need to take more time

            9   to think about what you are going to words you are

04:25:18 10     going to use we are going to curb your words will

           11   not insanity construction tiff any question any

           12   words that not future -- result in future

           13   frustration.

           14             MR. KO:     Noted I apologize I apologize

04:25:37 15     I'm so frustrated today.

           16             I have -- the point I wanted to make

           17   Special Master Garrie I had asked the question are

           18   you familiar with the term whitelisting.        The

           19   answer was yes.    The next question is what your

04:25:51 20     understanding of that term and that is what led to

           21   this another 20 minutes on the record of back and

           22   forth to a very bass six question.

           23             SPECIAL MASTER GARRIE:     Well.

           24             MR. KO:     And of course all of my
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04:26:04 25     questions related to Ms. Hendrix.

                                                                       209



                                 **CONFIDENTIAL ROUGH DRAFT**

04:26:06    1              Capacity as a 30(b)(6) witness and,

            2   again, Mr. Blume can object for the record but he

            3   certainly did not instruct the witness not to

            4   answer as he has.

04:26:16    5              MR. BLUME:   I can actually.

            6              SPECIAL MASTER GARRIE:   Yeah.

            7              MR. BLUME:   I actually can.

            8              MR. KO:   Only with respect to privilege.

            9              MR. BLUME:   That's not the rule.

04:26:21 10                SPECIAL MASTER GARRIE:   No 30(b)(6) with

           11   regards to 30(b)(6) he can -- because the witness

           12   is here to testify in certain subjects under the

           13   case law in the 9N circuit they have to preserve

           14   their rights because of the witness's testimony can

04:26:36 15     be called to trial accordingly so he is obligated

           16   to make sure that the witness -- only on the

           17   subjects that they are before or been designated

           18   as.   I -- I -- I believe the case -- don't quote

           19   me, but I want there's a ninth circuit base that

04:26:59 20     links in the all over I cannery it as sit here now.

           21   So he's tiled to and needs to rated and note the
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           22   objections for the record and instruct the witness

           23   because this statements are binding.

           24             MR. KO:   Special Master Garrie do you

04:27:26 25     mind I believe we are on the record I men

                                                                      210



                                 **CONFIDENTIAL ROUGH DRAFT**

04:27:30    1   Ms. Hendrix you have been relieved at some periods

            2   of time for the last hour and a half.   But I'm

            3   dealing with bit of a personal emergency I was

            4   hoping that take five minutes to address this and

04:27:40    5   then we get back on the record if you wouldn't

            6   mind.

            7             SPECIAL MASTER GARRIE:   Yeah please open

            8   the break out rooms to everybody take time to five

            9   minutes we'll con inventor in 35 minutes.

04:27:55 10               THE VIDEOGRAPHER:   Okay we off the

           11   record. -- rough the record it's 4:28 p.m.

           12             (Recess taken.)

           13             THE VIDEOGRAPHER:   We are back on the

           14   record, it's 4:40 p.m.

04:40:57 15               SPECIAL MASTER GARRIE:   Ready to go back

           16   on the record.

           17             MR. BLUME:   Yes.

           18             SPECIAL MASTER GARRIE:   No Counsel Ko was
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           19   that a yes from you all right we are going back on

04:41:06 20     the record I want to make another statement before

           21   anybody says anything.

           22               Let's go back on the record.

           23               THE VIDEOGRAPHER:     Thank you we are back

           24   on record it's 4:41 p.m.

04:41:16 25                 MS. WEAVER:   Okay.   This is Special

                                                                          211



                                  **CONFIDENTIAL ROUGH DRAFT**

04:41:18    1   Master I'm going to remind counsel again do not

            2   talk each other or I will be all of person so

            3   keeper trying -- to get this right.       But it is

            4   critical for the purposes of the court reporter to

04:41:31    5   have a full and complete record.       We -- you are

            6   still constantly talking over each other and the

            7   witness and advice verify is please endeavor among

            8   yourself to allow each other to finish speaking.

            9   And show the courtesy and respect and so so on and

04:41:51 10     so forth.

           11               With that stayed I will turn it back to

           12   Counsel Ko to continue forward.

           13               MR. KO:   Thank you Special Master Garrie.

           14        Q.     (By Mr. Ko)   And Ms. Hendrix, thank you

04:42:02 15     for your patients.    I actually hope to only have a
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           16   few more series of questions for you.      If all goes

           17   according to plan so the end is site rat least with

           18   respect to that.

           19        Q.     Now with respect to the topics that you

04:42:25 20     have been designated to testify on behalf of

           21   Facebook for,.

           22               Are you prepared to testify as to any

           23   aspect of these topics as -- as they relate to

           24   whitelisting?

04:42:47 25                 MR. BLUME:   Objection.   Asked and

                                                                         212



                                   **CONFIDENTIAL ROUGH DRAFT**

04:42:47    1   answered.

            2               THE DEPONENT:   I have already made it

            3   clear, I believe on the record with all due respect

            4   that I am prepared to speak on the topics and based

04:43:00    5   on the definition here of whitelisted partners and,

            6   again, saying for the record that we do not have

            7   affixed definition as it a corporate company

            8   precisely of what that means it can means different

            9   things to different people I not able sitting here

04:43:18 10     today after reviewing the topics multiple times

           11   able to provide any information that I think is at

           12   all relevant on my understanding and this
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           13   definition of whitelisting to those topics.

           14        Q.   (By Mr. Ko)   Thank you for making that

04:43:33 15     clear.

           16             Now with respect to the poll seats and

           17   procedures that I believe your counsel has

           18   indicated you can testify as to, are there any

           19   policies and procedures that relate to third

04:43:50 20     parties use of friend -- use of user information

           21   beyond the use case?

           22        A.   I need to refresh use refers to purpose

           23   of any entity to obtain user data.

           24             And then your question again I -- I'm

04:44:12 25     sorry.

                                                                    213



                                **CONFIDENTIAL ROUGH DRAFT**

04:44:14    1        Q.   With respect to the policies and

            2   procedures that I believe you are prepared to

            3   testify on are there any policies and procedures

            4   that relate to third parties use of user

04:44:26    5   information beyond the use case?

            6        A.   What -- wait isn't the opposite of what

            7   you asked me are you asking and what policies and

            8   monitoring procedures are in relate or in place

            9   that relate to user data.
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04:44:47 10          Q.   I don't know?

           11        A.   For use case.

           12        Q.   I don't what understanding you have of --

           13   of my previous question.    But I'm simply asking you

           14   this question.    With respect to the policies and

04:44:56 15     procedures that I believe you are prepared to

           16   testify on, are there any policies and procedures

           17   that relate to third parties use of user

           18   information beyond the use case?

           19             MR. BLUME:    Objection.

04:45:20 20               THE DEPONENT:    There are policies with

           21   respect to use of friend data and they exist today

           22   we still allow to share inapps friend list and in

           23   terms of monitoring for user information than yes

           24   there's an app review team and there's other teams

04:45:43 25     within DevOps that review apps for compliance with

                                                                     214



                                  **CONFIDENTIAL ROUGH DRAFT**

04:45:49    1   policies govern use of user information.

            2        Q.   (By Mr. Ko)     And those policies that

            3   govern the use of user information what are they

            4   and to be helpful.

04:46:11    5        A.   Well.

            6        Q.   I'm referring to the specific ones that
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            7   you just mentioned in your prior response.

            8        A.   Well I didn't mention specific policies I

            9   just said you know there's still a friend -- there

04:46:26 10     are still -- a friend a friend related policies

           11   because the login product still allows to access

           12   inapp friend list so there are friend specific

           13   provisions.

           14        A.   I believe there's two that relate to use

04:46:40 15     of friend information and then there's other

           16   policies for use of user information in the

           17   platform terms and the developer policies and the

           18   term -- the terms of service perhaps elsewhere but

           19   for the relevant topics that's the locations that

04:46:58 20     come to mind.

           21        Q.   Any other policies that you can think of

           22   that contain this information?

           23             MR. BLUME:    Objection.   Form.

           24             THE DEPONENT:    I don't have anything

04:47:10 25     further to add in response to what I said.

                                                                        215



                                **CONFIDENTIAL ROUGH DRAFT**

04:47:23    1        Q.   (By Mr. Ko)     Given your understanding of

            2   the term whitelisted apps as indicated in this

            3   notice are you aware of whether or not the SRR ever
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            4   indicated at any time that Facebook was going to

04:47:48    5   allow whitelisted partners to continue making

            6   specific app calls with respect to friend data?

            7              MR. BLUME:    Objection.   Form.

            8              THE DEPONENT:    I -- I -- it's hard for me

            9   to answer my question because I don't like the way

04:48:11 10     you worded so it's hard for me to do like yes or

           11   no.

           12         Q.   (By Mr. Ko)     What part of the question

           13   did you not like?

           14         A.   I'm -- I'm going to need you to restate

04:48:25 15     it.

           16         Q.   You have a certain understanding of

           17   whitelisted partners you had indicated that to me

           18   earlier, right?

           19         A.   Yes, and -- and I believe that I'm

04:48:37 20     supposed to for -- my purposes today, adopt this --

           21   this description in No. 26.      Is that correct?

           22         Q.   Given the definition of whitelisted

           23   partners or whitelist or whitelisted or

           24   whitelisting as indicated in paragraph 26 of the

04:48:58 25     notice, do you know whether or not SRRs at any time

                                                                       216



                                  **CONFIDENTIAL ROUGH DRAFT**
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04:49:03    1   ever indicated that Facebook was going to whitelist

            2   certain apps and permit them to continue accessing

            3   friend information after 2014?

            4               MR. BLUME:    Objection.   Form.

04:49:18    5               THE DEPONENT:     That would not be anything

            6   in the SRRs.

            7         Q.    (By Mr. Ko)     Same question with respect

            8   to the data use policy.       Or all iterations there

            9   to.

04:49:33 10                 Did the data use policy at any time ever

           11   indicate that Facebook was going to whitelist

           12   certain apps and permit to them to accessing friend

           13   data after 2014?

           14               MR. BLUME:    Objection.   Form.

04:49:48 15                 THE DEPONENT:     The data policy at all

           16   times during the relevant period made clear to

           17   people what data was available through the

           18   platform.    So like I said to the extent the V1 apps

           19   were still live regarding of when they were

04:50:03 20     deprecated those disclosures were there in multiple

           21   locations including the controls and settings that

           22   people had to control their information we never

           23   removed those disclosures until it was no longer

           24   relevant to people.

04:50:23 25           Q.    (By Mr. Ko)     And I know you testified
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                                  **CONFIDENTIAL ROUGH DRAFT**

04:50:24    1   that you don't recall exactly when that occurred.

            2   But with respect to the rolling out of v2 or Graph

            3   v2, when that occurred, was there any aspect of the

            4   data use policy that ever indicated that Facebook

04:50:42    5   was going to whitelist certain apps and permit them

            6   to continue accessing friend data?

            7              MR. BLUME:    Objection.

            8              THE DEPONENT:    I don't believe that we

            9   would have communicated that in the data use

04:51:01 10     policy.    Sorry I hear myself speculating I'm having

           11   afternoon fatigue that just wouldn't be the

           12   location -- the -- that's not the purpose of the

           13   data policy poll.

           14        Q.    (By Mr. Ko)     So to be the clear data

04:51:15 15     policy did not disclose or reflect any indication

           16   that Facebook was going to whitelist certain apps

           17   and permit them to continue accessing friend data,

           18   correct?

           19              MR. BLUME:    Asked and answered.

04:51:40 20                THE DEPONENT:    The -- the data use policy

           21   told people including the product itself, right so

           22   when user goes to login they would see that the app
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           23   was requesting friend information right and the

           24   users friends were still able to see that they

04:51:56 25     could unless they opted out of platform enabled

                                                                       218



                                 **CONFIDENTIAL ROUGH DRAFT**

04:52:00    1   their friends who those who choose platform and log

            2   in to apps.   So all of facts with respect to how it

            3   worked were available to people at all times

            4   throughout both the product and the user experience

04:52:13    5   by using the product and through the privacy and

            6   app settings and -- and data use poll seen and help

            7   center and all of the educational tools that we

            8   have discussed flowed the dated.      Always made it

            9   clear that that was how the platform worked now a

04:52:31 10     somebody set of the platform that's developing on

           11   v2 worked in a different way but it's more

           12   important to tell people what is happening with the

           13   V1.

           14         Q.   (By Mr. Ko)    So in connection with the

04:52:46 15     data use policy, was there ever a disclosure at any

           16   time over the relevant time period that Facebook

           17   was going to whitelist certain apps and permit them

           18   to continuing accessing friend data?

           19              MR. BLUME:    Objection.   Form.
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04:53:08 20               THE DEPONENT:    I don't -- I don't know.

           21   I -- I'm sure we have versions I could find out.          I

           22   don't believe that we would have done so.     Because

           23   it's not the right document, that's...

           24        Q.   (By Mr. Ko)     Regardless of whether or not

04:53:22 25     it was the right document and and you have and we

                                                                          219



                                **CONFIDENTIAL ROUGH DRAFT**

04:53:29    1   provided your counsel and it sounds like to you

            2   ultimately a copy of or at least a reference to the

            3   fact that we were going to discuss the data use

            4   policy among the other policies that are

04:53:42    5   applicability to users in this case.

            6             Did you in fact review the data use

            7   policies in connection with preparing for this

            8   deposition?

            9        A.   I testified earlier today that I reviewed

04:53:57 10     multiple versions of the data use polling sees.       I

           11   am sitting here today to tell you I don't believe

           12   that the contents of any of those versions would

           13   have included any topics pertaining to the word

           14   whitelist because that again is not what privacy

04:54:12 15     policies or data use policies for Meta purposes

           16   that's -- that's not that's not the place I would
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           17   put it, but I don't recall having seen it in -- all

           18   of the versions that I did review.

           19        Q.   And in connection with the data use

04:54:29 20     policies that you reviewed and were in place over

           21   the relevant time period, was there ever any

           22   indication or disclosure that in those data use

           23   policies that Facebook was going to permit certain

           24   third parties to access certain friend information

04:54:53 25     about a user in connection with graft v2?

                                                                      220



                                **CONFIDENTIAL ROUGH DRAFT**

04:55:00    1             MR. BLUME:   Objection.    Form.

            2             THE DEPONENT:   To try to be helpful like

            3   there -- there was no disclosure that certain apps

            4   would no longer have access to friend information.

04:55:19    5   That is helpful thank you.   And, again, I should

            6   correct myself all apps even to today should give

            7   friend data I should have friend permissions bu

            8   I -- I -- just wanted to clarify that point.    And

            9   when you say that certain apps can continue to

04:55:41 10     continue to get friend data to this day you just

           11   talking about the carve out that you had described

           12   before the inapp friend list correct yes through

           13   the apps because keeping in there's other methods
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           14   that friends can and we disclose to tell them what

04:56:00 15     they find full of what share with their friends if

           16   were just talking about the platform then that's

           17   correct.

           18        Q.    Any other friend information other than

           19   the inapp friend list on the platform that a

04:56:14 20     third-party app developer can access today?

           21        A.    Every since v2 there has not been any

           22   friend permissions built whether via a public API

           23   or a private or partners rather API.     Like I -- I

           24   can confirm that that friend permissions have gone

04:56:35 25     a way.

                                                                       221



                                   **CONFIDENTIAL ROUGH DRAFT**

04:57:04    1        Q.    Does the term or are you familiar with

            2   the term integration partner?

            3        A.    I am.

            4        Q.    What is your understanding of that?

04:57:15    5        A.    Those are.   Those are server providers

            6   who build and -- let's use -- I think I can better

            7   respond with an example.     Like Facebook is

            8   available on BlackBerry and BlackBerry is an

            9   integration partner and well was available.       And so

04:57:37 10     integration partners are people -- are partners who
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           11   enabled you to replicate Facebook on your -- on

           12   their devices.         So people could have -- so I guess

           13   put differently.         If you don't have -- if you don't

           14   have an integration partner then you can't use

04:57:56 15     Facebook on -- it just doesn't techily work.

           16   They -- they replicate Facebook for people.           So

           17   they can use Facebook on other things like in their

           18   cars.        Like             is -- is an example.

           19           Q.      Are you aware of whether or not any

04:58:17 20     integration partners continue to access friend data

           21   after 2014?

           22                   MR. BLUME:    Objection.   Beyond the scope.

           23                   THE DEPONENT:     Hum.

           24                   MR. BLUME:    Hold on.

04:58:35 25                     THE DEPONENT:     Okay.

                                                                            222



                                       **CONFIDENTIAL ROUGH DRAFT**

04:58:35    1                   MR. BLUME:    Same question with regard

            2   integration third parties instruct you not to

            3   answer.        Beyond the scope.

            4           Q.      (By Mr. Ko)     Are you going to follow that

04:58:45    5   instruction?

            6           A.      Yes.

            7           Q.      Are you aware of whether or not the SRR
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            8   or any iteration there to every indicated at any

            9   time that Facebook was going to permit certain

04:59:06 10     integration partners to continuing accessing friend

           11   data after 2014?

           12             MR. BLUME:    Objection.

           13             THE DEPONENT:     I'm aware that even from

           14   the relevant people up until today there is a

04:59:21 15     service provider section within the context of the

           16   data use policy which is directly incorporated by

           17   reference in the terms of service and/or SRR and

           18   that explains very clearly that there are service

           19   providers who help us provide services such as our

04:59:39 20     products I'm not quoting me on the language and

           21   those integration partners for example, would be

           22   agreeing to terms and those terms had provisions on

           23   user data, which required those partners to be very

           24   clear about what it was they were collecting and

04:59:53 25     how they were going to use that information that

                                                                       223



                                   **CONFIDENTIAL ROUGH DRAFT**

04:59:56    1   could only be used in accordance with our agreement

            2   with integration partners which whose to Facebook

            3   for example on the BlackBerry service app phone

            4   rather.
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 252 of 335




05:00:06    5        Q.     (By Mr. Ko)    So your understanding of

            6   sorry.    So your understanding of integration

            7   partners and your description of integration

            8   partners is that they fit under the umbrella of the

            9   service provider language and the data use policy?

05:00:26 10          A.     Say that again you cut off.

           11        Q.     The description of integration partners

           12   that you have provided is it your understanding

           13   that they would fit under the umbrella of the

           14   service provider language in the data use policy?

05:00:48 15          A.     It does.

           16        Q.     So does do the he think I answer the to

           17   question but I'm going to ask it nonetheless so

           18   that the record is clear.

           19               Did the data use policies ever indicate

05:01:13 20     at any time that Facebook was going to permit and

           21   integration partner to continue accessing friend

           22   data after 2014?

           23        A.     There's too much waving op concepts going

           24   on in your question.      The --

05:01:31 25          Q.     It's complicated case?

                                                                      224



                                   **CONFIDENTIAL ROUGH DRAFT**

05:01:32    1        A.     Sorry go ahead.
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            2        Q.      Go ahead sorry I didn't mean to

            3   interrupt?

            4        A.      The data use policy told people about the

05:01:40    5   Facebook platform and how they could control their

            6   information with applications on that -- that use

            7   the Facebook platform.     But there's also another

            8   section I believe it's been mostly referred to as

            9   service providers and our just added upon that

05:01:57 10     which is another paragraph which is different and

           11   distinction and that telling people that we have

           12   certain partners, you know, I would have to pull

           13   the precise language.     That help us provide our

           14   products and so the example in that service

05:02:14 15     provider section that I'm referring to is that

           16   these integration partners allow users to access

           17   Facebook for exam will            to enable people to

           18   share their             device hardware like when you

           19   are on using playing that game and they beat their

05:02:32 20     friends they could because of their service

           21   provider relationship with us enable people to

           22   share on Facebook some story they beat their friend

           23   in a game or they beat super Mario brother for

           24   example.

05:02:48 25          Q.      So is it your term that there were

                                                                        225
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                                **CONFIDENTIAL ROUGH DRAFT**

05:02:50    1   aspects of the data use policy that communicated to

            2   users that service providers including but not

            3   limited to integration partners continue to access

            4   information about a users friend; that fair to say?

05:03:06    5             MR. BLUME:    Objection.   Form.

            6             THE DEPONENT:     I don't remember if the

            7   word integration was in there but the word part is

            8   in there and the first sentence of multiple

            9   versions if not all of them is very clear to

05:03:18 10     people.   That we have partners that be us provide

           11   access to and to Facebook's products like to

           12   improve them I should stop rambling and what it

           13   says and actually refer to the precise language.

           14   But it's always been clear.

05:03:36 15          Q.   (By Mr. Ko)     Is there language in the

           16   data use policy that reflects -- that reflects how

           17   Facebook would control or not control the

           18   information that a third party would acquire about

           19   a user or a users friend?

05:04:01 20               MR. BLUME:    Objection.   Form.

           21             THE DEPONENT:     The data use policy has

           22   always told about what third party applications can

           23   access through or platform and what including the
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           24   information that their friends can share.     It's

05:04:15 25     always been clear.

                                                                     226



                                  **CONFIDENTIAL ROUGH DRAFT**

05:04:20    1        Q.     (By Mr. Ko)   Is there anything in the

            2   data use policy that reflects any language about

            3   how Facebook would monitor or enforce the use of

            4   that information once it was acquired by that third

05:04:35    5   party?

            6        A.     So the answer is yes, there's information

            7   about the fact -- not I should answer yes to your

            8   question.    So the -- the data use policy tells

            9   people to be careful about -- and the terms of

05:04:59 10     service, tells -- tells people to careful what it

           11   is they they are sharing and be aware of the

           12   information they share not just with their friends

           13   but -- but with applications and that those

           14   applications are required to respect the users

05:05:13 15     privacy but to be very closely to read their terms

           16   of service because the developer also has terms for

           17   use of their third party application.     So it

           18   cautious people so there's relevant language always

           19   in the relate van period on the topic of the fact

05:05:30 20     that developers are required to respect their
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           21   privacy policy their privacy and for people to read

           22   the terms and policies of the developer because

           23   they govern the developers use of the information

           24   that the person is choosing to share.

05:05:47 25          Q.    And how did Facebook ensure that third

                                                                        227



                                   **CONFIDENTIAL ROUGH DRAFT**

05:05:50    1   parties were in fact required to respect the users

            2   privacy?

            3              MR. BLUME:    Objection.   Form.

            4              THE DEPONENT:    Throughout our agreements

05:06:01    5   with like we insured because the developers

            6   contractually agreed and are obligated to adhere to

            7   those terms so in terms of requiring like that is

            8   the agreements that we had with developers and the

            9   provisions included there in required developers to

05:06:21 10     follow our terms and respect and comply with their

           11   own privacy policies.

           12        Q.    (By Mr. Ko)     And those contractual

           13   agreements I assume you are talking about the

           14   platform policy?

05:06:35 15          A.    The platform terms and developer policies

           16   today and any other applicable provision to the

           17   extent there is one.     But yes those are the primary
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           18   terms.

           19        Q.    Are there any aspect or are there any

05:06:52 20     policies other hand the platform terms and

           21   developer policies or the platform policy before

           22   that that reflects this contractual agreement

           23   between Facebook and the third party app developer

           24   as to how they would go about respecting a users

05:07:15 25     privacy?

                                                                        228



                                 **CONFIDENTIAL ROUGH DRAFT**

05:07:18    1              MR. BLUME:    Objection.

            2              THE DEPONENT:    So the terms the SRR

            3   have -- have disclosures that there's other

            4   provisions and at the very bottom of them it tells

05:07:37    5   people that there could be additional terms and

            6   policies and it has incorporates by reference the

            7   platform terms and in the relevant period the

            8   platform policies so it makes people aware that

            9   there are terms of use for developers who use our

05:07:55 10     platform and so that's the SRR and then for the

           11   data use policy, all -- I won't repeat myself.      I

           12   think I went over that.

           13        Q.    (By Mr. Ko)     So is it your testimony that

           14   the SRRs link to or reference the -- the platform
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05:08:19 15     policy or the current iteration of it which --

           16   which are the platform terms and developer

           17   policies?

           18        A.     Yes, at -- at the bottom it links to

           19   things like the advertising guidelines and other

05:08:32 20     different terms associated with different products

           21   for the use of different apps and services that we

           22   offer and required third parties to adhere to.

           23        Q.     And were there specific provisions in the

           24   data use policy or excuse me were the specific

05:08:50 25     provisions in the platform policy or the platform

                                                                      229



                                  **CONFIDENTIAL ROUGH DRAFT**

05:08:53    1   terms and developer policies that reflected how a

            2   third party app developer was to respect a users

            3   privacy?

            4               MR. BLUME:   Objection.

05:09:12    5               THE DEPONENT:   That's aboard statement

            6   there are provisions and always have been you have

            7   to privacy policy to tell people what it is that

            8   you have collect how will use and/or share the

            9   information you have comply the privacy policy you

05:09:24 10     have to not be -- don't he mislead confuse or

           11   surprise people which could pertain to our topics
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           12   today.    So there were definitely provisions that

           13   are privacy related in the formerly known in the

           14   platform policies and current versions of the

05:09:45 15     platform terms and developer policies such as only

           16   the request the information to mean mean fully

           17   improve the users experience.     So it's a broad

           18   privacy is broad statement so those are examples of

           19   privacy related provisions.

05:10:04 20          Q.     (By Mr. Ko)   With respect to the

           21   provisions that you are referring to that required

           22   the third-party app developers to respect the users

           23   privacy, how did Facebook and monitor and enforce

           24   those terms?

05:10:20 25          A.     We automatic -- we monitor using both

                                                                     230



                                  **CONFIDENTIAL ROUGH DRAFT**

05:10:25    1   automated and manual means, so we have automated

            2   tools that have been dynamic over the years as we

            3   have -- we have updated them or built different

            4   types of automated monitoring tactics.     Good a

05:10:41    5   example would be we built a privacy policy crawler

            6   would help crawl and detect broken privacy policy

            7   link we have the developers to privacy policy if

            8   broken user can't find than the automated crawler
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            9   can detect that and then a human well no never mind

05:11:01 10     like the automated crawler can -- can detect that

           11   and I believe it can automated enforce I don't

           12   believe it goes to a human so I maybe mistaken

           13   there.    But I'm pretty sure the automated is

           14   complete but either way the -- the issue gets

05:11:21 15     suffered on addressed and -- oh I should stop I'm

           16   ram diagnose even your late operative DUP even

           17   fatigue.

           18        Q.     This automated system is fair to describe

           19   that as a preemptive measure?

05:11:37 20                 MR. BLUME:    Objection.

           21        Q.     (By Mr. Ko)     Or was it more of a reactive

           22   measure?

           23               MR. BLUME:    Objection.

           24               THE DEPONENT:    I -- I don't know what you

05:11:49 25     mean by preemptive measure I mean the crawler runs

                                                                       231



                                  **CONFIDENTIAL ROUGH DRAFT**

05:11:52    1   and if the app is live on the platform and not in

            2   developer mode, for example, like the -- the

            3   crawler can -- it I'm not remembering sit here

            4   today often I think it's each but -- but I do not

05:12:11    5   want -- I should stop speculating but the crawler
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            6   proactive calls and detects.   So it doesn't like --

            7   so I don't what you mean by pre -- preemptive.

            8        Q.   (By Mr. Ko)   Other than this crawler,

            9   what were the other ways in which Facebook

05:12:29 10     monitored and enforced terms -- its terms with

           11   third parties regarding user privacy?

           12        A.

           13

           14

05:12:53 15

           16

           17

           18

           19

05:13:12 20

           21

           22

           23             So it's just meant as a signal and also

           24   users people can report apps through for example

05:13:31 25     any post that a person shares from an app.     There's

                                                                     232



                                **CONFIDENTIAL ROUGH DRAFT**

05:13:36    1   an ability at each post for a user to report what

            2   they are seeing for multiple reasons.   We also
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            3   receive reports internally, external for example,

            4   from the press or other third parties like

05:13:52    5   advertisers might point out something or other

            6   developers might observe that there's violations

            7   and so through user reports, external and internal

            8   reports and then proactive developer operations,

            9   team members manually going in to review

05:14:13 10     applications for compliance with the terms and

           11   policies and I forgot another privacy related

           12   provision.   But like the circuit requirements to

           13   protect data obtain from us against unauthorized

           14   use access or disclosure.

05:14:37 15

           16

           17

           18

           19

05:14:53 20

           21

           22                           so there's a lot of

           23   monitoring that goes -- that takes place both in --

           24   on Facebook and then off of Facebook depending

05:15:10 25     on -- on yeah, I should stop getting tired.     Sorry.

                                                                     233
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                                      **CONFIDENTIAL ROUGH DRAFT**

05:15:16    1           Q.      Would you agree with me Facebook job

            2   policy enforcely and monitor API abuse bothered

            3   parties on its platform?

            4           A.      I agree with that we committed to -- to

05:15:29    5   policing our platform through and we did through

            6   multiple measures including agreements with

            7   developers, at times, we introduced the formal app

            8   review them but there was always teams that were

            9   proactively reviewing apps for compliance prior to

05:15:47 10     that.        So I -- I do agree that Facebook needs to

           11   and has had like policy enforcement review measures

           12   that have been, you know, effective and practical

           13   and proportionate to the platform.

           14           Q.      But Facebook succeed in effort to police

05:16:11 15     and monitor API abuse on its platform?

           16                   MR. BLUME:   Objection.   Hold on.   Calls

           17   for a legal conclusion.          And outside the scope of

           18   the topics.

           19                   Instruct you not to answer on behalf of

05:16:34 20     the organization.

           21                   THE DEPONENT:    Does that I mean in my

           22   personal.

           23           Q.      (By Mr. Blume)    No?

           24           A.      Or I don't answer at all.
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05:16:42 25                 THE DEPONENT:    Okay.

                                                                          234



                                  **CONFIDENTIAL ROUGH DRAFT**

05:16:43    1        Q.     (By Mr. Ko)     You are going to follow the

            2   instructions of your counsel?

            3        A.     Yes, sir.

            4        Q.     Would you agree with me that it was

05:16:51    5   difficult if not impossible for Facebook to capture

            6   all the data abuse and misuse that was happening on

            7   its platform?

            8               MR. BLUME:    Hold on.   Objection.

            9   Compound.    Vague and calls for a legal conclusion

05:17:14 10     and beyond the scope of the topics and instruct you

           11   not to answer as a 30(b)(6) witness.

           12        Q.     (By Mr. Ko)     Are you going to follow that

           13   instruction?

           14        A.     Yes, sir.

05:17:29 15          Q.     Now would you agree with me and of course

           16   I'm asking as I always have been for these

           17   questions in your capacity as a 30(b)(6) witness

           18   that is here to testify on matters such as

           19   monitoring and enforcement as re flexed in topic 3.

05:17:48 20                 Would you agree that it was difficult if

           21   not impossible for Facebook to monitor enforce,
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           22   police all the API abuse that was happening on its

           23   platform?

           24               MR. BLUME:   Objection.   Calls not for

05:18:02 25     facts but opinion of an organization which is

                                                                         235



                                  **CONFIDENTIAL ROUGH DRAFT**

05:18:04    1   beyond the scope of the 30(b)(6) and for I instruct

            2   not to answer.

            3   BY MR. BLUME:

            4        Q.     Know are you going to follow that

05:18:14    5   instruction?

            6        A.     Yes, sir.

            7        Q.     Are you aware of any facts speaking on

            8   behalf of the company are you aware of any facts or

            9   circumstances in which it became known that it was

05:18:27 10     Ime impossible for Facebook to police and monitor

           11   all the abuse that was happening on its platform?

           12               MR. BLUME:   Again, to the extent that you

           13   are aware of any facts that relate to some

           14   assessment of.

05:18:43 15                 SPECIAL MASTER GARRIE:    Counsel is there

           16   an objection.

           17               MR. BLUME:   Yeah, I'm about to it's a

           18   privilege objection and so I'm define the scope of
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 266 of 335




           19   privilege for her if I may?

05:18:52 20               SPECIAL MASTER GARRIE:    Yeah sure I just

           21   wasn't sure if there was an objection.

           22             MR. BLUME:   Yes to extent if you become

           23   aware of facts about the possibility of Facebook

           24   monitoring as a result of a conversations with

05:19:05 25     legal counsel or based on advice of legal

                                                                       236



                                **CONFIDENTIAL ROUGH DRAFT**

05:19:09    1   counseling I instruct you not to answer and -- and

            2   as well I would object that it is -- sufficiently

            3   vague as to outside the scope of the topics about

            4   which you are testifying as a 30(b)(6) witness,

05:19:29    5   which is another instruction not to answer.

            6        Q.   (By Mr. Blume)   Are you going to follow

            7   that instruction?

            8        A.   I am nor sure if supposed to wait for

            9   Special Master Garrie because he turned on his

05:19:44 10     video and he.

           11             SPECIAL MASTER GARRIE:    Thank you.

           12             THE DEPONENT:    That means he might talk.

           13             SPECIAL MASTER GARRIE:    That is true.

           14   Counsel Ko what -- within the scope of what this

05:20:04 15     witness was designated too what does your question
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           16   map to.

           17              MR. KO:   Topic 3C Special Master.

           18              SPECIAL MASTER GARRIE:   Can you read.

           19              MR. KO:   Facebook's monitoring and

05:20:18 20     \everyone\enforcement of contractual term with

           21   third parties regarding their use of a of use's

           22   data or information.

           23              We can screen share it too for

           24   \everyone\enforcement to see.    Enforcing.

05:20:38 25                SPECIAL MASTER GARRIE:   That would be

                                                                    237



                                 **CONFIDENTIAL ROUGH DRAFT**

05:20:39    1   helpful.

            2              MR. BLUME:   If I may Your Honor?

            3              SPECIAL MASTER GARRIE:   One second.

            4   Counsel Counsel Blume defense nature what

05:21:08    5   designated by testify to testify to.

            6              MR. BLUME:   The possibility of monitoring

            7   the is a legal conclusion the concept of what

            8   constitutes abuse on the platform as a legal

            9   conclusion.   There are also too vague terms for

05:21:28 10     30(b)(6) witness to opine on and to the extent

           11   she's aware of those facts that led to those

           12   conclusions they are privileged and therefore in
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           13   appropriate.

           14                SPECIAL MASTER GARRIE:     And for the privy

05:21:41 15     guess.    But Facebook's monitoring enforced of

           16   contractual terms of third parties regarding their

           17   use of user data or information including each of

           18   policies regulating access regulating access to

           19   such data or information beyond the use case.

05:22:02 20                  And you -- Facebook put forward this

           21   witness to a opinion on this topic.

           22                MR. BLUME:   Not the -- the Ime pocket --

           23   the -- conclusion that something was impossible to

           24   monitor that is -- what is -- it's presumably a

05:22:19 25     legal conclusion of impossibility.

                                                                           238



                                   **CONFIDENTIAL ROUGH DRAFT**

05:22:21    1                SPECIAL MASTER GARRIE:     No.

            2                MR. BLUME:   It's sufficiently vague and

            3   undefined.

            4                SPECIAL MASTER GARRIE:     Okay.   Noted

05:22:25    5   impossibility in the function not a lawyer.           But as

            6   a function of her duties as an employee of Facebook

            7   whether it was possible or not.        Not a legal.

            8        Q.      (By Mr. Blume)   Right?

            9                SPECIAL MASTER GARRIE:     Testifying
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05:22:35 10     conclusion right it's whether or not it was

           11   possible to accomplish this and so please answer --

           12   so overruled.     Counsel Blume subject for the first

           13   overruled with respect to the scope.       However,

           14   still with regards to the objection with regard to

05:22:54 15     privilege for purposes of clarity of Counsel Blume

           16   or any conversations you had with lawyers or Blume

           17   Blume would you like to instruct the witness with

           18   regards to privilege.

           19                MR. BLUME:   Actually if we just jump off

05:23:06 20     the record I figure out the answer and whether it's

           21   privileged and then we go forward.

           22                SPECIAL MASTER GARRIE:    Okay we'll go off

           23   the record.

           24                THE VIDEOGRAPHER:    We are the reviewed

05:23:17 25     it's 5:26.

                                                                         239



                                   **CONFIDENTIAL ROUGH DRAFT**

05:23:24    1                (Recess taken.)

            2                THE VIDEOGRAPHER:    Back on the record

            3   it's 5:27 p.m.

            4                MR. KO:    Okay I just want to make sure

05:27:54    5   that Special Master Garrie is is here for this so I

            6   will wait.     Hello.
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            7               At this point, Your Honor, Special Master

            8   Mr. Blume Ms. Hendrix I'm not going to ask any

            9   questions and I going to reserve the righted to ask

05:28:17 10     questions related to topics one, topics 2B, 2D

           11   topics three and portions of topic six to the

           12   appropriate Facebook witness that can answer these

           13   questions and reserve the right to seek additional

           14   time, so that Facebook can identify the proper

05:28:39 15     witness such that we have our substantive questions

           16   answered.

           17               But at this point I have no further

           18   questions for you thank you for your time

           19   Ms. Hendrix.

05:28:48 20                 MR. BLUME:   If I may

           21   Special Master Garrie respond.

           22               SPECIAL MASTER GARRIE:   I mean, sure.

           23   Suddenly I think.

           24               MR. BLUME:   Yeah, Ms. Hendrix is here and

05:28:58 25     prepared as she said a number of times to speak on

                                                                       240



                                  **CONFIDENTIAL ROUGH DRAFT**

05:29:02    1   these topics.    There is no other witness that will

            2   speak to those topics.     If Mr. Ko has questions for

            3   Ms. Hendrix on those topics any one of them that he
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            4   mentioned he is obligated to ask those today.

05:29:17    5   There is absolutely no reason whatsoever no good

            6   faith reason whatsoever to request any other

            7   witness address to topics no other witness will be

            8   prepared to address any of those topics.     That

            9   is -- we have fulfilled our obligation to prepare

05:29:36 10     Ms. Hendrix to answer those topics and Mr. Ko had

           11   more than sufficient time to get through.     We

           12   object not only to extending any other deposition

           13   to topics for which those witnesses are not

           14   prepared.   We also object to any extensions of any

05:29:53 15     time based on this deposition.   I will note that

           16   plaintiff's sent Ms. Hendrix more than 150

           17   documents to prepare for this deposition.     They

           18   asked -- they present two maybe three of those

           19   documents the fact that they choose not to to go

05:30:15 20     through the documents the other 147 of them is a

           21   choice that they made.    The types of questions that

           22   Mr. Ko asked are choices he made.    And so their

           23   fill your to get whatever information they thought

           24   that they would want to get is making of their own.

05:30:32 25                 If time is an issue, Ms. Hendrix is here

                                                                       241



                                  **CONFIDENTIAL ROUGH DRAFT**
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05:30:35    1   but we will not present another witness on the

            2   topics nor will we nor we will bring Ms. Phrase

            3   content Hendrix back as a 30(b)(6) on these

            4   topics -- reports as as far as Facebook is

05:30:58    5   concerned, the topics for which Ms. -- Ms. Hendrix

            6   designated our now closed with the conclusion of

            7   this deposition by Mr. Ko and we will move onto did

            8   other topics.

            9             MR. KO:   I just want to note for the

05:31:12 10     record Special Master Garrie and Mr. Blume that

           11   addition to the reasons I identified earlier about

           12   why we reserve to right to ask questions to the

           13   appropriate witness on these topics, I just want to

           14   make sure that the cleared is clear that we have

05:31:28 15     spent substantial amount of time on the record

           16   today having basic disputes over the witnesses

           17   ability to answer or not these questions and

           18   response to topics and just to make clear another

           19   ground for which we are seeking to reserve the

05:31:50 20     right to reopen the deposition is Mr. Blume's

           21   improper instructions -- instructing the witness

           22   not to answer.

           23             MR. BLUME:   I will.

           24             SPECIAL MASTER GARRIE:     Counsel Blume.

05:32:02 25               MR. BLUME:   I will note
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                                 **CONFIDENTIAL ROUGH DRAFT**

05:32:03    1   Special Master Garrie the purpose of obviously in

            2   your presence is to make those decisions here the

            3   objections I made for privilege of course were

            4   proper the privilege discussion and the objections

05:32:14    5   to made to scope are certainly proper and the

            6   extent that those questions are fit better in other

            7   topics which I noted on the record.    There are

            8   other witnesses who will testify at Mr. Ko failed

            9   to make a record I will note that any of the topics

05:32:28 10     for which Ms. Hendrix was designated she was -- she

           11   was not prepared for she explained her efforts to

           12   prepare.

           13              And so again we object to additional time

           14   and we object to the extension of the topics or any

05:32:44 15     continuation and we request that

           16   Special Master Garrie that you determine that

           17   Ms. Hendrix is released from her obligations under

           18   the second amended notice of deposition pursuant to

           19   rule 30(b)(6).

05:33:00 20                SPECIAL MASTER GARRIE:   Well here's the

           21   good news I can rule on that.   Denied.

           22              I will take under consideration both
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           23   party's positions.     I will likely request future

           24   briefing limited briefing in the accelerated

05:33:16 25     schedule and issue are more welcome to bring this

                                                                        243



                                 **CONFIDENTIAL ROUGH DRAFT**

05:33:18    1   before Judge Chhabria and use the record

            2   accordingly an explain it to him accordingly.

            3             If you disagree with my ruling or finding

            4   if I do from or the witness or someone else is to

05:33:31    5   be produced to respond.     With that noted I thank

            6   the witness and we will be finish for today unless

            7   there are further questions or requests or rulings

            8   of Counsel Blume or Counsel Ko to desire.

            9             MR. BLUME:    I only note that if I -- I

05:33:56 10     make the request if additional questions or

           11   Ms. Hendrix is designated he ask them right nose

           12   she here and prepared to continue.

           13             MR. KO:    We'll stand by original re

           14   service rights as noted in the previous six minutes

05:34:13 15     on the record.

           16             SPECIAL MASTER GARRIE:     And just for the

           17   record, to be clear I have no position one way or

           18   the other, as to the request to relief beyond

           19   denying counsel's Blume that I make the ruling here
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05:34:26 20     now.

           21               MR. BLUME:   Right.

           22               THE DEPONENT:   And --

           23               MR. KO:   Thank you.

           24               MR. BLUME:   And appreciate that and --

05:34:31 25     and -- that's fine we have made -- we have made our

                                                                          244



                                   **CONFIDENTIAL ROUGH DRAFT**

05:34:36    1   point.

            2               SPECIAL MASTER GARRIE:      So noted we are

            3   done.    Just make sure the designation is

            4   confidential as been recorded.       Are there any

05:34:46    5   standing orders for transcripts for 30(b)(6)

            6   depositions are we going to standing orders for the

            7   other witnesses.

            8               MR. BLUME:   I believe so I'm the wrong

            9   person but I believe that's the case.

05:35:02 10                 MR. KO:   I apologize I forgot one thing.

           11   In my haste to conclude this.        I -- are not go make

           12   the formal ask on the record Mr. Blume, that you

           13   provide Ms. Hendrix SP deposition transcript with

           14   the transcript application arm RFP asking Facebook

05:35:22 15     to produce all such material CHECK/CHECK.

           16               MR. BLUME:   Well the DC we'll DC AG
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           17   transcript request and that's -- we'll take it

           18   under consideration.     Again I urge Mr. Ko if you

           19   have additional questions for Ms. Hendrix, we are

05:35:44 20     not stopping the deposition.     She's here and

           21   prepared.    And if you choose to end I will consider

           22   that that you have nothing further for her.

           23               MR. KO:   So the record is clear I have of

           24   course do have a lot further, but your conditions.

05:35:59 25                 MR. BLUME:   We'll here.

                                                                        245



                                  **CONFIDENTIAL ROUGH DRAFT**

05:36:00    1               MR. KO:   Continued stocks let me finish.

            2               MR. KO:   Continue objections and not to

            3   answer and the fact that there is witness is not

            4   prepared to testify as the to basic issues on

05:36:10    5   claims and allegations regarding this case in

            6   particular are the reasons why we would hope to

            7   seek an actual witness or this witness to actually

            8   testify as to these topics.

            9               MR. BLUME:   Well, I think should be clear

05:36:26 10     so the issues you believe and to her topics,

           11   include whitelisting, as it relates to the topics

           12   that for which she is designated.      We also

           13   understand that you asked whether or not they were
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           14   third-party apps who continued to be given

05:36:42 15     permission to access friends data after May of

           16   2015.   That she believed was that we objected to

           17   under -- under topic 2D that is that that topic.

           18   Can you please state for the record any other areas

           19   that -- and then privilege of course which we

05:37:03 20     objected to.   But because Ms. Hendrix is here and

           21   available, if you could put on the record exactly

           22   what other topics you believe she -- you were

           23   prevented from her asking her about under the same

           24   topics so that we can appropriately address those

05:37:23 25     and deal with them rather than burden this witness

                                                                     246



                                 **CONFIDENTIAL ROUGH DRAFT**

05:37:26    1   with when she's here rent available based on your

            2   desire to just do it another day.   If you put on

            3   the record specifically what it is you believe --

            4   what information I believe you were deprived from

05:37:38    5   her on the topics for which she was designated and

            6   that -- and that were asked about and that were

            7   asked about not topic that you were not that you

            8   didn't talk about the questions you asked the

            9   answers in which you believe deprived in your view

05:37:56 10     objections unfounded.
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           11             MR. KO:   I think the record is clear as

           12   to both your instruction and the witnesses

           13   inability to ask it -- answer basic questions with

           14   respect to topics 2D, and 3C in particular.     But I

05:38:13 15     will note for the record, that all of these topics

           16   which do relate to monitoring and

           17   \everyone\enforcement and how Facebook enforced its

           18   policies with respect to third expert use of user

           19   information were all the type of that Ms. Hendrix

05:38:37 20     had difficult he on behalf of.

           21             MR. BLUME:   She's here prepared to talk

           22   about the policies with respect to the -- the use

           23   of use -- the third use of information.   That's --

           24   exactly what she's here's to testify to I would

05:38:49 25     suggest that if you have any questions you did not

                                                                        247



                                **CONFIDENTIAL ROUGH DRAFT**

05:38:51    1   ask about any of her topics you ask them now.      We

            2   can discuss later or -- or -- debate whether

            3   whether or not my objections were appropriate but

            4   to topics questions issues that you did not raise

05:39:06    5   and -- and not give Ms. Hendrix the opportunity to

            6   testify to we are prepared to sit here right now

            7   and -- answer those questions.   But we will not
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            8   consent to simply taking an extra day with her to

            9   ask questions or to hit topics that she did not

05:39:23 10     cover today.     Because she is very well prepared --

           11   I'm sorry she very prepared to read your things to

           12   regard to topic 2D or 3KC in particular she is

           13   prepared to talk about monitoring.         And how

           14   Facebook -- how Facebook this quote from the

05:39:39 15     record.     How Facebook enforced its policies with

           16   third to party party used she prepared to as we

           17   said.     And so you have questions on that topic.

           18   I -- I request that you ask them now.

           19                MR. KO:   You made per textually clear you

05:39:52 20     do consent to my request and I understand.

           21                MR. BLUME:    I just said I just said I

           22   did.    I just said.      On the record.   Mr. Ko that

           23   with regard to topics 2D and 3C you just said, you

           24   note for the record quote that all of these topics

05:40:09 25     that -- which do relate to monitoring and how

                                                                               248



                                   **CONFIDENTIAL ROUGH DRAFT**

05:40:12    1   Facebook enforces policies with respect to third

            2   party use of -- third parties use of use of user

            3   information.     That's what you just described.         And

            4   I'm telling you on the record, with Ms. Hendrix to
      Case 3:18-md-02843-VC Document 938-3 Filed 06/02/22 Page 280 of 335




05:40:25    5   my left, prepared to answer all of these questions.

            6   So if you have them.     I beg to ask them now.   And

            7   don't come back and ask them later we are open and

            8   willing to answer those questions as we said all

            9   along.    That is -- that -- the how that you just

05:40:42 10     quoted was exactly the how that I quoted.       And we

           11   are more and happy to answer questions on that

           12   topic.

           13        Q.     (By Mr. Blume)   You have made?

           14               MR. KO:   You allowed me to finish.   You

05:40:53 15     probably understand my statement in full.

           16               I understand and you have made it

           17   perfectly clear that you do not consent to our

           18   request to reopen this deposition.     And I get that.

           19   And we obviously oppose that.

05:41:08 20                 I will note for the record that one of

           21   the reasons why we need another deposition is that

           22   you have unfairly and unreasonably limited these

           23   topics as you have noted many times on the record

           24   today that these topics only relate to the policies

05:41:25 25     and procedures that Facebook enacted in connection.

                                                                         249



                                  **CONFIDENTIAL ROUGH DRAFT**

05:41:30    1               MR. BLUME:   You are free -- you.
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            2             MR. KO:    That's all I have to say.

            3             MR. BLUME:    You are required know I am.

            4             SPECIAL MASTER GARRIE:        Counsel.

05:41:35    5             MR. BLUME:    You are.

            6             SPECIAL MASTER GARRIE:        Here what we are

            7   going to do.

            8             THE DEPONENT:     You both have been

            9   pontificating for sometime on the record we ceased

05:41:43 10     pontification here's what we will do.

           11             Bear with me.

           12             Ms. Hendrix would you mind stepping out

           13   for two minutes so I speak to the lawyers.         We will

           14   go off the record.

05:41:58 15               THE VIDEOGRAPHER:     Okay.    We are off the

           16   record it's 5:42 p.m.

           17             (Recess taken.)

           18             THE VIDEOGRAPHER:     Okay.    We back on the

           19   record.

06:03:22 20               SPECIAL MASTER GARRIE:        All right let's

           21   go on the record.

           22             THE VIDEOGRAPHER:     6:03 p.m.

           23             MR. KO:    Mr. Blume your begging was per

           24   suave stiff I will try to ask some more questions

06:03:41 25     but I will note for the record that of course the

                                                                           250
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                                  **CONFIDENTIAL ROUGH DRAFT**

06:03:48    1   the positions that we have taken prior to this most

            2   recent break is that there are a number of and

            3   March rid this this witness she has not prepared to

            4   certain as aspects of these topics and that you

06:04:04    5   have given improper instructions not to answer.

            6             So for reasons they reserve the right to

            7   reopen the deposition.    But as long as we are all

            8   here, I do want to ask some more follow-up

            9   questions with respect to these topics if

06:04:22 10     Ms. Hendrix is still available.

           11             MR. BLUME:    Okay.   Go ahead.

           12        Q.   (By Mr. Ko)     Ms. Hendrix take a look at

           13   the notice again?

           14        A.   I'm here.

06:04:38 15          Q.   Okay.

           16        A.   Can you look at topic three.

           17        A.   Yes.

           18        Q.   And can you identify for me all the

           19   instances in which Facebook was able to identify

06:04:56 20     whether or not a third party was using Facebook

           21   users data or information beyond the use case?

           22             MR. BLUME:    Hang on one second, please.

           23             THE DEPONENT:    Again which -- which
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           24   the -- uses of use of data beyond the use case is

06:05:40 25     covered by which subsection of topic 3.

                                                                             251



                                   **CONFIDENTIAL ROUGH DRAFT**

06:05:43    1                MR. KO:     3C.

            2                MR. BLUME:    -- enforcement of contractual

            3   terms, including enforcement of pool sees regular

            4   gull lating access.        That one.?

06:06:00    5                MR. KO:     That would be.

            6                MR. BLUME:    Is that -- is that that.

            7                MR. KO:     That would be what I said when I

            8   said 3C.

            9                MR. BLUME:    Okay.     I mean to tent you can

06:06:15 10     answer to regard to the over viewing processes

           11   regarding the monitoring \everyone\enforcement if

           12   you can if you not.

           13                THE DEPONENT:       And the question again is

           14   what?

06:06:25 15             Q.   (By Mr. Ko)       Can you identify all the

           16   instances in which Facebook was able to identify

           17   whether or not a third party was using Facebook's

           18   users data information beyond the use case?

           19                MR. BLUME:    And, again, this talks to

06:06:35 20     processes.     Mr. Ko.     It's just.
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           21               SPECIAL MASTER GARRIE:     Counsel counsel

           22   are you objecting.

           23               MR. BLUME:    I'm objecting it's beyond the

           24   scope.    If you are prepared to -- if you have been

06:06:45 25     prepared to talk to the identity of specific

                                                                         252



                                  **CONFIDENTIAL ROUGH DRAFT**

06:06:47    1   instances as opposed to the overview of the

            2   processes which is what topic 3 asks for you may

            3   but if you are not prepared you are not prepared.

            4               THE DEPONENT:    Well during the relevant

06:07:03    5   period from 2007 to 202022, I don't believe we have

            6   that logging that I can definitely speak to the

            7   process process of developing the setting or other

            8   control made available to users to prevent or

            9   eliminate or data from being accessed bothered

06:07:25 10     patients including how Facebook monitors an

           11   enforces a contractual terms with those third

           12   parties.    But the specific amounts I don't even

           13   think we as a company could produce that if we

           14   wanted to and I -- so I don't comprepared with the

06:07:47 15     knowledge of that.

           16        Q.     (By Mr. Ko)     Can you identify?

           17        A.     Which is outside of the scope of what I'm
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           18   reading here.

           19        Q.   Can you identify all the factual

06:08:00 20     instances or circumstances for when Facebook did in

           21   fact detect abuse on its platform?

           22             MR. BLUME:    And I instruct to the extent

           23   that you learned of quote abuse on the platform

           24   through conversations with counsel, I would

06:08:15 25     instruct you not to answer.    And I -- I obviously

                                                                       253



                                **CONFIDENTIAL ROUGH DRAFT**

06:08:18    1   review the topic and the question and determine

            2   whether it's -- within the copy of topic 3 as far

            3   as you are concerned in your prep.

            4        Q.   (By Mr. Ko)    I'm not prepared to answer

06:08:31    5   all of the nor do I think Facebook can answer all

            6   of the amount or violations of performance sees

            7   that we have suffered in apps from 2007 to 2022.

            8        Q.   Can you describe to the Court whether or

            9   not you are aware of the factual circumstances in

06:08:59 10     which Facebook determined that an app was not

           11   complying with its policies?

           12             MR. BLUME:    Objection.   How they

           13   determined whether they were complying or whether

           14   they are complying.
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06:09:20 15                 MR. KO:   I'm trying to ask questions

           16   related to this topic and you continue to object

           17   during off of scope and instruct to witness not to

           18   answer.    I thought your begging would allow to

           19   allly ask questions that you.

06:09:32 20                 SPECIAL MASTER GARRIE:     Well--

           21               MR. BLUME:   Mr. Garrie we walk through

           22   topic three with your instructions sir.         And put it

           23   in -- in -- in identify how -- where it talks about

           24   factual instances or circumstances of abuse.        Where

06:09:52 25     it topic 3 speaks to the number of instances of

                                                                         254



                                  **CONFIDENTIAL ROUGH DRAFT**

06:09:57    1   abuse.    And Mr. Garrie if you show where it is than

            2   we will be advised, but there's nothing -- I see I

            3   don't operative DUP see the words facts or

            4   instances at all in -- in topic 3 and so I'm hard

06:10:13    5   pressed to heard Mr. Ko repeatedly make this

            6   witness feel as though she's inadequately prepared

            7   on the face of third-party app three the words

            8   thats using in questions don't even appear.

            9               MR. KO:   Pretty simple.    Well, if I can

06:10:30 10     respond I will Special Master Garrie.

           11               SPECIAL MASTER GARRIE:     Can you share
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           12   your screen and then a response to the point raised

           13   by counsel Blume to share your for -- okay your

           14   response first Counsel Ko and I will go through it.

06:10:50 15               MR. KO:   As we discussed earlier it's bit

           16   divorced from -- if a witness cannot testify as to

           17   the facts that apply with respect to how Facebook

           18   monitored and enforced its contractual terms of

           19   third parties.   Similarly it's a bit divorced

06:11:05 20     from -- if Facebook is trying to suggest that they

           21   cannot provide a witness that will testify as to

           22   the facts that apply to how and this is in

           23   connection with 2D how Facebook insured third

           24   parties use of such data or information was limited

06:11:21 25     to to the use case and this once again goes back to

                                                                     255



                                 **CONFIDENTIAL ROUGH DRAFT**

06:11:24    1   the point earlier where we are discussing where all

            2   of these things as Ms. Hendrix has testified before

            3   were fairly it Tera tiff and things he value at the

            4   factual circumstances changed.

06:11:39    5             So the idea that she can not sit here and

            6   testify as to the facts that actually under lie

            7   Facebook's monitoring \everyone\enforcement of

            8   contractual terms is a bit unreasonable from my
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            9   perspective and does not comport with the actual

06:11:55 10     testimony that we would hope to ellies it from this

           11   witness on these topics.

           12                MR. BLUME:   Ass Mr. Ko described prepared

           13   to facts with apply this is how quote from what he

           14   just said.     And she is prepared to testify as to

06:12:13 15     the facts that apply with respect to how Facebook

           16   monitored enforced its contractual terms she will

           17   testify to that.       She will also testify to the

           18   facts that apply quote as to how and -- how and

           19   this is in connection with 2D he says how Facebook

06:12:28 20     insured their father use of da she completely

           21   prepared to testify to that.       But if -- Mr. Ko if

           22   refer to his question that's what he's asking he's

           23   making he's respond to my objection stating what

           24   exactly she prepared to but then the questions he

06:12:46 25     has don't ask those questions.

                                                                         256



                                   **CONFIDENTIAL ROUGH DRAFT**

06:12:53    1                MR. KO:   Logical to the facts related.

            2                SPECIAL MASTER GARRIE:    One second one

            3   second you are both are repeating your and meant

            4   just again so the question is can you describe for

06:13:03    5   the Court whether or not you are aware of the
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            6   factual circumstances in which Facebook determined

            7   that an app was no, ma'am complying with its

            8   policies.

            9               MR. BLUME:   With all due respect that

06:13:16 10     wasn't the question he asked.

           11               THE DEPONENT:   His question.

           12               SPECIAL MASTER GARRIE:   No, no well

           13   that's the question -- okay that's one question

           14   that was asked and you objected how they determined

06:13:25 15     whether they complying or whether they are

           16   complying Counsel Ko responded well and then you

           17   responded and I don't think an answer was ever

           18   provided by the witness and then there was another

           19   question asked.

06:13:42 20                 MR. BLUME:   The question was -- the

           21   outstanding question is, are you -- whether or not

           22   you are aware quote of the factual circumstances in

           23   which Facebook determined that an app specific app

           24   was not complying with its policies.        But then when

06:13:56 25     he describes in his argument to you what he really

                                                                        257



                                  **CONFIDENTIAL ROUGH DRAFT**

06:14:00    1   wants to know is, quote how and -- how -- how

            2   Facebook monitored enforced its contractual terms
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            3   if just asked that question that he stated in

            4   necessary objection Ms. Hendrix will answer that.

06:14:14    5   How Facebook monitored enforced she also answer the

            6   next question he defense pots in response to my

            7   question which, is how Facebook insured third mate

            8   use of data.     She's prepared to answer that and

            9   that speaks -- that is topic three knew we are

06:14:29 10     prepared.    All he has to do is ask those questions

           11   and we'll move this along.     But he wants specific

           12   instances of misconduct which is not topic 3.

           13               MR. KO:   I don't understand how can talk

           14   monitoring without specific instances of misconduct

06:14:47 15     but.

           16               SPECIAL MASTER GARRIE:   If you are

           17   wanting to based already her his argument

           18   Counsel Blume is based on her work experiences how

           19   did that shape what the things she's here to

06:15:01 20     testify about.     It's understand what counsel

           21   pointed.

           22               MR. BLUME:   Yeah, that's not the topic

           23   though.

           24               SPECIAL MASTER GARRIE:   I'm just

06:15:10 25     communicating.

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                                   **CONFIDENTIAL ROUGH DRAFT**

06:15:11    1                MR. BLUME:   I hear.   Yeah, I get it well

            2   before overview of the processes of developing

            3   privacy or app setting or other controls made

            4   available to users to prevent or limit the data or

06:15:32    5   information from being accessed by third party

            6   including the dates during which each such privacy

            7   or app setting or other control were available.

            8                MR. BLUME:   Right.

            9                SPECIAL MASTER GARRIE:    So overview

06:15:48 10     processes.

           11                SPECIAL MASTER GARRIE:    Specific dates.

           12   Then the data and information which is defense

           13   defining terms covered by so they then they data

           14   and information if you read the definition of

06:16:00 15     information.     Can you go up.

           16                MR. KO:   Sure.

           17                SPECIAL MASTER GARRIE:    The definition of

           18   Counsel Ko I think there is where -- so information

           19   as understood maybe my -- it's getting late.

06:16:12 20                  MR. BLUME:   Page 4 page 4.

           21                SPECIAL MASTER GARRIE:    Yeah date the

           22   information refers to personal information content

           23   and information and data collected and derived

           24   about users.     Users.
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06:16:30 25                MR. BLUME:   Correct.

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                                 **CONFIDENTIAL ROUGH DRAFT**

06:16:31    1              SPECIAL MASTER GARRIE:   Including wait --

            2   including information ordered relevant in the

            3   court's October 29th, 2020 this is discovery order

            4   No. 9 which on platform off platform or third

06:16:44    5   party.   It is extremely broad.

            6              MR. BLUME:   Yes.

            7              SPECIAL MASTER GARRIE:   It's coverly

            8   usable data -- issue new this case to include data

            9   collected from a users on platform activity data

06:16:54 10     obtained from third parties regarding users off

           11   platform act five and data inferred from users on

           12   or off platform activity so that's how we are

           13   defining information so going back to where we are

           14   at.

06:17:06 15                MR. BLUME:   Yup what of that is covered

           16   by each setting is control is the question is the

           17   topic, right what of that broad swath of data topic

           18   for Ms. Hendrix well that's broad swath of data

           19   what is covered by each setting or control.

06:17:22 20                SPECIAL MASTER GARRIE:   You asked me walk

           21   through so you are saying to prevent or limit the
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           22   data or information data or information is on or

           23   off platform activity with third parties it's

           24   specific technical defined information that is how.

06:17:36 25               MR. BLUME:   I agree.

                                                                       260



                                  **CONFIDENTIAL ROUGH DRAFT**

06:17:38    1             SPECIAL MASTER GARRIE:    That is how

            2   defined in the Court judge correspondly which

            3   spoken at length about.

            4             MR. BLUME:   But the process it's the

06:17:44    5   first sentence it's the processes of the developing

            6   privacy made available to prevent or limit the.

            7             SPECIAL MASTER GARRIE:    No, no privacy or

            8   other controls.

            9             MR. BLUME:   Yeah right but not an

06:17:55 10     instance those are the controls in place what is.

           11             SPECIAL MASTER GARRIE:    I get you just

           12   asked me made available to users to prevent or

           13   limit their data.

           14             MR. BLUME:   Right.

06:18:03 15               SPECIAL MASTER GARRIE:    Or information

           16   being axe ceilings had including the dates during

           17   which of these -- okay I'm walking through covered

           18   blah blah and the default setting for each.       So
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           19   there's.

06:18:14 20                 MR. BLUME:    Right.

           21               THE DEPONENT:     Your point is the scope

           22   here from where you read in three as you read.

           23               MR. BLUME:    Privacy app settings and

           24   controls.

06:18:24 25                 SPECIAL MASTER GARRIE:     All right.

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                                  **CONFIDENTIAL ROUGH DRAFT**

06:18:24    1               MR. BLUME:    That's what it is, that's the

            2   scope.

            3               SPECIAL MASTER GARRIE:     For data or

            4   information.

06:18:29    5               MR. BLUME:    Right.   Privacy for app

            6   settings or other controls that's what this topic

            7   focuses on.

            8               SPECIAL MASTER GARRIE:     The point where

            9   is -- Counsel Blume is accessed by third parties,

06:18:41 10     right.   So their -- and your point your argument is

           11   that doesn't cover the specific factual background

           12   that generated.

           13               MR. BLUME:    Well the topic is focuses on

           14   privacy or app settings or other controls that gosh

06:18:56 15     all of this stuff.       That's what this focuses on
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           16   they could have written a topic that said identify

           17   all instances in which a third party improperly

           18   accessed data that's not what this says I don't

           19   deny they want that information.        But this specific

06:19:11 20     topic talks about privacy and app setting and

           21   controls.

           22               SPECIAL MASTER GARRIE:      3D.

           23          Q.   (By Mr. Blume)      Cover all this stuff?

           24               SPECIAL MASTER GARRIE:      3D theory 3B or

06:19:18 25     not.

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                                  **CONFIDENTIAL ROUGH DRAFT**

06:19:21    1               MR. BLUME:   Yes.

            2               MR. KO:   Yes this all topics.

            3               SPECIAL MASTER GARRIE:      This where.

            4               MR. BLUME:   Privacy an app set.

06:19:24    5               SPECIAL MASTER GARRIE:      Wait, wait.

            6               MR. BLUME:   Pro eds so.

            7               SPECIAL MASTER GARRIE:      Investigation.

            8               MR. BLUME:   Sorry it's the including:

            9   Section leading to section B.

06:19:39 10                 SPECIAL MASTER GARRIE:      Yeah so including

           11   any process processes check.        Reviews check.

           12   Investigations or particular instances that would
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           13   drive a particular you investigate a particular

           14   activity you explained.

06:19:54 15               MR. BLUME:    It's the privacy or it's the

           16   privacy app setting or control that -- that -- that

           17   monitor investigations not the facts.

           18             SPECIAL MASTER GARRIE:     You are reached.

           19             MR. BLUME:    Know goes into it's privacy

06:20:05 20     and apps settings and controls that focus on other

           21   processes reviews investigations -- and studies

           22   it's normal tells us about the investigations or

           23   the queries it's tell us about the -- privacy or

           24   app setting or other controls how they drafted it I

06:20:19 25     mean their own words.     I don't how we can viewed in

                                                                        263



                                **CONFIDENTIAL ROUGH DRAFT**

06:20:24    1   some way that's -- that's -- that requires us toen

            2   fore from the very words in the page that it means

            3   something other than the plain language.

            4             SPECIAL MASTER GARRIE:     What about 3C.

06:20:35    5             MR. BLUME:    Same way privacy or app

            6   settings and other controls including those about

            7   Facebook's Monday torque \everyone\enforcement of

            8   contractual therms the third program mice sub

            9   actions ABC is to discuss and overview of the
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06:20:48 10     processes of developing privacy or app setting or

           11   other controls.

           12             SPECIAL MASTER GARRIE:     So then explain

           13   what reasoning how does responsible more and

           14   \everyone\enforcement relate to what you are

06:21:00 15     talking about.

           16             MR. BLUME:   What's -- what privacy or app

           17   setting are in place that help Facebook monitor

           18   enforce contracts tall terms of third parties what

           19   controls are in place to help Facebook monitor

06:21:11 20     \everyone\enforcement the contractual terms of

           21   third parties not when has third parties violated

           22   but what does Facebook do to monitor that.

           23             SPECIAL MASTER GARRIE:     Just answer my

           24   question you keep the other part of the answer.

06:21:23 25     Just focus on my questions.     Rather than the -- the

                                                                       264



                                  **CONFIDENTIAL ROUGH DRAFT**

06:21:26    1   other part.

            2             MR. BLUME:   Yes, I am sorry I thought

            3   answered B but that's how topic 3C if you -- sub

            4   topics AB and C are included.

06:21:35    5             THE DEPONENT:    I get.

            6             MR. BLUME:   Document.
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            7               THE DEPONENT:   Honestly.

            8               MR. BLUME:   What privacy.

            9               THE DEPONENT:   Counsel app setting or

06:21:41 10     controls.

           11               SPECIAL MASTER GARRIE:      Counsel Blume

           12   Counsel Blume I hear you got a -- a second -- take

           13   a breath.    Just going through I'm trying to

           14   understand your position and perspective and then

06:21:52 15     we can have further conversation.

           16               MR. BLUME:   Right.

           17               SPECIAL MASTER GARRIE:      So you prepared

           18   the witness like from what I -- so from your --

           19   from Facebook's perspective the witnesses is

06:22:02 20     prepared to testify as to the process of developing

           21   privacy or app settings or other blah blah blah and

           22   the date so that's what -- available.        Not and yore

           23   position is having the witnesses as a

           24   representative of the company speak to what drove

06:22:26 25     to particular instances to drive those processes

                                                                          265



                                  **CONFIDENTIAL ROUGH DRAFT**

06:22:29    1   and actions that witness isn't prepare to testify

            2   to that.

            3               MR. BLUME:   Yeah.    There's in here that
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            4   speaks to.

06:22:36    5                SPECIAL MASTER GARRIE:      I'm not answer my

            6   question I'm.

            7                MR. BLUME:   Yes.

            8                SPECIAL MASTER GARRIE:      I'm judging.

            9                MR. BLUME:   Prepared to.

06:22:44 10           Q.     (By Mr. Blume)      What perhaps to testify

           11   to.   Exactly how you described just described.         The

           12   process he the privacy an upsetting and controls.

           13                SPECIAL MASTER GARRIE:      Counsel Blume I

           14   got answer my question.       And not been much of other

06:22:56 15     questions much.

           16                MR. BLUME:   Got it.

           17                THE DEPONENT:    Much more get this done.

           18                SPECIAL MASTER GARRIE:      Understood.

           19                MR. BLUME:   And if I May, Mr. Garrie in

06:23:15 20     its fair to Ms. Hendrix.

           21                SPECIAL MASTER GARRIE:      I understand

           22   counsel.

           23                MR. BLUME:   She has.

           24                SPECIAL MASTER GARRIE:      Counsel Blume I

06:23:20 25     have been a 30(b)(6) witness.

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                                   **CONFIDENTIAL ROUGH DRAFT**
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06:23:21    1                MR. BLUME:   Right.

            2                THE DEPONENT:   Understand the concept

            3   the -- instruct I understand the case law don't

            4   accept invitation to.

06:23:27    5                MR. BLUME:   No I understand.

            6                SPECIAL MASTER GARRIE:     I'm July

            7   scrolling.

            8                MR. BLUME:   The text.

            9                THE DEPONENT:   To read what the question

06:23:31 10     was.

           11                MR. BLUME:   Understood.    Okay.     And your

           12   obstruction -- the long obstruction counsel the

           13   short and short of your instruction was to instruct

           14   the witness not to answer.

06:24:20 15                  MR. BLUME:   Right.

           16                SPECIAL MASTER GARRIE:     Based on it's

           17   entity.

           18                MR. BLUME:   Yes to the question identify

           19   all factual instances other circumstances.

06:24:27 20                  MR. BLUME:   In fact that's the question

           21   and did it in fact detect I object I objected that

           22   beyond the scope of topic three.

           23                SPECIAL MASTER GARRIE:     Okay.

           24                MR. BLUME:   Simply enough.

06:24:36 25                  SPECIAL MASTER GARRIE:     Thank you.    All
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                                  **CONFIDENTIAL ROUGH DRAFT**

06:24:37    1   right Counsel Ko you can stop sharing.

            2               Counsel Ko any -- any point of question

            3   before snoop sure, two quick things.       One again I

            4   just come back to the simple and practical point

06:24:59    5   that I'm not sure how one could suggest that the

            6   factual circumstances behind monitoring or

            7   \everyone\enforcement are not related to this

            8   topic.   And No. two with respect to 2D in

            9   particular which we have talked about quite often

06:25:14 10     in which Mr. Blume likes to both either ignore or

           11   inject policies and procedures into there's no

           12   aspect of section 2D which requires Facebook to

           13   produce a witness about how Facebook insured third

           14   parties use of data and information with limits to

06:25:34 15     the use case.    I'm not quite sure how I -- lit any

           16   testimony if what ever I'm not allowed to factual

           17   circumstances blind how Facebook insured that.

           18               MR. BLUME:    Again he can's he ask that

           19   question.

06:25:48 20                 SPECIAL MASTER GARRIE:     Yeah.

           21               MR. BLUME:    Canst CEO how Facebook ensure

           22   ask that question.       She sit here an answer that as
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           23   long as we -- we want.    Ask that question.   Very

           24   question that is listed in topic ask that.

06:26:07 25               SPECIAL MASTER GARRIE:    So there's a

                                                                      268



                                **CONFIDENTIAL ROUGH DRAFT**

06:26:08    1   question pending.   Are you going to take the advice

            2   of your counsel Ms. Hendrix before we.

            3             THE DEPONENT:    Yeah, I don't remember

            4   the -- yes I'm going to take the advice of counsel.

06:26:23    5             SPECIAL MASTER GARRIE:    Okay.   Good.

            6   Mr. -- Counsel Ko would you like to ask another

            7   question I'm not -- I'm -- I'm the parties I

            8   probable as -- as both rights are can bring a

            9   motion for the Special Master seeking an additional

06:26:43 10     topic or clarification for the 30(b)(6) accordingly

           11   for said witness to be provided to speak to that.

           12   However, I do so I remind both parties of that

           13   opportunity.

           14             With that said, Mr. -- Counsel Ko do you

06:27:02 15     have another question.

           16             MR. KO:   I do thank you Special Master.

           17   I will note that just my position on the record I

           18   will note that overall this dogs has been so

           19   unhelpful just because we spent 17 minutes
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06:27:17 20     listening to Mr. Blume discuss with you what this

           21   notice means on the record and so I just repeated.

           22             SPECIAL MASTER GARRIE:     Counsel Ko I

           23   wouldn't so much about getting additional time or

           24   not getting additional time at this time.     I'm

06:27:32 25     inclined if such a request is made maybe not with

                                                                         269



                                **CONFIDENTIAL ROUGH DRAFT**

06:27:37    1   this witness but if -- I wouldn't focus on the time

            2   at this point I would just ask the additional

            3   questions you may have.

            4             MR. KO:   Thank you I appreciate that.

06:27:50    5        Q.   (By Mr. Ko)     With respect to data Ms. Use

            6   on the Facebook platform can you describe the

            7   factual circumstances in which Facebook utilized

            8   certain policies and procedures to in fact enforce

            9   and monitor data use use on the Facebook platform?

06:28:18 10          A.   Yes so first we developed the policies

           11   that developers agree to and must comply with.      We

           12   train for example we train the teams accountable

           13   for policing the platform which is primarilily the

           14   developers operations team so we train them on

06:28:38 15     those policies and create specific guidance and

           16   instructions for how they can review apps for
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           17   compliance with the terms and policies.    To the

           18   extent we agree that those additional criteria

           19   guidelines for reviewing for compliance might be

06:29:02 20     helpful to our teams that are actually going the

           21   review.

           22             And then we train all of the different

           23   teams, so for example, the app review team the

           24   enforcement team, the investigations team, all of

06:29:20 25     the vendor vendors that work on reviewing apps for

                                                                     270



                                  **CONFIDENTIAL ROUGH DRAFT**

06:29:26    1   compliance so we will train \everyone\enforcement

            2   on those terms.   We also train our sales and

            3   partnerships and other teams including our own

            4   teams as we grow and build new people, so that

06:29:39    5   broad wide group of the company can understand what

            6   these terms are so that they can help us police the

            7   platform by servicing and identifying those

            8   potential violations of terms and Ed indicate how

            9   they with report those violations to the

06:29:59 10     appropriate.   We teach them how ask questions about

           11   the policies to the extent that they have them.     We

           12   train the external developer community and at times

           13   even nondevelopers on our terms where applicable.
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           14              We do monitoring which has evolved over

06:30:24 15     time different types of monitoring.   But we use

           16   both automated and manual means to detect potential

           17   violations to again including like the reporting

           18   chance that I -- that I referred to earlier and I

           19   also referred to the

06:30:44 20

           21

           22

           23

           24

06:31:09 25

                                                                     271



                                 **CONFIDENTIAL ROUGH DRAFT**

06:31:14    1

            2              We present day asked developers

            3   proactively to do -- we put the data use -- do the

            4   use checkup tool in front of developers which shows

06:31:31    5   the permissions that they have they already know

            6   that they have them and they are available at app

            7   dashboard in other settings that we put in front of

            8   them.   Those permissions and ask them to yearly

            9   review that and then assessed whether they still

06:31:47 10     need those provisions.   We have automated tools
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           11   inplace that will prevent a developer that

           12   accessing a users information through the platform

           13   if they haven't used the application within 90

           14   days.   We -- we also put certain developers in --

06:32:10 15     with access to certain information or tire amounts

           16   of install what we refer to data pro section

           17   assessment that ask them questions about their data

           18   use practices primarily focused on sections three

           19   through six of the platform terms.

06:32:28 20                We require apps to go through app review

           21   for nearly all use of the platform if they want to

           22   request a new permission than so that would trigger

           23   a thorough of review of the app at the app review

           24   stage each time they want to decide that they are

06:32:47 25     building their app in a way that requires the need

                                                                      272



                                 **CONFIDENTIAL ROUGH DRAFT**

06:32:51    1   to request permissions which require review all of

            2   which do for Facebook login.   If they are asking

            3   for more than named profile picture and email, even

            4   those apps that don't require up front app review

06:33:07    5   are reviewed every year during the app re-review

            6   process.   Where the teams are asking -- are

            7   presented with number of questions designed to
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            8   surface potential violations of the search such as

            9

06:33:25 10

           11

           12

           13

           14

06:33:45 15

           16             We have data boundary program where we

           17   pay external reporting parties when they report to

           18   us so we incentivize the reporting of potential

           19   violations as an additional monitoring and

06:34:02 20     \everyone\enforcement tax -- tactic.   We have

           21   there's a third party I DC attorney CHECK/CHECK

           22   which servers to independently be reviewing apps

           23   for potential comply with just not our platforms

           24   and others and we -- we were the leader in getting

06:34:22 25     that to -- to come into plays we engage an ask for

                                                                      273



                                 **CONFIDENTIAL ROUGH DRAFT**

06:34:27    1   help through the entire community.

            2             Again my educating all of these

            3   individuals on the terms.   Going back to the data

            4   point program.   We -- that is not just specific to
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06:34:43    5   platform term data collection through permissible

            6   means it also includes data that is accessed

            7   through unauthorized means by scraping us.        So that

            8   is another part of the bounty that will pay out

            9   where the criteria is met for example.        If we

06:35:00 10     already are a bear of an investigation because it's

           11   been reported either internally surfaced internally

           12   by reported by another person externally than we

           13   will thank the reporting party.        We -- I feel in

           14   incredibly come pre sensitive because please let if

06:35:19 15     you have any further questions on that point.

           16          Q.   Sounds like you got your second wind?

           17               MR. KO:   Rebecca that amazing good job.

           18               THE DEPONENT:      I'm not Rebecca but thank

           19   you.

06:35:33 20                 MR. KO:   Right.    I wasn't talking to you,

           21   I was taling to Rebecca transcribing all of that.

           22               THE DEPONENT:      Oh.

           23               MR. KO:   So with respect.

           24               MR. KO:   Sorry, I implied.

06:35:46 25                 THE DEPONENT:      I can't see the transcript

                                                                           274



                                  **CONFIDENTIAL ROUGH DRAFT**

06:35:46    1   so I didn't know what referring I can whatever you
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            2   are referring to.     So I am sorry.      But I thought

            3   were directing your comment to me.

            4          Q.   (By Mr. Ko)    All the examples that you

06:35:59    5   gave in response to my question.

            6               Can you identify all the instances in

            7   which Facebook actually applied those policies and

            8   procedures that you described to a particular app?

            9               MR. BLUME:    Objection.    We are back to

06:36:17 10     topic 3.    If you point to which of the topics and

           11   sub topics talk about particular instances of

           12   applications of the policies.

           13               MR. KO:   So I'm looking at topic 2D in

           14   particular.

06:36:38 15                 MR. BLUME:    Okay.

           16               MR. KO:   Addition to 3D.     So I don't know

           17   if I have to respond to that.      But.

           18               MR. BLUME:    Well she's here.

           19               MR. KO:   Let me I'm just to the record is

06:36:48 20     clear.

           21          Q.   (By Mr. Ko)    Identify all the instances

           22   in which Facebook actually applied those policies

           23   and procedures that you described to a particular

           24   app?

06:36:57 25                 MR. BLUME:    How they -- well,.

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                                   **CONFIDENTIAL ROUGH DRAFT**

06:37:00    1              MR. KO:    And you object.

            2              MR. BLUME:   Yeah to the extent it's 2D my

            3   objection is she -- I mean clear why you didn't ask

            4   to want the just described how they ensure it.          I'm

06:37:10    5   not sure how this particular instances fits under

            6   2D, so if you educate me I will perhaps mere myth

            7   but as read in the plain language of the 2D, I

            8   think it's not -- what specific instances is not

            9   covered.

06:37:28 10                MR. KO:    I don't have a duty to try

           11   educate you you can.

           12              MR. BLUME:   It's your job.

           13              MR. KO:    Object.

           14              MR. BLUME:   You want to answer because

06:37:34 15     it's your topic.     So you can -- you wrote it.       So

           16   if you want answer.

           17              MR. KO:    Stop repeating.

           18              MR. BLUME:   I would ask educate me on it.

           19              MR. KO:    This Special Master why

06:37:46 20     completely unhelpful da.

           21              SPECIAL MASTER GARRIE:       Counsel Ko.

           22              MR. BLUME:   Mr. Ko that's not use.

           23              SPECIAL MASTER GARRIE:       Counsel stop
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           24   talking.

06:37:54 25                  MR. BLUME:   That is not why.

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                                   **CONFIDENTIAL ROUGH DRAFT**

06:37:55    1                SPECIAL MASTER GARRIE:     Stop put yourself

            2   on mute.     Can you please bring up 2D Counsel Ko.      I

            3   will rule.     Let's see.

            4                SPECIAL MASTER GARRIE:     Court reporter

06:39:00    5   I'm looking for the question can you read it back

            6   court reporter I'm looking for the exact question.

            7   Can you read it back please.

            8                (Record read as follows:

            9                SPECIAL MASTER GARRIE:     Counsel Ko are

06:39:40 10     you whether 2D limited to use case can you clarify

           11   when you say particular app what do you mean.

           12                MR. KO:   So a particular well I wanted to

           13   start broken which I'm entitled to do.        But I am

           14   talking about first if she has any understanding

06:39:57 15     with respect to when or the number of times I'm

           16   generally speaking either one.     Of when she was

           17   aware of the actual times in which Facebook applied

           18   all the sample she gave of the various policies and

           19   procedures that Facebook enacted to a particular

06:40:21 20     app that may have either been using information
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           21   beyond the use case or in any improper way.

           22             SPECIAL MASTER GARRIE:     What was the

           23   issue how is this beyond the scope Counsel Blume

           24   I'm trying to read your answer but it was very

06:41:14 25     long.

                                                                       277



                                **CONFIDENTIAL ROUGH DRAFT**

06:41:15    1             MR. BLUME:    Because it asks how not when

            2   not whatnot which.     All words they knew and could

            3   have written in this topic but they didn't they

            4   choose how and now if he's trying to planned to

06:41:29    5   include when, which, what.

            6             SPECIAL MASTER GARRIE:     So it your

            7   position that Facebook will introduce.       If I

            8   hypothetically, let the plaintiff submitted another

            9   set of 30(b)(6) deposition requests and they modify

06:41:43 10     accordingly will you submit a different witness to

           11   answer these questions.

           12             MR. BLUME:    If there somehow permitted to

           13   file additional 30B6s.

           14             SPECIAL MASTER GARRIE:     Yes.

06:41:54 15               MR. BLUME:    We take that under

           16   consideration as the -- as to whether -- as to

           17   whether put someone up for yet another 30(b)(6)
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           18   which now be third request -- I mean.

           19              SPECIAL MASTER GARRIE:    I think my pretty

06:42:08 20     clear what -- pretty pretty clarity as to this

           21   part.   So okay.

           22              MR. BLUME:   If yeah they want -- if

           23   you -- if you want give permission to continue with

           24   another -- with another 30(b)(6) witness on those

06:42:23 25     specific topics we know they know how ask them they

                                                                        278



                                   **CONFIDENTIAL ROUGH DRAFT**

06:42:27    1   should do properly and we'll consider when we get

            2   it.

            3              SPECIAL MASTER GARRIE:    Is the witness my

            4   concern is witness isn't prepared to answer the --

06:42:42    5   the other pieces of the question; is that basically

            6   your concern.

            7              MR. BLUME:   Right I would ask -- I would

            8   ask you to determine that it -- she wasn't required

            9   to prepare because then that's going to -- we'll

06:42:56 10     deal with another request that's separate but I

           11   don't want to this believe whether she read how and

           12   she have somehow interpreted how to mean, what and

           13   when and which.    And that she's somehow was

           14   inadequate in efforts to prepare.     She spent a lot
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06:43:12 15     of time doing this and just don't think it's fair

           16   to suggested that when -- when we read how, whether

           17   they are titled to do again in another depo or

           18   another.

           19              SPECIAL MASTER GARRIE:     I got

06:43:24 20     Counsel Blume I noted your request for the record.

           21   You stop sharing Counsel Ko.      I'm going to reframe

           22   from issue any ruling to your request Counsel Blume

           23   in part because I just haven't read them all.       But

           24   I do.

06:43:46 25                So Counsel Ko, so Ms. Hendrix, returning

                                                                          279



                                 **CONFIDENTIAL ROUGH DRAFT**

06:43:50    1   back to you, which is what we are here for.

            2              I counsel the objected as beyond the

            3   scope.   Is that correct Counsel Blume I believe

            4   that was your objection.

06:44:03    5              MR. BLUME:   It was.

            6              SPECIAL MASTER GARRIE:     Okay.   Are you

            7   going to heed the advice of counsel so I have

            8   reread it all but we are talking about 30 pages so

            9   I just cutting to the chase.

06:44:15 10                THE DEPONENT:   I'm prepared to answer

           11   everything that is described in the topics and I
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           12   agree with my counsel that nothing in here asked to

           13   prepare how many violations of specific provisions

           14   we suffered over the years.

06:44:32 15               SPECIAL MASTER GARRIE:     I'm not ruling

           16   any which way or the other as to that I haven't I

           17   wasn't privy to motions or the conversations

           18   between the lawyers so we -- I don't know what was

           19   exchanged I understand and appreciate what you are

06:44:45 20     coming from.   And I -- and I -- and I commend you

           21   for your patients today and as I thought it was

           22   three hours as well.

           23             So with that said Counsel Ko, so are you

           24   going to answer the question or -- or follow the

06:45:02 25     instructions of counsel.

                                                                       280



                                **CONFIDENTIAL ROUGH DRAFT**

06:45:04    1             THE DEPONENT:    I'm not prepared to answer

            2   subjects that were not included in the topics that

            3   I was asked to prepare for so I -- I can answer the

            4   question I'm going to follow my advice of counsel.

06:45:18    5             SPECIAL MASTER GARRIE:     There you go

            6   we'll stop there.

            7             Counsel Ko ask another question.

            8        Q.   (By Mr. Ko)     So outside of the examples
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            9   that you gave for the various ways in which

06:45:31 10     Facebook would enforce, was it also the case that

           11   individual employees often determined whether or

           12   not Facebook would enforce against a particular

           13   third party?

           14        A.   Human beings are charged with -- to the

06:45:51 15     extent they are for example on developer they are

           16   accountable to understand and known the policies to

           17   ten they have questions or surface any gray areas

           18   and aren't sure.     There are teams like the data

           19   point management \everyone\enforcement and product

06:46:07 20     policy team that mangers most of the provisions in

           21   the developer policies except those that apply to

           22   collection and use of data obtained from us.

           23             They would review those applications for

           24   compliance.    And to the extent they surfaced a

06:46:24 25     violation they wouldly to enforcement rubric that

                                                                        281



                                   **CONFIDENTIAL ROUGH DRAFT**

06:46:28    1   is a -- a document that outlines each provision and

            2   what the -- the appropriate \everyone\enforcement

            3   action is if we suffered those violations.        And

            4   then they would be instructed to follow those --

06:46:48    5   that -- and that take that appropriate
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            6   \everyone\enforcement action.     I didn't speak in

            7   grab you largest contributors with respect to the

            8   \everyone\enforcement actions they could take but

            9   it's the \everyone\enforcement actions would be

06:47:00 10     decided when we launched the policies an initially

           11   which was first developed in 2009 because we wanted

           12   to ensure consist and uniform maltee in enforcement

           13   no one is accountable for making exceptions because

           14   we are not an exceptions based company.    If we

06:47:24 15     surface violationen farce exhibit with the

           16   \everyone\enforcement rubric and we do so for

           17   example, today based solely on the nature and scope

           18   severity of the violation and not with respect to

           19   the relationship that we have with the -- the

06:47:41 20     developer who has been concluded by a human as

           21   violating a specific provision.

           22             Specific of how it's gone during the

           23   relevant period, it is true that during a period of

           24   time, the \everyone\enforcement rubric did have a

06:47:56 25     protocol for reaching out to anyone who managed the

                                                                      282



                                **CONFIDENTIAL ROUGH DRAFT**

06:48:00    1   relationship with the partners to notify them that

            2   their partners has been found to be violating one
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            3   or more of the respective provisions that has

            4   changed and now we do not have that protocol and

06:48:13    5   procedure they were -- they are notified via what

            6   we refer to as -- as a FYI email that outlines what

            7   we have surfaced and the fact we will be reaching

            8   out to partner through the developer operations

            9   team.        So that they can be prepared to respond to

06:48:29 10     the developer to the extent that a developer has

           11   any questions or confusion we encourage developers

           12   to rely to communications that we have sent that

           13   outline the violations but it is common -- common

           14   practice for a developer that has -- that is --

06:48:48 15     that is a managed partner to reach out to their --

           16   the person at the company that they have Louisiana

           17   direct relationship with on and but no additional

           18   time is given in the context of that.        So

           19   developers -- all developers whether managed or

06:49:05 20     unmanaged must comply with the terms.        There are no

           21   exceptions and they have the exact same amount of

           22   time afforded to them whether they are managed or

           23   unmanaged.        And the enforcement rubric is what we

           24   look to when the team surfaces a violation.

06:49:22 25             Q.      And what is the case that aural

                                                                          283
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                                   **CONFIDENTIAL ROUGH DRAFT**

06:49:24    1   developers did in fact comply with these terms?

            2          A.    I don't understand your question.

            3          Q.    Are you aware of the instances in which

            4   developers did or did not comply with the terms

06:49:43    5   that you had described a moment ago?

            6          A.    As we have done throughout today, I do my

            7   own bitching and moaning I have already answered

            8   that question for so for the third time I will let

            9   you know I'm not prepared to tell you ever single

06:49:59 10     violation that has been surfaced and confirmed that

           11   2007 to 2022 I was not asked to prepare for that.

           12   It is not included in the topics that you wrote.

           13   It's how do they processes work.      I have explained

           14   in thorough detail, potential like overly

06:50:18 15     explaining how we are doing this.      But, again, I

           16   would just ask we try to repeat questions I have

           17   answered because I am getting tired but stay here

           18   all night.

           19          Q.    Well to be fair Ms. Hendrix I was

06:50:32 20     responding to your question or your response you

           21   didn't understand my question.     But it sounds like

           22   understood my question?

           23                MR. BLUME:   Anyway can you ask the next

           24   one.
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06:50:50 25          Q.   (By Mr. Ko)   Wasn't it the case that

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                                 **CONFIDENTIAL ROUGH DRAFT**

06:50:52    1   Facebook existing relationship with a third party

            2   and the type of partner they were determined

            3   whether or not Facebook was going to enforce its

            4   policies against that third party?

06:51:01    5        A.   Absolutely not.

            6        Q.   With respect to the enforcement rubric,

            7   can you identify any instances in which employees

            8   went outside of that rubric to decide not to

            9   enforce against a particular third party?

06:51:19 10          A.   As I have just said and said earlier we

           11   are not exception based have managed partners

           12   additional time to come into compliance due to the

           13   need to reach out the managed part necessary so

           14   they we surfaced the issue the answer to that is --

06:51:35 15     is sometime during the relevant period where --

           16   where look to the rubric and there's a column for

           17   manage and unmanaged which shows the -- the

           18   developer operations team that they need to take

           19   that additional step of notifying the partner

06:51:48 20     manager of what they have surfaced within the

           21   application.   And but there's not any instances
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           22   where we would ignore or turn a blind eye to a

           23   violation.     The only distinction as between

           24   unmanaged unmanaged would there have been times

06:52:09 25     where a developer might get a little bit more time

                                                                      285



                                   **CONFIDENTIAL ROUGH DRAFT**

06:52:12    1   due to the -- the need to reach out to partner

            2   manager, but at the end of the day, we always

            3   enforce those provisions as we surface any

            4   violation.

06:52:24    5        Q.      How did Facebook ensure that they were

            6   actually enforcing those provisions?

            7        A.      Through the required through the

            8   education of the policies.     So your job on

            9   developer operations is not to enforce the policies

06:52:41 10     but in order to effectively enforce them you have

           11   to ensure that you have a very strong understanding

           12   of all of the terms and policies that are

           13   applicable to each respective application.

           14                To the extent that you acquire that

06:52:53 15     knowledge, if you ever are unsure the process calls

           16   to reach out to either the data policy management

           17   and enforcement team or for nondata policy related

           18   questions for the -- the policies team that handles
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           19   everything that my team does not you ask for gray

06:53:11 20     areas we will either use that as a trigger toen

           21   form the need to policy enforcement potentially

           22   develop going back to another topic to develop new

           23   policies so if think we need to be clearer or we go

           24   back to the -- the team meat on developer ops and

06:53:30 25     let know hey this is not a gray area this is the

                                                                        286



                                   **CONFIDENTIAL ROUGH DRAFT**

06:53:32    1   respective provision or provisions that you should

            2   site to.     Or give other kind of guidance or

            3   clarify.

            4                So there is through education, we also do

06:53:44    5   Q and A where audit a sample of the enforcement

            6   actions that we have taken to and decisions that we

            7   have made to assess an ensure for quality assurance

            8   perspective expect tiff that we are effectively an

            9   accurately poll police the platform consist with

06:54:06 10     the terms and policies that we have in place.

           11                So yes, leaning in on all of the

           12   additional methods that I described for -- for

           13   automated and manual means for education review,

           14   re-review.

06:54:28 15          Q.      Couldn't executives like Mark Zuckerberg
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           16   Sheryl Sandberg for that matter determine Schwab

           17   enforce a platform policy against a third party?

           18             MR. BLUME:    Objection.   Was -- it

           19   couldn't or didn't -- was what the first can you --

06:54:48 20     missed first part of that question.

           21             MR. KO:   Couldn't.

           22             MR. BLUME:    Could you either reread or

           23   you reask it.

           24             MR. KO:   Sure.

06:54:59 25          Q.   (By Mr. Ko)    Couldn't individuals like

                                                                        287



                                **CONFIDENTIAL ROUGH DRAFT**

06:55:01    1   Mark Zuckerberg and Sheryl Sandberg for that matter

            2   any Facebook executive determine whether or not to

            3   enforce the platform policies -- enforce Facebook's

            4   Facebook platform policy again a third party?

06:55:20    5        A.   So you are wanting to speculate on what

            6   our executives might be able to do given their

            7   roles at our company?

            8        Q.   Not I'm asking to speculate.     Speculate.

            9   I'm asking as a corporate designee of Facebook if

06:55:34 10     you aware of any instances in connection with

           11   Facebook's monitoring and enforcement of third

           12   parties or whether individuals like Mark or
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           13   Sheryl Sandberg or any other Facebook executive for

           14   that matter could determine themselves whether or

06:55:49 15     not to enforce platform policies against a third

           16   party?

           17              MR. BLUME:    Objection.   Compound. and

           18   does call for speculation.

           19              THE DEPONENT:    Yeah the word could of

06:56:01 20     course Mark could decide that if we told him

           21   something was against policy, as with any human, he

           22   could have feedback like the culinary whether that

           23   poll police in place out dated or doesn't make

           24   sense given the fact that you know time does go and

06:56:20 25     things change.   So sure it's possible that any

                                                                      288



                                 **CONFIDENTIAL ROUGH DRAFT**

06:56:23    1   human including external people outside of the

            2   company could have opinions on whether we should

            3   enforce but those opinions would be whether the

            4   efficacy and retaining the policy itself or whether

06:56:41    5   it should be clear or not, again we are not an

            6   exceptions based policy.

            7        Q.    (By Mr. Ko)     Have you heard of a T0

            8   partner?

            9        A.    I have heard of T0.
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06:57:03 10          Q.      What is your understanding of T0?

           11        A.      I don't -- I don't remember.    I just know

           12   I have heard of it.       But it doesn't apply in the

           13   context of the monitoring enforcement and policing

           14   of the platform and whether to enforce on

06:57:22 15     violations whether you are T0 or however far the

           16   numbers go, so I am not remembering right now, I

           17   don't -- that's not relevant to the question of

           18   whether a developer with that designation has to

           19   the extent she even it's relevant to them has that

06:57:40 20     status that's not relevant to the question of

           21   whether they are violating our policies and whether

           22   we will enforce them.

           23        Q.      Is there poly \everyone\enforcement

           24   Facebook enforce ago as to partner in the T0

06:57:54 25     category?

                                                                        289



                                   **CONFIDENTIAL ROUGH DRAFT**

06:57:57    1        A.      It.

            2                MR. BLUME:   Object other the ones the

            3   policies they already spoken about.

            4                MR. KO:   I have question you can raise an

06:58:09    5   objection.

            6                SPECIAL MASTER GARRIE:    Counsel Blume you
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            7   didn't make an objections are you making an

            8   objection.

            9                MR. BLUME:    I'm trying to save time go

06:58:15 10     back through the policies again or.

           11                SPECIAL MASTER GARRIE:       Counsel do you

           12   have an objection to the question or not.

           13                MR. BLUME:    No.    No objection.   Yes.

           14   Objection to form.

06:58:27 15                  SPECIAL MASTER GARRIE:       There you go,

           16   please answer the question Ms. Hendrix.

           17                THE DEPONENT:       I -- sitting here today

           18   don't believe T0 or that type of specificity it was

           19   managed or unmanaged columns is what I'm confident

06:58:41 20     saying it has been.        But it's -- that is certainly

           21   not the case today.

           22        Q.      (By Mr. Ko)     Have you heard of a T1 or T2

           23   partner?

           24        A.      Yes and it -- I have just for purposes of

06:58:57 25     our time, same response.         We do not take into

                                                                           290



                                   **CONFIDENTIAL ROUGH DRAFT**

06:59:01    1   accounted what -- what type of partner you are.

            2   And we only enforce based on the nature scope and

            3   severity of the violation consist can the
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            4   \everyone\enforcement rubric which does not

06:59:14    5   distinguish between tier zero and no tier partners

            6   or anything like that.      It's all whether -- whether

            7   Facebook knows who you are, and works with you

            8   directly through our teams or not, through just if

            9   you are just a developer that we haven't -- any

06:59:34 10     type of direct relationship with other than

           11   contract with you to comply with our provisions and

           12   adhere to our terms, it is not -- same response to

           13   any questions that you presented with respect to

           14   tire -- tier zero.

06:59:52 15          Q.     So with respect to I just make sure the

           16   record is clear but with respect to T0T1 and T2 is

           17   there any poly or rubric that governed how Facebook

           18   would enforce its policies and to partners in these

           19   tiers?

07:00:10 20                 MR. BLUME:    Objection.   Asked and

           21   answered.

           22               THE DEPONENT:    I have nothing further to

           23   add other than what I have said.

           24        Q.     (By Mr. Ko)     Was it also the case that

07:00:17 25     Facebook would factor in how much third parties

                                                                         291



                                  **CONFIDENTIAL ROUGH DRAFT**
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07:00:20    1   were spending on advertising on the Facebook

            2   platform before determining whether or not to

            3   enforce its policies against these third parties?

            4        A.     Well the previous question was never the

07:00:31    5   case it's we only had hanged and unmanaged columns

            6   in the context of the rubric none of that had

            7   whether or not to enforce or not.

            8               Now, whether a developer was accepting

            9   zero dollars, or a lot more money than zero

07:00:49 10     dollars, that is not a factor in whether to

           11   ultimately enforce the provision.

           12        Q.     So advertising spend was not a part of

           13   the enforcement rubric, correct?

           14               MR. BLUME:   Objection.   Asked and

07:01:05 15     answered.

           16               THE DEPONENT:   Correct it's not a part of

           17   the \everyone\enforcement rubric partners might be

           18   like can we have more time.     This is important

           19   partnered used and we would let them know that the

07:01:17 20     developer must come into compliance with our

           21   policies and now sitting here present day that

           22   doesn't contemplate any extensions of time that we

           23   wouldn't afford in -- to a nonmanaged developer

           24   and, again, those extensions are baked into the

07:01:33 25     rubric so for example you don't get an extensions
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                                 **CONFIDENTIAL ROUGH DRAFT**

07:01:36    1   for severity high severity provisions.

            2        Q.   (By Mr. Ko)    Are you familiar with the

            3   2012 FTC consent degree?

            4        A.   Yes, I am.

07:01:47    5        Q.   Are you aware of the subsequent 2019 FTC

            6   \everyone\enforcement action?

            7        A.   Yes.

            8        Q.   So the consent degree and be sent

            9   enforcement action would you agree he that would

07:02:00 10     relate to some manner would that relate to

           11   Facebook's Monday torque and enforcement?

           12             MR. BLUME:    Objection to the extent it

           13   calls for a legal conclusion -- to extent you

           14   understand -- to extent the answer to that question

07:02:18 15     calls into effect conversations with counsel I

           16   instruct you not to answer.

           17        Q.   (By Mr. Ko)    So the order which is

           18   publicly available for you to read, does have

           19   section that contemplates the -- that contemplates

07:02:41 20     broadly Monday torque an enforcement and -- and we

           21   did also and I personally remember meeting with the

           22   auditor in the context of the 12K so I feel
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           23   comfortable confirming again and that's public that

           24   yes both of those orders do speak to monitoring and

07:03:04 25     enforcement.

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                                   **CONFIDENTIAL ROUGH DRAFT**

07:03:05    1           Q.   Thank you and the -- the initial FTC

            2   consent degree in 2012 Facebook agreed to certain

            3   provisions and certain things for lack of a better

            4   term to improve their Monday torque and

07:03:24    5   \everyone\enforcement of their policies; is that

            6   fair to say?

            7                MR. BLUME:    Objection.   To the extent the

            8   consent degree speaks for itself as to it's terms

            9   it does.

07:03:36 10                  SPECIAL MASTER GARRIE:     Counsel.

           11                MR. BLUME:    As to specific.

           12                SPECIAL MASTER GARRIE:     What's the

           13   objection.

           14                MR. BLUME:    That the consent degree

07:03:41 15     speaks for itself it's the best evidence of what it

           16   says.

           17                SPECIAL MASTER GARRIE:     It's the best

           18   evidence P okay.

           19           Q.   (By Mr. Ko)    You can answer?
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07:03:54 20                 SPECIAL MASTER GARRIE:   Are you instruct

           21   figure witness not to answer the question or.

           22               MR. BLUME:   As to the terms of the

           23   consent degree is beyond the scope of her topic.

           24   But I'm sure you want to show it to her she can

07:04:06 25     walk through it Mr. Ko.

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                                  **CONFIDENTIAL ROUGH DRAFT**

07:04:08    1               SPECIAL MASTER GARRIE:   I don't want to

            2   show it to her but Counsel Ko would you like to --

            3   so.

            4               MR. KO:   I would like an answer to my

07:04:17    5   question.

            6               SPECIAL MASTER GARRIE:   Ms. Hendrix.

            7               THE DEPONENT:   Yeah.

            8               MR. BLUME:   You know the answer answer.

            9               THE DEPONENT:   So the only team that is

07:04:24 10     allowed to interpret the language of each of those

           11   orders is the legal team.    The only communications

           12   with respect to the interpretation of the order is

           13   privileged conversations that we had had with the

           14   legal team so we rely on the language of the order,

07:04:41 15     but I'm not able to speak to nonprivileged

           16   conversations about the order because the legal
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           17   team interprets and provides guidance on the order

           18   and even present day I tell my teams you do not try

           19   to interpret the order you go to the legal team to

07:05:02 20     interpret any questions you have about the order.

           21             MR. KO:

           22             (Discussion off the stenographic record.)

           23             MR. KO:     Sorry about that Rebecca.

           24             SPECIAL MASTER GARRIE:

07:05:23 25               (Discussion off the stenographic record.)

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                                  **CONFIDENTIAL ROUGH DRAFT**

07:05:24    1             MS. WEAVER:     Sounds go we are going off

            2   the record we are talking about a 35 minute break.

            3             THE VIDEOGRAPHER:     Okay we off the record

            4   it's 73:05 p.m.

07:16:29    5             (Recess taken.)

            6             THE VIDEOGRAPHER:     We are back on the

            7   record at 7:16 p.m.

            8             MR. KO:     Ms. Hendrix congratulations I

            9   further for questions I just want to note for the

07:16:52 10     record that consist with our prior conversations

           11   plaintiffs the reserve the right to -- open the

           12   deposition as to these topics.

           13             MR. BLUME:    And consist I thought with
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           14   Special Master Garrie's request to finish up those

07:17:11 15     topics short of objecting and debating our the

           16   questions that were asked and objected again we --

           17   we have -- we are not prepared to bring this

           18   witness back on these topics she remains available

           19   to answer although we ever gone beyond seven hours

07:17:26 20     we still making her available to answer questions

           21   on all those topics and so I again urge you to

           22   finish the questions on these topics because

           23   those -- it's I Al normal sure what your objection

           24   to be to questions not yet asked about topics and

07:17:45 25     why you would be permitted to leave open the

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                                 **CONFIDENTIAL ROUGH DRAFT**

07:17:48    1   deposition to cover ground you have not yet covered

            2   when we are making her available to finish this out

            3   today.

            4              SPECIAL MASTER GARRIE:   I will note be

07:17:58    5   for the record Counsel Blume Counsel Ko post

            6   expense tip on the record on this issue two hours

            7   earlier.   Both sides positions are node.   I'm still

            8   denying your request counsel Counsel Blume.      And.

            9              MR. BLUME:   Close it out.

07:18:14 10                SPECIAL MASTER GARRIE:   No further
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           11   questions from Counsel Ko; is that correct

           12   Counsel Ko.

           13             MR. KO:   Correct.

           14             SPECIAL MASTER GARRIE:     Counsel Blume I

07:18:26 15     mean any instructions.

           16             MR. BLUME:    No, nothing from us.

           17             SPECIAL MASTER GARRIE:     Okay.   Before we

           18   go off the record we would standing orders for the

           19   transcript this is 30(b)(6) you weren't sure

07:18:39 20     Counsel Blume is anybody from here from your team

           21   that might be able to clarify.

           22             MR. BLUME:    I assume would -- I I'm it's

           23   the same standing order as we'll Rebecca but it's

           24   the substantial ordering to we ever depositions

07:18:54 25     please.

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                                **CONFIDENTIAL ROUGH DRAFT**

07:18:55    1             SPECIAL MASTER GARRIE:     As long as it's

            2   the same that's fine.

            3             MR. BLUME:    It's the same.

            4             THE COURT REPORTER:    Got it.

07:19:02    5             MR. BLUME:    Excellent.

            6             THE DEPONENT:    Rebecca, thank you.   Nice

            7   to meet everybody but sorry thank you I could see
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          8   even I participated in that over time agriculture

          9   apologize for when I did it I'm sure

07:19:15 10   \everyone\enforcement else -- the same thank you so

         11   and I hope good you rest.

         12             THE COURT REPORTER:

         13             SPECIAL MASTER GARRIE:      You are the upon

         14   person -- should given talk to.

07:19:27 15             MR. BLUME:    Are we off?

         16             THE DEPONENT:     Thank you.

         17             THE VIDEOGRAPHER:     Okay to go over the

         18   record everybody?

         19             SPECIAL MASTER GARRIE:      Yes.

07:19:33 20             THE VIDEOGRAPHER:     Thank you.   We off the

         21   record it's 7:19 p.m.

         22

         23

         24

         25

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